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    8
                         IN THE UNITED STATES DISTRICT COURT
    9
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
   11
   12
   13   WILLIAM GONZALEZ AND                       Case No. 2:22-cv-4749
        MICHAEL GONZALEZ,
   14                                              EXHIBIT 2
                                    Plaintiffs,
   15                                              TO NOTICE OF REMOVAL DKT.
                   v.                              NO. 1
   16
   17   COUNTY OF LOS ANGELES; LOS
        ANGELES COUNTY SHERIFF'S
   18   OFFICE; CITY OF LOS ANGELES;
        LOS ANGELES POLICE
   19   DEPARTMENT; MICHEL MOORE,
        INDIVIDUALLY AND HIS
   20   OFFICIAL CAPACITY AS CHIEF
        OF POLICE OF THE CITY OF LOS
   21   ANGELES; CALIFORNIA
        HIGHWAY PATROL; DOES 1 TO
   22   100 INCLUSIVE,
   23                             Defendants.
   24
                                                   Action Filed: May 4, 2021
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                      EXHIBIT 2
Electronically FILED by Superior Court of California, County of Los Angeles on 05/04/2021 08:38 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 3 of 181 Page ID #:12
                                                 21STCV16790
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Holly Fujie




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                8

                9                              SUPERIOR COURT OF THE STATE OF CALIFORNIA

              10                       COUNTY OF LOS ANGELES – CENTRAL JUDICIAL DISTRICT

              11

              12 WILLIAM GONZALEZ, an individual,                                               Case No.:            21 STCV1 6790
                 MICHEAL GONZALES, an Individual,
              13                                                                                COMPLAINT
              14                       Plaintiffs,
                                                                                                1. VIOLATION OF CAL. CIV. CODE
              15                 v.                                                             § 52.1 [TOM BANE CIVIL RIGHTS ACT]
                      CITY OF LOS ANGELES, MICHEL
              16      MOORE, individually and in His Official                                   2. VIOLATIONS OF 42 USC § 1983
                      Capacity as Chief of Police of the City of Los                            [MONELL LIABILITY]
              17      Angeles COUNTY OF LOS ANGELES, and
              18      DOES 1 to 100 inclusive,                                                  3. MUNICIPAL LIABILITY – FAILURE
                                                                                                TO TRAIN (42 USC § 1983)
              19                       Defendants.
                                                                                                4. FOURTH AMENDMENT –
              20                                                                                EXCESSIVE FORCE (42 USC § 1983)
              21                                                                                5. SUBSTANTIVE DUE PROCESS 942
              22                                                                                USC § 1983)

              23                                                                                6. FOURTH AMENDMENT – DENIAL
                                                                                                OF MEDICAL CARE (42 USC § 1983)
              24
                                                                                                7. MUNICIPAL LIABILITY FOR
              25
                                                                                                UNCONSTITUTIONAL CUSTOM,
              26                                                                                PRACTICE, OR POLICY (42 USC § 1983)

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                                                                                      COMPLAINT
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                                                      8. VIOLATIONS OF EIGHTH
 1
                                                      AMENDMENT
 2
                                                      9. VIOLATIONS OF FOURTEENTH
 3                                                    AMENDMENT
 4                                                    10. INTENTIONAL INFLICTION OF
 5                                                    EMOTIONAL DISTRESS

 6                                                    11. NEGLIGENT INFLICTION OF
                                                      EMOTIONAL DISTRESS
 7
                                                      12. NEGLIGENCE
 8
 9                                                    13. ASSAULT

10                                                    14. BATTERY

11                                                    15. VIOLATIONS OF 42 USC § 1998
12                                                    JURY TRIAL DEMANDED
13
14          COMES NOW Plaintiffs, WILLIAM GONZALEZ, ("Plaintiff" and “Mr. Gonzalez”),
15 and MICHAEL GONZALEZ, (“Michael” and “Brother”), and alleges as to himself/themselves,
16 based upon his/their personal knowledge, whereas, all other allegations are based upon
17 information and belief, pursuant to the investigation of counsel or other evidence in filings,
18 documents, or otherwise, as follows:
19                                         INTRODUCTION
20          1.      Mr. Gonzalez brings this civil rights action seeking compensatory and punitive
21 damages against Defendants for deprivation of Mr. Gonzalez’s constitutional rights, under the
22 United States Constitution and state law in connection with the police shooting on October 11,
23 2020, causing irreparable and permanent injuries to his body, and the severe emotional and
24 psychological injuries, all of which affect him for the remainder of his life.
25          2.      On the evening of October 11, 2020 Mr. Gonzalez, along with thousands of
26 others, were celebrating the Lakers’ championship win for the 2020 season. This gathering of
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                                               COMPLAINT
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 5 of 181 Page ID #:14




 1 Los Angelenos near the Lakers’ home stadium, the Staples Center, was to show support for the
 2 city’s team and celebrate the end of a successful championship season. While the celebration
 3 continued, a large group of people were gathered at an intersection near the stadium. Without
 4 warning Mr. Gonzalez saw uniformed officers surround his area, point their weapons, and open
 5 fire. Mr. Gonzalez heard the officers discharge their weapons. He felt a round whiz by his head.
 6 Then, Mr. Gonzalez felt the searing pain of another round bury into his eye socket.
 7           3.     In shock and in agonizing pain, Mr. Gonzalez tried to escape; however, he was
 8 stopped by uniformed California Highway Patrol and Sheriff Deputies. Mr. Gonzalez waited for
 9 the officers to radio for medical assistance. After a prolonged delay while Mr. Gonzalez was
10 bleeding from the eye socket and in intense pain and suffering from severe emotional trauma,
11 Mr. Gonzalez was finally brought to the hospital where he learned he had lost his eye.
12           4.     The Defendants, the agent, employee, servant, employer, master, principal,
13 respondent superior, and/or associate, and each of them, violated police department policies and
14 procedures in their use of less-than-lethal force which resulted in Mr. Gonzalez being maimed
15 for the rest of his life.
16                                  JURISDICTION AND VENUE
17           5.     Jurisdiction is proper in the Superior Court for the County of Los Angeles
18 pursuant to Section 410.10 of the California Code of Civil Procedure because it has general
19 subject matter jurisdiction and no statutory exceptions to jurisdiction exist. The amount in

20 controversy exceeds the jurisdictional minimum of this Court.
21           6.     Venue is proper in the County of Los Angeles pursuant to Section 395 of the
22 California Code of Civil Procedure because Defendant LAPD lives or does business in Los
23 Angeles County.
24           7.     Venue is proper in the County of Los Angeles pursuant to Section 395 of the
25 California Code of Civil Procedure because Defendants reside in, and all incidents, events, and
26 occurrences giving rise to this action occurred in the County of Los Angeles, California.
27                                          THE PARTIES
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                                              COMPLAINT
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 1          8.      Mr. Gonzalez is, and was at all relevant times described herein, a resident of Los
 2 Angeles, California.
 3          9.      Defendant COUNTY OF LOS ANGELES is, and at all times herein mentioned
 4 was, a government entity organized and existing under the laws of the State of California, and
 5 duly licensed and authorized to do business in the State of California.
 6          10.     On December 22, 2020, Plaintiff timely served on Defendant COUNTY OF LOS
 7 ANGELES and LOS ANGELES COUNTY SHERIFF’s DEPARTMENT, a tort claim in
 8 accordance with Government Code §§ 910 and 911.2, a true and correct copy of which is
 9 attached hereto as Exhibit “1” and incorporated herein by reference. That on or about February
10 9, 2021, Plaintiff’s tort claim was deemed rejected by operation of law pursuant to Government
11 Code § 912.4. On February 9, 2021, Plaintiff’s tort claim was in fact rejected by the County of
12 Los Angeles and the Los Angeles County Sheriff’s Department. A true and correct copy of the

13 rejection letter is attached hereto as Exhibit “2” and incorporated herein by reference.
14          11.     Defendant CITY OF LOS ANGELES is, and at all times herein mentioned was,
15 a municipal corporation duly organized and existing under the laws of the State of California
16 and situated in the County of Los Angeles.
17          12.     Defendant LOS ANGELES POLICE DEPARTMENT is, and at all times herein
18 mentioned was, an agency and department of the Defendant CITY OF LOS ANGELES.
19          13.     Michel Moore, i.e., The Chief of Police (“COP”), is the highest-ranking officer
20 in the Los Angeles Police Department. “As a general manager of the Police Department, the
21 COP is responsible for the planning, efficient administration and operation for the Police
22 Department under the authority of the Board of Police Commissioners… the COP directs, plans,
23 and coordinates the enforcement of the penal divisions of the City Charter, the ordinances of the
24 City, and the laws of the state and nation for the purpose of protecting persons and property and
25 for the preservation of the peace of the community … the COP assumes a leadership role in
26 planning, coordinating and directing all activities aimed at restoring peace in the City or
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                                               COMPLAINT
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 1 otherwise returning conditions to normal.”6
 2          14.    On December 22, 2020, Plaintiff timely served on Defendant CITY OF LOS
 3 ANGELES and LOS ANGELES POLICE DEPARTMENT, a tort claim in accordance with
 4 Government Code §§ 910 and 911.2, a true and correct copy of which is attached hereto as
 5 Exhibit “3” and incorporated herein by reference. That on or about February 3, 2021,
 6 Plaintiff’s tort claim was deemed rejected by operation of law pursuant to Government Code §
 7 912.4. On February 3, 2021 Plaintiff’s tort claim was in fact rejected by the City of Los Angeles
 8 and the Los Angeles Police Department. A true and correct copy of the rejection letter is
 9 attached hereto as Exhibit “4” and incorporated herein by reference.
10          15.    Plaintiff is ignorant of the true names and capacities, whether individual,
11 corporate, associate or otherwise of defendants, sued herein as DOES 1 to 100, inclusive, and
12 each DOE in between, and therefore sues these defendants by such fictitious names. Plaintiff

13 will seek leave to amend this complaint to show the true names and capacities of these
14 defendants when they have been ascertained.
15          16.    Plaintiff is informed and believes and thereon alleges that, at all times herein
16 mentioned, each of the Defendants, including each of the DOE Defendants, is responsible in
17 some manner for one or more of the events and happenings, and proximately caused the injuries
18 and damages, hereinafter alleged.
19          17.    Plaintiff is informed and believes and thereon alleges that, at all times herein
20 mentioned, each of the defendants sued herein was the agent, alter ego, employee, servant,
21 employer, master, principal, and/or associate of each of the remaining defendants and was at all
22 times acting within the purpose and scope of such agency and employment. Consequently, each
23 Defendant is jointly and severally liable to Mr. Gonzalez for the damages sustained as a
24 proximate result of their conduct.
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                       https://www.lapdonline.org/inside_the_lapd/content_basic_view/834 (accessed 02/05/2021)
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                                                    COMPLAINT
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 1                                   FACTUAL ALLEGATIONS
 2          18.    On Sunday evening, October 11, 2020, Mr. Gonzalez was with his brother Michael
 3 Gonzalez and Michael’s, April Bran (“April” and collectively, “the Gonzalez Family”) in or
 4 around the area of Staples Center, a multi-purpose event arena in Downtown Los Angeles. It is
 5 located along Figueroa Street at Chick Hearn Ct., west of Flower St. and south of 9th Street. The
 6 three were celebrating the 2020 National Basketball Association (“NBA”) Finals championship
 7 game between the victorious Los Angeles Lakers and Miami Heat.
 8          19.    That night, since the Los Angeles Lakers had won the NBA championship title, a
 9 jubilant crowd of people participated in a celebratory parade throughout the area surrounding
10 the Staples Center.
11          20.    From the Staples Center, the Gonzalez family walked to a taco truck vendor which
12 was parked near the intersection of West 9th St. (“9th”) and South Hope Street (“Hope”). The

13 three made purchases at the food truck vendor and then made their way to the southeast corner of
14 9th and South Flower St. (“Flower”) where they sat down to eat.
15          21.    Plaintiff waited for his Michael and April to finish eating when he walked into the
16 street near the curb of 9th and Flower. Meanwhile, LAPD deployed their “Mobile Field Forces”.
17          22.    Plaintiff saw the people who had been standing near him begin to run. Plaintiff
18 turned and looked in the direction of the northeast corner of 9th and Flower. Plaintiff saw
19 uniformed LAPD officers coming toward his direction with weapons held high.

20          23.    Mr. Gonzalez heard no audible warning to leave the premises. Mr. Gonzalez heard
21 no shouting, “40mm Ready!” or “40mm Standby!” Instead, he suddenly heard loud, explosive
22 shots and cracks and saw, from the area of the police officers, emissions of powder smoke and
23 sparks. Every round of noise brought hard objects flying near 9th and Flower, where the Gonzalez
24 Family was standing. Mr. Gonzalez saw several projectiles shoot to the ground, but he felt one
25 whiz right over his head.
26          24.    Mr. Gonzalez turned just over to the direction of the uniformed officers when one
27 hard-foam projectile struck him in the right eye, cutting through his cheek skin and eyelid,
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                                              COMPLAINT
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 1 shattering his eye socket, ripping apart his tear duct and blowing out the eyeball itself. The tissue
 2 on the inside of the eye was extruded out, and blood came spurting out from the socket as Plaintiff
 3 fell to the ground. Mr. Gonzalez screamed in agony and cried for his brother. Michael rushed over
 4 to Plaintiff, took off his Kobe Bryant jersey and placed it over Plaintiff’s injured eye to try to stop
 5 the bleeding. The jersey soaked fully with Plaintiff’s blood.
 6          25.     Michael picked up the projectile from the ground by Plaintiff. Subsequent
 7 investigation revealed it was an exact impact 40MM range sponge round.
 8          26.     People were screaming and running. The police officers were still shooting.
 9 Michael grabbed Plaintiff and shouted, “Run!”
10          27.     Michael and April held Plaintiff with the jersey over his right bleeding eye, and
11 managed to lead Plaintiff over to the next street intersection where California Highway Patrol
12 officers, CHP patch number 16193, and Los Angeles County Sheriff’s Deputies were directing

13 foot traffic.
14          28.     Michael and April pleaded for their help, or to allow them to walk in the direction
15 of their home, but the officers told them to sit in the adjacent parking lot as one deputy indicated
16 that he had called an ambulance. The Gonzalez family waited for about thirty (30) minutes as the
17 officers forbade them from walking further toward Plaintiff’s home. After about thirty minutes
18 from the time they were required to wait, and at Michael’s insistent request the deputy then called
19 for the ambulance.

20          29.     Mr. Gonzalez was eventually taken to California Hospital Medical Center past
21 midnight.
22          30.     Days into his hospital stay, Mr. Gonzalez continued to suffer persistent, severe
23 throbbing pain, severe nausea, and drainage from his right eye.
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                                                COMPLAINT
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 1          31.     Mr. Gonzalez’s hospital assessment included blow-out fracture, blunt eye trauma,
 2 eyelid laceration, ruptured globe, and complaint of major trauma. His eye surgeon said the
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15 damage was extensive, as if he had been struck by a bat and bitten by a dog all at once.
16          32.     He lost his right eye to the police projectile. He was required to have it removed

17 to avoid the risk of losing vision in his left eye.
18          33.     Plaintiff still suffers from nerve damage and is undergoing constant medical

19 treatments, which will likely include therapy, multiple surgeries in ultimately placing a prosthetic

20 eye, and cosmetic surgery to fix his now-drooping skin on the right side of his face due to the
21 lack of a right eye to help structure the skin around it.
22                              DEFENDANT’S POLICE PROTOCOL

23          34.     LAPD Public Information Director Josh Rubenstein has indicated that any

24 officer’s tactics and use of force in an incident must meet the high standards expected of all
25 LAPD officers.
26          35.     On October 11, 2020, LAPD officers neither met these high standards nor

27 followed their protocols. While Mr. Gonzalez was waiting for Michael and April in or around
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                                                COMPLAINT
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 1 the area of Staples Center, Plaintiff turned to see a crowd of people run by him followed by
 2 uniformed LAPD officers coming towards his direction with their weapons held high. Further,
 3 Plaintiff felt one projectile from a 40mm whoosh right over his head. The next 40mm projectile
 4 struck Plaintiff in the eye.
 5           36.    The use of force by law enforcement is a of critical concern to the public. In
 6 recognition that law enforcement derives their authority from the public, the guiding principle
 7 when using force is supposed to be the reverence for human life. The Los Angeles Police
 8 Department’s Preamble to the Use of Force states, “Officers shall attempt to control an incident
 9 by using time, distance, communications, and available resources in an effort to de-escalate the
10 situation, whenever it is safe, feasible, and reasonable to do so.” 8
11           37.    “Less-lethal force generally is used when there is no imminent threat of death or
12 serious bodily harm to the officers or other individuals and the officers are able to deploy the

13 less-lethal weapon safety.” (Overview of Less-Lethal Force Tools and Deployment, February 22,
14 2017).9
15           38.    Less-Lethal force options are only permissible when: “An officer reasonably
16 believes that a suspect or subject is violently resisting arrest or poses an immediate threat of
17 violence or physical harm. 10
18           39.    Less-Lethal force options should not be used for a suspect or subject who is
19 passively resisting or merely failing to comply with commands. Verbal threats of violence or

20 mere non-compliance do not alone justify the use of Less-Lethal force. Moreover, the 40mm
21 LLL must not be shot into crowds, at fleeing people or at those who do not represent a threat.
22           40.    The Department has policies and guidelines regarding Crowd Management,
23 Intervention, and Control.
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                      http://www.lapdponline.org/lapd_manual/ (accessed 03/05/2021)
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                      http://www.lapdpolicecom.lacity.org/022817/BPC_17-0057.pdf (accessed 02/08/2021)
                    9
                      http://www.lapdpolicecom.lacity.org/022817/BPC_17-0057.pdf (accessed 02/08/2021)
27                  10
                       http://lapd-assets.lapdonline.org/assets/pdf/tac-dir-17-40mm-launcher.pdf
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                                                 COMPLAINT
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 1          41.    The Department’s Crowd Intervention Primary Objectives are to:
 2                        •   isolate unlawful behavior
 3                        •   arrest law violators
 4                        •   protect First-Amendment activity
 5                        •   facilitate lawful protests
 6                        (Use of Force-Tactics Directive, June 2011) 11.
 7          42.    The Department’s Crowd Control Primary Objectives are to:
 8                        •   protect life
 9                        •   restore and maintain order
10                        •   arrest violators
11                        •   protect vital facilities
12                        •   protect property. Id.
13          43.    The Department’s Methods to Deliver and Document Dispersal Orders include:
14                        •   amplified sound
15                        •   multiple languages when appropriate
16                        •   confirm audibility from various locations
17                        •   display signage indicating unlawful assembly and dispersal when possible
18                        •   document with video/audio recording
19          44.    “When the use of force is appropriate in a crowd control situation, only that force
20 reasonable to make an arrest or disperse a crowd should be used. There are no exceptions to the
21 Department’s Use of Force Policy for crowd control situations. Officers may use only that force
22 which is objectively reasonable.” Id.
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                        http://lapd-assets.lapdonline.org/assets/pdf/tac-dir11-crowd-mgmt.pdf (accessed 02/08/2021)
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                                                     COMPLAINT
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 1          45.     The City of Los Angeles and LAPD have strict protocols for how and when
 2 projectiles are used. Under current policy, the foam rounds must only be aimed at the belt line of

 3 a targeted individual who represents a threat to officers. The primary target area is the navel area

 4 or belt line, but officers may target the suspects arms, hands or legs when practicable. If the hand

 5 is selected, consider its location and what its holding. Officers shall not target the head, neck,

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                         40MM LESS LETHAL LAUNC HER GUIDELINES


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                         Green ereas are Primary Target Areas

13                       YeUow areas are Secondary Target Areas
                         Red a reas are potentiall y lethal If t a r getod




14 spine, chest, groin, or kidneys.

15          46.     LAPD officers failed to meet these standards when they fired their 40mm Less-
16 Lethal Launcher’s (“LLL”) in the Plaintiff’s direction and at Plaintiff’s head-level. Plaintiff was

17 neither violently resisting arrest nor posing an immediate threat of violence or physical harm. As

18 stated above, Officers must attempt to control an incident by using time, distance,
19 communications, and resources in an effort to de-escalate the situation, whenever it is safe,

20 feasible, and reasonable to do so.

21          47.     Plaintiff was not posing any sort of threat of violence or physical harm that
22 would warrant any use of force. It was safe, feasible, and reasonable for LAPD officers to

23 utilize other non-life-threatening measures in an effort to de-escalate the situation and yet, the

24 LAPD officers failed to do so and otherwise broke protocol..

25          48.     LAPD officers further failed to meet these standards and follow their protocols
26 when Officers held their 40mm LLL high and began to shoot in the direction of the crowd and

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                                                                             COMPLAINT
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 1 at head level. This is no better exemplified than in Plaintiff’s eye socket, which no longer
 2 contained an eye and rather the 40mm LLL round and a pool of debris and blood where said eye
 3 used to be. Such use of force is not only a clear violation of police protocol as laid out above,
 4 but it is a sheer disregard for human life, which is a top priority and policy to protect and uphold,
 5 especially for those in law enforcement.
 6          49.     Pursuant to the Use of Force – Tactics Directive Number 17 – Procedures – If
 7 tactically and environmentally feasible, the 40mm LLL officer alerts other officers when he/she
 8 is ready to fire by shouting or broadcasting, “40mm Ready!” The primary officer gives the clear
 9 to fire signal by shouting or broadcasting, “40mm Standby!” This alerts the officers at the scene
10 that the firing of the 40mm LLL is about to occur.
11          50.     LAPD officers failed to meet these standards and follow their protocol’s when
12 the 40mm LLL officer failed to alert other officers they were ready to fire by shouting or

13 broadcasting, “40mm Ready!”
14          51.     LAPD officers failed to meet these standards and follow their protocol’s when
15 the primary officer failed to give the clear to fire signal by shouting or broadcasting, “40mm
16 Standby!”
17          52.     LAPD officers failed to meet these standards and follow their protocol’s when
18 they deployed the 40mm LLL at a fleeing subject.
19          53.     Pursuant to the Use of Force - Tactics Directive Number 17 – Use of Force
20 Warning – An officer shall, when feasible, give a warning prior to using the 40mm LLL to
21 control an individual. The verbal warning should include a command and a warning of potential
22 consequences of the use of force. The command should be similar to “Drop the weapon” or “stop
23 what you are doing” followed by a warning similar to “or we may use the 40mm, and that may
24 cause you injury.”
25          54.     Additionally, the use or non-use of the warning shall be documented. The Non-
26 Categorical Use of Force Report, Form 1.67.05, Use of Force Summary heading shall include:
27 1) the name of the officer giving the warning; and 2) an explanation and appropriate justification
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                                                COMPLAINT
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 1 for not using warning.
 2          55.     The LAPD failed to follow the Use of Force Warning protocol when they failed
 3 to give verbal warning prior to using the 40mm LLL. In addition, Plaintiff is not aware of any
 4 Use of Force Report, via Form 1.67.05, stating the name of the officer giving the warning; and
 5 an explanation and appropriate justification for not using the warning. Moreover, there is no
 6 feasible explanation why a warning was not given, as there was no tactical decisions to be made
 7 and the element of surprise was not applicable.
 8          56.     Pursuant to the Use of Force – Tactics Directive Number 17 – Medical Treatment
 9 – Any person struck with a 40mm exact impact round shall be transported to a Department-
10 approved facility for medical treatment prior to booking. The person should be carefully
11 monitored for signs of distress. If a medical emergency exists, officers shall request a rescue
12 ambulance to respond to their location.

13          57.     Following “any use of force,” there must be prompt “basic and emergency
14 medical assistance to all members of the community, including victims, witnesses, subjects,
15 suspects, persons in custody, subjects of a use of force and fellow officers12.”
16          58.     The subsequent failure to provide medical treatment to Plaintiff was yet another
17 blatant disregard to officer protocol. Clearly a medical emergency existed after Plaintiff’s right
18 eye was essentially replaced with a 40mm LLL round and was forced to walk across the police-
19 designated path while holding a shirt around his now gaping eye socket that was quickly

20 pooling and pouring with blood. Instead of rendering the medical aid, as required by LAPD
21 protocol, Michael and his girlfriend pleaded for their help.
22          59.     LAPD and the CHP both failed to render aid as would be not only reasonable to
23 provide to Plaintiff at that moment, but necessary. Plaintiff spent a substantial amount of time
24 having to deal with the wound as best as possible given the inexcusable circumstances, which
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27                  12
                         https://www.lapdonline.org/home/news_view/66709
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                                                   COMPLAINT
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 1 likely only further exasperated Plaintiff ultimately having no right eye left to save when he finally
 2 was given aid at a hospital.
 3          60.      Pursuant to the Use of Force – Tactics Directive Number 17 – The use of a 40mm
 4 LLL, for any reason other than an approved training exercise, shall be documented according to
 5 established Department procedures on the Non-Categorical Use of Force Report. However, when
 6 a 40mm LLL is fired and the round does not strike a person, a use of force report is not necessary
 7 and an Employee’s Report, Form 15.07.00, should be completed to document the incident.
 8 Supervisors shall obtain photographs of all visible and complained injuries, even when evidence
 9 of injury is not present.
10          61.      The LAPD failed to follow the reporting protocol in Tactics Directive Number
11 17, when the use of the 40mm LLL was utilized for purposes other than training. Moreover, the
12 exception that does not require a use of force report and an Employee’s Report, is not applicable

13 as the round struck an individual. To date, Plaintiff is neither aware nor seen a Use of Force
14 Report nor an Employee’s Report.
15          62.      Furthermore, the Supervisors did not obtain photographs of all visible and
16 complained injuries, even when the evidence of injury is not present. It was evidence that there
17 were complained injuries because Michael and April pleaded for Officers help, or to allow them
18 to walk in the direction of their home, but the officers told them to sit in the adjacent parking lot
19 as one deputy indicated that he had called an ambulance.

20          63.      The misuse and disregard of protocol as well as the otherwise abhorrent conduct
21 exhibited by the LAPD and CHP in the directly resulted in the substantial and permanently life-
22 altering harm that was suffered by Plaintiff.
23                                    FIRST CAUSE OF ACTION
24                             Violation of Bane Act (Cal. Civ. Code § 52.1)
25                (Against City of Los Angeles, Michel Moore, LAPD and Does 1-100)
26          64.      Plaintiff realleges and incorporates by reference all paragraphs previously alleged
27 as though they are set forth in full herein.
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                                                    - 14 -

                                                  COMPLAINT
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 1          65.     California Civil Code, Section 52.1 (the Bane Act), prohibits any person from
 2 interfering with another person’s exercise or enjoyment of his Constitutional Rights by threats,
 3 intimidation, or coercion (or by the use of unconstitutionally excessive force).
 4          66.     Conduct that violates the First Amendment violates the California Bane Act.
 5          67.     On or about the night of Sunday, October 11, 2020, Defendants attempted to
 6 interfere, and did interfere, with the exercise and enjoyment of Plaintiff’s civil rights as
 7 guaranteed by the First and Fourteenth Amendments to the U.S. Constitution.
 8          68.     The First Amendment to the U.S. Constitution guarantees freedoms concerning
 9 religion, expression, assembly, and the right to petition. The First Amendment to the U.S.
10 Constitution protects the right to peacefully assemble, a protected activity.
11          69.     Defendants County of Los Angeles, City of Los Angeles, and Los Angeles Police
12 Department’s use of force was excessive and unreasonable under the circumstances, especially

13 since Plaintiff was unarmed, had nothing in his hands, and was observing the parade with his
14 family peacefully when Plaintiff was near-fatally shot. Further, on information and belief,
15 officers did not give a verbal warning or any commands prior to firing their 40mm LLL, despite
16 it being feasible to do so. Even if warnings were given, said warnings were inadequate,
17 insufficiently audible, and not heard by the Gonzalez Family.
18          70.     As a direct and proximate result of the conduct of defendants, and each of them,
19 Plaintiff was caused to suffer extreme mental and physical pain and suffering. Plaintiff has

20 suffered and will continue to suffer physical injuries, loss of earnings, loss of earnings capacity,
21 humiliation, and mental anguish.
22          71.     The conduct of the Defendants was a substantial factor in causing the harms,
23 losses, injuries, and damages to the Plaintiff.
24          72.     Defendants’ violation of Plaintiff’s right as guaranteed by Civil Code § 52.1
25 entitles Plaintiff to compensatory and punitive damages, attorney’s fees, and injunctive relief, all
26 of which are provided for in Civ. Code §§ 52.1, subd. (b) and 52 and are requested below.
27          73.     As alleged in this complaint, Defendants knew or should have known that their
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                                               COMPLAINT
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 1 actions were likely to injure Plaintiff. Plaintiff is informed and believes, and therefore alleges,
 2 that Defendants intended to cause injury to Plaintiff and acted with a willful and conscious
 3 disregard of Plaintiff’s rights as secured by Civ. Code § 52.1, thus entitling Plaintiff to recover
 4 punitive damages pursuant to Civ. Code § 52, subd. (b)(1).
 5          74.     Pursuant to Civ. Code § 52.1, Plaintiff is entitled to bring an action for damages
 6 and injunctive relief, as set forth in Civ. Code § 52.
 7          75.     Unless Defendants are restrained by a preliminary and permanent injunction,
 8 members of the public similarly situated to Plaintiff will continue to suffer severe, irreparable
 9 harm in that Defendants’ indiscriminate firing of LLL munitions into crowds will substantially
10 put the same members of the public at risk of severe and debilitating injury. Plaintiff has no
11 adequate remedy at law because monetary damages, which may compensate for past interference
12 with Plaintiff’s civil rights, will not afford adequate relief for the fear, humiliation, and risk of

13 injury that a continuation of Defendants’ conduct in denial of Plaintiff’s rights will cause.
14                                  SECOND CAUSE OF ACTION
15                       Violation of 42 USC § 1983 [MONELL LIABILITY]
16          76.     Plaintiffs realleges and incorporates by reference all paragraphs previous
17 alleged as though they are set forth in full herein.
18          77.     The United States Supreme Court held in Monell v. Department of Social
19 Services that a §1983 claim against a municipal entity be based on the implementation or

20 execution of a "a policy statement, ordinance, regulation, or decision officially adopted and
21 promulgated by that party's officers". Additionally, the Court held that municipal entities "may
22 be sued for constitutional deprivations visited pursuant to governmental 'custom' even though
23 such a custom has not received formal approval through the body's official decision-making
24 channels". These policies or customs may be an affirmative policy or custom or a policy by
25 omission.
26          78.     Regarding policies of omission, the United States Supreme Court held in City of
27 Canton v. Harris that a municipality can be liable for a failure to train its employees when this
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                                                COMPLAINT
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 1 failure constitutes a deliberate indifference to the person whose rights were violated. The same
 2 standard of deliberate indifference applies to failure to screen employees.
 3          79.     In regard to this matter, Plaintiff’s constitutional rights were clearly and
 4 permanently violated by both LAPD and CHP.
 5          80.     LAPD in that, as described above, acted with blatant failure to follow protocol
 6 on many grounds, which lead to the constitutional deprivation of Plaintiff. This deprivation
 7 came in many forms including the deprivation of his First Amendment right to assemble,
 8 especially as he had done so peacefully and the deprivation of his constitutional right to life,
 9 which was permanently altered due to the loss of his right eye, among others.
10          81.     The CHP’s involvement here was just as much of a blatant failure in that the
11 above-mentioned police policies were absolutely disregarded. More specifically, the
12 requirement for officers to provide aid following an event such as that which shredded and

13 destroyed Plaintiff’s right eye.
14          82.     The absolute disregard on all accounts were in breach of the above-mentioned
15 policies and clear customs of protecting human lives, avoiding Less-Lethal force, attempting to
16 de-escalate a situation where feasible such as in this situation, and the firing of said 40mm LLL
17 rounds at a height where it can have direct-impact with an adult’s eye.
18                                    THIRD CAUSE OF ACTION
19                     Municipal Liability – Failure to Train (42 U.S.C. § 1983)
20          83.     Plaintiffs realleges and incorporates by reference all paragraphs previous
21 alleged as though they are set forth in full herein.
22          84.     Defendant DOE Officers acted under color of law and within the course and
23 scope of their employment as police officers for the City Police Department, Police Officer’s
24 40mm LLL shooting of Plaintiff, who had nothing in his hands and was standing near a food
25 truck, deprived the Plaintiff of his rights and liberties secured to him by the United States
26 Constitution and State Constitution.
27          85.     The training policies of Defendant City were not adequate to train its officers to
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                                                COMPLAINT
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 1 handle the usual and recurring situations with which they must deal, including making contact
 2 with peaceful members of society, who assemble to celebrate their local sports team National
 3 Basketball Championship, a common and reoccurring celebration throughout sports history.
 4          86.     Defendant City was deliberately indifferent to the obvious consequences of its
 5 failure to train its officers adequately, with regard to using Less-Lethal force.
 6          87.     The inadequate training includes the failure to teach officers that the primary
 7 target area is the navel area or belt line. Additionally, the inadequate training includes the
 8 failure to teach officers not to target the head, neck, spine, chest, groin, and/or kidneys.
 9          88.     The inadequate training includes the failure to teach officers to give an audible
10 warning to leave the premises.
11          89.     The inadequate training includes the failure to teach officers to give a verbal
12 warning prior to using a 40mm LLL to control an individual.

13          90.     The inadequate training includes the failure to teach officers, that the 40mm
14 LLL officer should alert other officers when they are ready to fire by shouting or broadcasting,
15 “40mm Ready!”
16          91.     The inadequate training includes the failure to teach officers, that the primary
17 officer gives the clear to fire signal, to the 40mm LLL officer, by shouting or broadcasting,
18 “40mm Standby!”
19          92.     The inadequate training includes the failure to teach officers not to deploy a
20 40mm LLL at a fleeing subject.
21          93.     The inadequate training incudes the failure to teach officers to document the use
22 of a 40mm LLL, when a round strikes a person, according to established Department procedures
23 on the Non-Categorical Use of Force Report.
24          94.     The inadequate training includes the failure to teach officers how to recognize
25 when a suspect or subject is violently resisting arrest or possesses an immediate threat of violence
26 or physical harm.
27          95.     The inadequate training includes the failure to teach officers that LLL options
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                                                COMPLAINT
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 1 shall not be used for a suspect who is passively resisting or merely failing to comply with
 2 commands.
 3          96.     The failure of Defendant City to provide adequate training caused the
 4 deprivation of Plaintiff’s rights by Defendants DOE Officers; that is Defendants’ failure to
 5 train is so closely related to the deprivation of the Plaintiff’s rights as to be the moving force
 6 that caused the ultimate injury.
 7          97.     By failing to provide adequate training to the City’s police officers, including
 8 DOE police officers who failed to report the incident, Defendant’s acted with an intentional,
 9 reckless, and callous disregard for the life of the Plaintiff and the Plaintiff’s constitutional
10 rights. Each of the Defendant and DOE officers’ actions were willful, wanton, oppressive,
11 malicious, fraudulent, and extremely offensive and unconscionable to any person of normal
12 sensibilities.

13          98.     On information and belief, City failed to train DOE Officers properly and
14 adequately.
15          99.     By reason of the aforementioned acts and omissions, Plaintiff has suffered the
16 loss of his right eye, a blow-out fracture, blunt eye trauma, an eyelid laceration, a ruptured
17 globe, and significant trauma. Additionally, Plaintiff incurred medical expenses.
18          100.    Accordingly, Defendants City and DOE Officers each are liable to Plaintiff for
19 compensatory damages under 42 U.S.C. § 1983.

20          101.    Plaintiff also seeks statutory attorney fees under this claim.
21                                  FOURTH CAUSE OF ACTION
22                   FOURTH AMENDMENT – EXCESSIVE FORCE (42 USC § 1983)
23          102.    Plaintiff realleges and incorporates by reference all paragraphs previously
24 alleged as though they are set forth in full herein.
25          103.    Defendant, City and DOE Police Officer’s unjustified shooting deprived
26 Plaintiff of his right to be secure in his person against unreasonable searches and seizures as
27 guaranteed to Plaintiff under the Fourth Amendment to the United States Constitution and
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                                                COMPLAINT
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 1 applied to state actors by the Fourteenth Amendment.
 2          104.    The unreasonable use of force by Defendant DOE Officers deprived the
 3 Plaintiff of his right to be secure in his person against unreasonable searches and seizures as
 4 guaranteed to Plaintiff under the Fourth Amendment to the United States Constitution and
 5 applied to state actors by the Fourteenth Amendment.
 6          105.    As a result, Plaintiff suffered extreme mental and physical pain and suffering,
 7 loss of enjoyment of life, the loss of his right eye, a blow-out fracture, blunt eye trauma, an
 8 eyelid laceration, a ruptured globe, and significant trauma. Additionally, Plaintiff was caused to
 9 incur medical expenses.
10          106.    As a result of the conduct of Defendant DOE Police Officers, they are liable for
11 the Plaintiff’s injuries because they were integral participants in the excessive force.
12          107.    The use of Less-Lethal force was excessive because this was not a situation
13 where an officer reasonably believes that a suspect or subject is violently resisting arrest or
14 possess an immediate threat of violence or physical harm. Additionally, the use of Less-Lethal
15 force options, specifically 40mm LLL, shall not be used for a suspect who is passively resisting
16 or merely failing to comply with commands.
17          108.    The use of Less-Lethal force was excessive and unreasonable under the
18 circumstances, especially since Plaintiff was not violently resisting arrest nor did Plaintiff
19 possess an immediate threat of violence or physical harm. Moreover, Plaintiff was not trying to

20 flee from the scene; as Plaintiff was standing near a food vendors truck, when Plaintiff saw a
21 crowd run past him from the officers holding the 40mm LLL. The involved officers fired
22 approximately three (3) times, the first projectile whizzing over the Plaintiff’s head; the second
23 projectile slicing another bystanders’ lip; and the third projectile bursting the eye of Plaintiff.
24 Defendants’ actions thus deprived Plaintiff of his right to be free from unreasonable searches
25 and seizures under the Fourth Amendment and applied to state actors by the Fourteenth
26 Amendment.
27          109.    The conduct of Defendant DOE Police Officers was willful, wanton, malicious,
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                                                COMPLAINT
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 1 and done with reckless disregard for the rights and safety of Plaintiff and therefore warrants the
 2 imposition of exemplary and punitive damages as to Defendant DOE Police Officers who were
 3 employed by Defendant City.
 4            110.   Plaintiff also seeks attorney fees under this claim.
 5                                     FIFTH CAUSE OF ACTION
 6                         SUBSTANTIVE DUE PROCESS (42 USC § 1983)
 7            111.   Plaintiff realleges and incorporates by reference all paragraphs previously
 8 alleged as though they are set forth in full herein.
 9            112.   Plaintiff had a cognizable interest under the Due Process Clause of the
10 Fourteenth Amendment of the United States Constitution to be free from state actions that
11 deprive him of life, liberty, or property in such a manner as to shock the conscience, including
12 but not limited to, unwarranted state interference in Plaintiff’s bodily rights and bodily

13 autonomy, specifically Plaintiff’s eye. The principal of bodily rights and bodily autonomy is
14 that no material may be taken from a person’s body without due process of law.
15            113.   As a result of excessive force by Defendant DOE officers, Plaintiff lost an eye.
16 Additionally, as a result of excessive force by Defendant DOE Police Officers, Plaintiff has
17 lost enjoyment of life as promised under the Due Process Clause of the Fourteenth Amendment
18 of the United States Constitution to be free from state actions that deprive Plaintiff of life and
19 liberty.

20            114.   Plaintiff brings this claim individually for the violation of Plaintiff’s rights.
21            115.   Plaintiff also seeks attorney fees under this claim.
22                                     SIXTH CAUSE OF ACTION
23         FOURTH AMENDMENT – DENIAL OF MEDICAL CARE (42 USC § 1983)
24            116.   Plaintiff realleges and incorporates by reference all paragraphs previously
25 alleged as though they are set forth in full herein.
26            117.   The denial of medical care by Defendant DOE Police Officers deprived Plaintiff
27 of his right to be secure in his person against unreasonable searches and seizures as guaranteed
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                                                 COMPLAINT
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 1 to Plaintiff under the Fourth Amendment to the United States Constitution and applied to state
 2 actors by the Fourteenth Amendment.
 3          118.    As a result, Plaintiff suffered extreme mental and physical pain and suffering
 4 loss of enjoyment of life, the loss of his right eye, a blow-out fracture, blunt eye trauma, an
 5 eyelid laceration, a ruptured globe, and significant trauma. Additionally, Plaintiff incured
 6 medical expenses.
 7          119.    Defendant DOE Police Officers knew that failure to provide timely medical
 8 treatment to Plaintiff could result in further significant injury or unnecessary and wanton
 9 infliction of pain, but disregarded the serious medical need, which ultimately caused Plaintiff
10 great bodily harm.
11          120.    After shooting Plaintiff with 40mm LLL, Plaintiff’s brother Michael and April
12 pleaded for officers to help or to allow them to walk in the direction of their home. However,

13 officers told them to sit in the adjacent parking lot as one deputy indicated that he had called an
14 ambulance. The Gonzalez Family waited for about thirty (30) minutes as the officers forbade
15 them from walking further toward Plaintiff’s home and seeking medical attention.
16          121.    The conduct of the Defendants, DOE Police Officers was willful, wanton,
17 malicious, and done with the reckless disregard for rights and safety of Plaintiff and therefore
18 warrants the imposition of exemplary and punitive damages as to Defendants DOE Police
19 Officers.

20          122.    Plaintiff also seeks attorney’s fees under this claim.
21                                  SEVENTH CAUSE OF ACTION
22          Municipal Liability for Unconstitutional Custom or Policy (42 USC § 1983)
23                      (By Plaintiff William Gonzalez and Michael Gonzalez
24                             against Defendants Does 1-100 and City)
25          123.    Plaintiff realleges and incorporates by reference all paragraphs previously alleged
26 as though they are set forth in full herein.
27          124.    On and for some time prior to October 11, 2020 (and continuing to the present
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                                                  COMPLAINT
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 1 date) Defendants DOES 1-100, deprived Plaintiffs of the rights and liberties secured to them by
 2 the Fourth and Fourteenth Amendments to the United States Constitution, in that said defendants
 3 and their supervising and managerial employees, agents, and representatives, acting with gross
 4 negligence and with reckless and deliberate indifference to the rights and liberties of the public
 5 in general, and of Plaintiffs, and of persons in their class, situation and comparable position in
 6 particular, knowingly maintained, enforced, and applied an official recognized custom, policy
 7 and practice of:
 8                             (a) Employing and retaining as police officers and other personnel,
 9                     Defendant DOES Officers 1-100, at all times material herein knew or
10                     reasonably should have known had dangerous propensities for abusing their
11                     authority and for mistreating citizens by failing to follow written CITY Police
12                     Department policies;
13                             (b) Of inadequately supervising, training, controlling, assigning, and
14                     disciplining CITY Police Officers, and other personnel, who Defendant CITY
15                     knew or in the exercise of reasonable care should have known had the
16                     aforementioned propensities and character traits;
17                             (c) By failing to adequately train officers and failing to institute
18                     appropriate policies regarding the use of excessive force, including deadly
19                     and less-lethal force;
20                             (d) By having and maintaining an unconstitutional policy, custom,
21                     and practice of using excessive force, including deadly force, which also is
22                     demonstrated by inadequate training regarding these subjects. The policies,
23                     customs, and practices of DOES 5-10 and CITY, were done with a deliberate
24                     indifference to individuals’ safety and rights; and
25                             (e) Of totally inadequately training CITY Police Officers, with
26                     respect to firing projectiles at unarmed individuals, including, but not limited
27                     to, individuals standing on public sidewalks and participating in protected
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                                                COMPLAINT
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 1                      activity.
 2          125.    By reason of the aforementioned policies and practices of Defendants, Plaintiff
 3 was severely injured and subjected to pain and suffering and ultimately lost his eye.
 4          126.    Defendants together with various other officials, whether named or unnamed, had
 5 either actual or constructive knowledge of the deficient policies, practices and customs alleged
 6 in the paragraphs above. Despite having knowledge as stated above these defendants condoned,
 7 tolerated and through actions and inactions ratified such polices. Said Defendants also acted with
 8 deliberate indifference to the foreseeable effects and consequences of these policies with respect
 9 to the constitutional rights of Plaintiff and other individuals similarly situated.
10          127.    By perpetrating, sanctioning, tolerating, and ratifying the outrageous conduct and
11 other wrongful acts, Defendants acted with an intentional, reckless, and callous disregard for
12 safety of Plaintiff, and Plaintiff’s constitutional rights. Defendants each of their actions were

13 willful, wanton, oppressive, malicious, fraudulent, and extremely offensive and unconscionable
14 to any person of normal sensibilities.
15          128.    Furthermore, the policies, practices, and customs implemented and maintained
16 and still tolerated by Defendants were affirmatively linked to and were a significantly influential
17 force behind the injuries of Plaintiff and Plaintiffs.
18          129.    Accordingly, Defendants each are liable to Plaintiff and Plaintiffs for
19 compensatory damages under 42 U.S.C. § 1983

20          130.    Plaintiffs also seek attorney’s fees under this claim.
21                                   EIGTH CAUSE OF ACTION
22                                  Violations of Eighth Amendment
23          131.    Plaintiff realleges and incorporates by reference all paragraphs previously
24 alleged as though they are set forth in full herein.
25          132.    The Eighth Amendment to the United States Constitution states: “Excessive bail
26 shall not be required, nor excessive fines imposed, nor cruel and unusual punishments
27 inflicted.” This amendment prohibits the government from imposing unduly harsh penalties on
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                                                COMPLAINT
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 1 criminal defendants.
 2           133.    While Plaintiff was not a criminal defendant in this matter, the Eighth
 3 Amendment reasonably encapsulates the idea that the government shall not impose unduly
 4 harsh penalties on society at large, especially if that is the treatment that is otherwise accorded
 5 to even criminal defendants.
 6           134.    Plaintiff was imposed an unduly harsh penalty in the form of permanently
 7 losing his right eye and all the permanent negative impact it has and will continue to have for
 8 the rest of Plaintiff’s life.
 9           135.    This unduly harsh penalty was dealt to Plaintiff, who was otherwise an innocent
10 bystander at a public location by LAPD. As mentioned above, if criminal defendants are
11 accorded treatment parallel with the notion of not imposing such unusual punishment like
12 losing an eye, then there is no reason as to why Plaintiff cannot be accorded the same level of

13 constitutional right.
14           136.    CHP’s previously discussed failure to help provide aid following the already-
15 unconstitutional conduct dealt to Plaintiff by branches of state government further exemplifies
16 the true level of unduly harsh penalty that was dealt to Plaintiff.
17           137.    LAPD’s and CHP’s respective lack of disregard in reasonably appreciating the
18 situation as described throughout this document directly lead to the permanent, life-altering
19 damage suffered by Plaintiff.

20                                       NINTH CAUSE OF ACTION
21                                 Violations to Fourteenth Amendment
22           138.    Plaintiff realleges and incorporates by reference all paragraphs previously
23 alleged as though they are set forth in full herein.
24           139.    The Due Process Clause of the Fourteenth Amendment applies to the state and
25 is exactly like a similar provision in the Fifth Amendment, which only restricts the federal
26 government. It states that no person shall be “deprived of life, liberty, or property without due
27 process of law.” Usually, “due process” refers to fair procedures.
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                                                COMPLAINT
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 1          140.    “Fair procedures” do not include countless failures of state police protocol.
 2          141.    Plaintiff was deprived of life, liberty, and property at the hands of the LAPD
 3 and CHP.
 4          142.    Plaintiff’s life is permanently altered, his liberties were restricted while LAPD
 5 and CHP were forcing Plaintiff to walk a particular path in an otherwise public location with a
 6 40mm LLL round where his right eye used to be, and his property interest in his own body was
 7 absolutely affected in that he no longer has a right eye.
 8          143.    The absolute willful and reckless disregard by these state Officers lead to the
 9 clear violation of Plaintiff’s Fourteenth Amendment right, among the countless others as
10 detailed here.
11                                   TENTH CAUSE OF ACTION
12                            Intentional Infliction of Emotional Distress
13                             (Against All Defendants and Does 1-100)
14          144.    Plaintiff realleges and incorporates by reference all paragraphs previously
15 alleged as though they are set forth in full herein.
16          145.    Defendants City of Los Angeles, Los Angeles Police Department, Michael
17 Moore individually and in his capacity as Chief of Police of the City of Los Angeles, and
18 DOES 1 to 100 inclusive had a duty to Mr. Gonzalez not to cause Plaintiff emotional distress.
19          146.    As described above, the conduct of defendants and their agents/employees was
20 outrageous and done so intentionally or with reckless disregard. Specifically, Defendants’
21 careless mishandling of the events that transpired that day and failure to follow police protocol
22 resulted in absolute outrageous conduct in firing supposedly non-lethal rounds into a crowd
23 filled with innocent bystanders. The absolute intentional and reckless disregard in these actions
24 lead directly to Plaintiff’s permanent eye loss and emotional distress that arose due to the
25 unbelievably traumatic event.
26          147.    As a direct result of Defendants’ breach of duty, Mr. Gonzalez was forced to
27 experience and suffer from intimidation, fear, personal physical injury, severe and ongoing pain,
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                                               COMPLAINT
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 1 embarrassment, and severe emotional distress and mental anguish.
 2          148.    Defendants knew that their conduct would result in Mr. Gonzalez’s severe
 3 emotional distress, and said conduct was perpetrated by defendants with the intent to inflict, or
 4 with reckless disregard of the probability of inflicting humiliation, mental anguish, and severe
 5 emotional distress upon plaintiff. Such conduct did, in fact, result in severe emotional distress
 6 on plaintiff.
 7          149.    Defendants Michael Moore and Defendant Los Angeles Police Department, by
 8 the acts of its managing agents, officers and/or directors in the aforementioned acts and/or
 9 ratifying such acts, engaged in willful, malicious, intentional, oppressive and despicable conduct,
10 and acted with willful and conscious disregard of the rights, welfare and safety of Mr. Gonzalez,
11 thereby justifying the award of punitive and exemplary damages, against Defendants, and each
12 of them, in an amount to be determined at trial.

13                                ELEVENTH CAUSE OF ACTION
14                             Negligent Infliction of Emotional Distress
15                      (Cal. Govt. Code § 829 and California Common Law)
16                                       (By Michael Gonzalez)
17          150.    Plaintiff realleges and incorporates by reference all paragraphs previously alleged
18 as though they are set forth in full herein.
19          151.    Defendants City of Los Angeles, Los Angeles Police Department, DOES 1 to 100
20 negligently caused physical injury to Plaintiff when Defendant’s discharged their 40mm LLL,
21 striking Plaintiff in the eye. The use of the 40mm LLL targeted at the head or eyes is not
22 authorized unless lethal force is authorized. As a result, the use of a Less-Lethal 40mm, at the
23 head of Plaintiff was excessive, unreasonable and Defendants were negligent in discharging their
24 weapons at Plaintiff, including pre-shooting negligent conduct, actions, inactions and tactics.
25          152. Plaintiff, Michael Gonzalez was present at the scene, when Defendant CITY and
26 Defendant DOE Officers 1-100 discharged their firearms at William Gonzalez and Michael was
27 aware that Mr. Gonzalez was being injured.
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                                                  COMPLAINT
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 1          153.    As a result of being present at the scene and perceiving his brother being shot by
 2 Defendant CITY and Defendant DOE Officers 1-100, Michael suffered serious emotional
 3 distress, including but not limited to anguish, fright, horror, nervousness, grief, anxiety, worry,
 4 shock, humiliation, and shame.
 5          154.    On information and belief, any ordinary reasonable person would be unable to
 6 cope with seeing their brother shot in the eye and having his eye blown out by the police.
 7          155.    CITY is vicariously liable for the wrongful acts of Defendant DOE Officers 1-
 8 100, inclusive, pursuant to section 815.2(a) of the California Government Code, which provides
 9 that a public entity is liable for the injuries caused by its employees within the scope of the
10 employment if the employee’s act would subject him or her to liability.
11          156.    Plaintiff Michael Gonzalez brings this claim individually and seeks damages
12 under this claim as an individual.

13                                 TWELFTH CAUSE OF ACTION
14                 Negligence (Cal. Govt. Code § 820 and California Common Law)
15                              (Against All Defendants and Does 1-100)
16          157.    Plaintiff realleges and incorporates by reference all paragraphs previously
17 alleged as though they are set forth in full herein.
18          158.    Defendant Michel Moore, as general manager of the Los Angeles Police
19 Department, had a duty to Mr. Gonzalez, under the authority of the Board of Police

20 Commissioners, to act as a reasonable chief executive police officer to oversee the police
21 department’s operation, but negligently failed on the night of October 11, 2020 to plan,
22 coordinate, and direct all activities in the area of 9th and Flower to protect persons.
23          159.    Defendant Los Angeles Police Department, and each of their police officers, had
24 a duty to Mr. Gonzalez under the high standards of police officers to follow police protocol in
25 the use of force but negligently failed to follow police policies and procedures when they shot
26 their LLL hard-foam bullets into the crowd indiscriminately and at all directions. They failed to
27 isolate unlawful persons. They failed to target specific individuals when they fired their 40mm
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                                                COMPLAINT
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 1 LLL.
 2          160.    Defendant California Highway Patrol, and each of their officers,
 3          161.    Defendant Los Angeles County Sheriff’s Department, and each of their deputies,
 4          162.    As a further direct and proximate result of the negligence of Defendants as set
 5 forth above, Plaintiff suffered permanent bodily injury and present and future economic losses.
 6          163.    As a further direct and proximate result of the negligence of Defendants as set
 7 forth above, Mr. Gonzalez suffered serious emotional distress, and that the negligence of
 8 Defendants was a substantial factor in causing Mr. Gonzalez’s serious emotional anguish at the
 9 physical trauma he experienced as well as permanent loss of use of his right eye.
10                               THIRTEENTH CAUSE OF ACTION
11                                               Assault
12              (Against City of Los Angeles, Michel Moore, LAPD, and Does 1-100)
13          164.    Plaintiff realleges and incorporates by reference all paragraphs previously
14 alleged as though they are set forth in full herein.
15          165.    On or around the night of October 11, 2020 or around midnight October 12,
16 2020, uniformed LAPD officers marched toward Plaintiff’s direction with weapons held high
17 and pointed in his direction.
          166. Defendants intended to cause and did cause Plaintiff to suffer apprehension of an
18
19 immediate harmful contact. The officer’s firing directly into a crowd of innocent bystanders,

20 including Plaintiff, all done while the officer was acting within the scope of his employment as
21 a City of Los Angeles police officer, shows a clear intent to cause Plaintiff to suffer
22
     apprehension of an immediate harmful contact. The harmful contact being in the form of the
23
     supposed non-lethal round being fired directly at head-level, completely against police protocol,
24
     which ultimately resulted in the intended harmful contact occurring and causing Plaintiff’s eye
25
26 to essentially explode.
27
28
                                                   - 29 -

                                               COMPLAINT
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 32 of 181 Page ID #:41




 1                               FOURTEENTH CAUSE OF ACTION
 2                  Battery (Cal. Govt. Code § 820 and California Common Law)
 3              (Against City of Los Angeles, Michel Moore, LAPD, and Does 1-100)
 4           167.   Plaintiff realleges and incorporates by reference all paragraphs previously
 5 alleged as though they are set forth in full herein.
 6           168.   On the night of October 11, 2020 or midnight hour of October 12, 2020,
 7 Defendants shot out LLL munitions into the vicinity of 9th and Flower above the waistline level
 8 of non-specific suspects.
 9           169.   Mr. Gonzalez was struck in the right eye by one such hard-foam projectile.
10           170.   Defendants intended to cause and did cause a harmful contact with Plaintiff’s
11 person.
12           171.   Plaintiff did not consent to Defendants’ act.
13           172.   As a direct and proximate result of Defendants’ conduct Plaintiff suffered a cut
14 through his cheek skin and eyelid, a shattered eye socket, a ripped tear duct and blow out of his
15 right eyeball itself. Plaintiff has also suffered extreme mental anguish and physical pain. Plaintiff
16 is informed and believes, and on that basis alleges, that Plaintiff has suffered a permanent
17 disability. These injuries have caused Plaintiff to suffer general damages in an amount to be
18 determined by proof at trial.
19           173.   As a direct and proximate result of Defendants’ conduct, Plaintiff has been
20 required to obtain continuing medical services and treatment since the night of the attack in an
21 amount to be determined by proof at trial, and will, in the future, be compelled to incur additional
22 obligations for medical treatment in an amount to be determined by proof at trial.
23           174. As a further direct and proximate result of Defendants’ conduct, Plaintiff has been,
24 and continues to be, unable to work since the events described in this complaint and has suffered
25 a loss of earnings in an amount which has not yet been determined, but which will be added by
26 amendment when it is ascertained.
27
28
                                                    - 30 -

                                                COMPLAINT
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 33 of 181 Page ID #:42




             175.    Defendants’ act was done knowingly, willfully, and with malicious intent, and
 1
 2 plaintiff is entitled to punitive damages in an amount to be determined by proof at trial.
 3
                                   FIFTEENTH CAUSE OF ACTION
 4
              Civil Supervisorial Responsibility for Violations of Plaintiff’s Civil Rights
 5
                                        pursuant to 42 USC § 1998
 6
                                (Against All Defendants and Does 1-100)
 7
             176.    Plaintiff realleges and incorporates by reference all paragraphs previously
 8
     alleged as though they are set forth in full herein.
 9
             177.    Defendants failed to adequately train, supervise, discipline and in any other way
10
     control DOE and other unnamed police officers sued as DOES 1 to 100 in the exercise of their
11
     duties as LAPD officers.
12
             178.    Defendants and DOES 1 to 100 are directly liable and responsible for the
13
     actions of DOE and the other unnamed police officers that violated Plaintiff’s civil rights
14
     because they repeatedly, knowingly, and intelligently, failed to enforce the laws of the State of
15
     California in the regulations of the police departments themselves, thereby creating within the
16
     department, an atmosphere of lawlessness in which officers engaged in violations of civil
17
     rights as set forth in the factual allegations. Defendants knew or by the exercise of reasonable
18
     care should have known of such unlawful acts and practices prior to and at the time of
19
     Plaintiff’s injuries.
20
             179.    Defendants and DOES 1 through 100, were also negligent in failing to provide
21
     DOE and other unnamed officers identified as DOES 1 to 100 proper and adequate training
22
     necessary to carry out their duties with due care so that these police officers could foreseeably
23
     be expected to perform in the course of their employment with Defendant CITY OF LOS
24
     ANGELES and LAPD. DOE and other DOE Defendants received inadequate training in the
25
     proper use of force. As the direct and proximate result of this failure to provide such training,
26
     Plaintiff suffered injuries and damages.
27
28
                                                     - 31 -

                                                 COMPLAINT
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 34 of 181 Page ID #:43




 1          180.    Defendant and DOES 1 to 100 have a duty to exercise due care in the hiring,
 2 selection, training, supervising, oversight, direction, investigation, rewarding, discipline and
 3 control of their officers, employees and agents.
 4          181.    Defendants and DOES 51 through 100 breached that duty intentionally,
 5 purposely, knowingly, recklessly, and deliberately and with deliberate indifference, with gross
 6 negligence, and/or negligently and without regard to human safety. Said defendants knew, or
 7 should have known, and had actual, implied or constructive notice of the tortious, misfeasance,
 8 and nonfeasance leading up to acts and omissions of the other defendants, officers and
 9 employees, and had the power to take reasonable steps to prevent or aid in the prevention of
10 said tortious acts and/or omissions.
11          182.    In the exercise of due diligence, Defendants could have taken preventive action.
12          183.    As a direct and proximate result of that breach of duty, Plaintiff suffered
13 physical injury, pain and suffering, fear, intimidation, severe mental anguish, humiliation,
14 degradation, and emotional distress and was deprived of his rights guaranteed by the Eighth
15 and Fourteenth Amendments of the United States Constitution. Plaintiff has incurred damages
16 for which Defendants, and each of them, are liable because of the breach of duty described
17 above, and the violations of 42 USC § 1983.
18          184.    As a further direct and proximate result of the negligence of Defendants as set
19 forth

20          above, Mr. Gonzalez suffered serious emotional distress, and that the negligence of
21 Defendants was a substantial factor in causing Mr. Gonzalez’s serious emotional anguish at the
22 physical trauma he experienced as well as his disfigurement and permanent loss of use of his
23 right eye.
24                                      PRAYER FOR RELIEF
25          WHEREFORE, Plaintiff respectfully requests for judgment against Defendants, and
26 each of them, on all causes of action, as follows:
27          1.      A judgment in favor of Plaintiff;
28
                                                   - 32 -

                                               COMPLAINT
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 35 of 181 Page ID #:44




 1       2.    For general damages in an amount in excess of the jurisdictional minimum,
 2             according to proof;
 3       3.    For special damages in an amount in excess of the jurisdiction minimum,
 4             according to proof;
 5       4.    For treble damages under Civil Code Section 52.
 6       5.    For Punitive damages pursuant to Civ. Code § 52, subd. (b)(1);
 7       6.    A statutory civil penalty of $25,000 pursuant to Civ. Code § 52, subd. (b)(2);
 8       7.    A preliminary injunction against Defendants, and each of them, enjoining
 9             Defendants to follow police policy and procedure in the use of Less-Lethal force;
10             and to refrain from firing Less-Lethal force indiscriminately into crowds or above
11             the waistline;
12       8.    A permanent injunction against Defendants, and each of them, enjoining
13             Defendants from firing LLL rounds indiscriminately into crowds or above the
14             waistline;
15       9.    For costs of this suit and attorneys’ fees allowable under the law;
16       10.   Actual damages;
17       11.   Pre-judgment interest and post-judgment interest to the extent allowed by law;
18             and
19       12.   For such other and further relief as the Court deems just, necessary, and proper.
20
21
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                                              - 33 -

                                          COMPLAINT
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 36 of 181 Page ID #:45




 1                                  DEMAND FOR JURY TRIAL
 2          Plaintiff hereby demands a trial by jury to the full extent permitted by law for all claims
 3 and causes of action in this lawsuit.

 4

 5
                                                  DRE, A.P.C.
 6

 7

 8 Dated: May 4, 2021                             _______________________________________
                                                  Darren M. Richie, Esq.
 9                                                Kristen J. Mason, Esq.
10                                                Ethan Brown, Esq.
                                                  Attorneys for Plaintiffs,
11                                                WILLIAM GONZALEZ and MICHAEL
                                                  GONZALEZ
12

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                                               COMPLAINT
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 37 of 181 Page ID #:46




                      EXHIBIT “1”
 Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 38 of 181 Page ID #:47

                              COUNTY OF LOS ANGELES
                              OFFICE OF THE COUNTY COUNSEL
                                  648 KENNETH HAHN HALL OF ADMINISTRATION

                                                                 .
                                          , 500 WEST TEMPLE STREET
                                                                .. .. :·, .
                                     LOS ANGELES, CALIFORNIA 90012-2713                  TELEPHONE
                                                                                         (213) 974-8208
                                                                                         FACSIMILE
RODRIGO A. CASTRO-SILVA
    County Counsel                                                                       (213) 687-8822
                                             February 10, 2021
                                                                                         TDD
                                                                                         (213) 633-090 I




           Kristen J. Mason, Esq.
           DRE,APC
           206 West 4th Street, Suite 330
           Santa Ana, California 92701

                    Re:       Claim Presented:                       December 22, 2020
                              Amendment Presented:                   December 22, 2020
                              File Number:                           XX-XXXXXXX*001
                              Your Client:                           William Gonzalez


           Dear Counselor:

            ;      Notice is hereby given that the· claim that you presented to the
           County of Los Angeles, Board of Supervisors on December 22, 2020, was
           rejected on February 9, 2021.

                  •An investigation of this matter fails to indicate any involvement on the
           part of the County of Los Angeles, its officers, agents, or employees.
           Accordingly, your claim was rejected on that basis. No further action will be
           taken on this matter.

                                                 WARNING

                   Subject to certain exceptions, you have only six (6) months from the date
           this notice was personally delivered or deposited in the mail to file a court action
           on this claim. See Government Code Section 945.6.

                   This time limitation applies only to causes of action for which
           Government Code Sections 900 - 915.4 require you to present a claim. Other
           causes of action, including those arising under federal law, may have different
           time limitations.




           HOA.103146295 .l
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 39 of 181 Page ID #:48



        Kristen J. Mason, Esq.
        February 10, 2021
        Page 2




               You may seek the advice of an attorney of your choice in connection with
        this matter. If you desire to consult an attorney, you should do so immediately.

                                                 Very truly yours,

                                                 RODRIGO A. CASTRO-SILVA




                                                     Deputy County Counsel
                                                     Litigation Monitoring Team

        JCR:ce




        HOA.103146295.1
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 40 of 181 Page ID #:49




    1                                             PROOF OF SERVICE

    2                                            File No. XX-XXXXXXX*001

    3    STATE OF CALIFORNIA, County of Los Angeles:

    4        Carolyn Edwards states: I am employed in the County of Los Angeles, State of California,
      over the age of eighteen years and not a party to the within action. My business address is 648
    5 Kenneth Hahn Hall of Administration, 500 West Temple Street, Los Angeles, California 90012-
      2713.
    6

    7
             That on February /           0,
                                        2021, I served-the attached

                                      NOTICE OF DENIAL LETTER
    8
              upon Interested Party(ies) by placing 00 the original D a true copy thereof enclosed in a
    9 sealed envelope addressed 00 as follows □ as stated on .the attached service list:

    10                      Kristen J. Mason, Esq.
                            DRE,APC
    11                      206 West 4th Street, Suite 330
                            Santa Ana, California 92701
    12
                            By United States mail. I enclosed the documents in a sealed envelope or package
    13                      addressed to the persons at the addresses on the attached service list (specify one):

    14            (1) 0 deposited the sealed envelope with the United States Postal Service, with the
                        postage fully prepaid.
    15
                  (2) 00 placed the envelope for collection and mailing, following ordinary business
    16                   practices. I am readily familiar with this business's practice for collecting and
                         processing correspondence for mailing. On the same day that correspondence is
    17                   placed for collection and mailing, it is deposited in the ordinary course of business
                         with the United States Postal Service, in a sealed envelope with postage fully
    18                   prepaid.

    19                      I am a residentor employed in the county where the mailing occurred. The
                            envelope or package was placed in the mail at Los Angeles, California:
    20
                I declare under penalty of perjury under the laws of the State of California that the
    21   foregoing is true and correct.

    22            Executed on February /       0, 2021, at Los An
    23
    24                Carolyn Edwards
                  (NAME OF DECLARANT)
                                                                                               clw
    25

    26

    27

    28


         HOA.103146303 .1
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 41 of 181 Page ID #:50




                      EXHIBIT “2”
 Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 42 of 181 Page ID #:51

                             COUNTY OF LOS ANGELES
                             OFFICE OF THE COUNTY COUNSEL
                                 648 KENNETH HAHN HALL OF ADMINISTRATION
                                          500 WEST TEMPLE STREET
                                    LOS ANGELES, CALIFORNIA 900 I 2-2 713              TELEPHONE
                                                                                       (213) 974-1913
                                                                                       FACSIMILE
RODRIGO A. CASTRO-SILVA
                                                                                       (213) 687-8822
    County Counsel                          February 10, 2021
                                                                                       TDD
                                                                                       (213) 633.-0901




           Kristen J, Mason, Esq.
           DRE,APC
           206 West 4th Street, Suite 330
           Santa Ana, California 92701

                   Re:       Claim Presented:                      December 22, 2020
                             Amendment Presented:                  December 22, 2020
                             File Number:                          XX-XXXXXXX*001
                             Your Client:                          William Gonzalez


           Dear Counselor:

                   This letter is to inform you that the claim that you presented to the
           County of Los Angeles, Board of Supervisors on December 22, 2020, arises from
           an event or occurrence that in no way involves the County of Los Angeles (the
           "County"). An investigation of this matter fails to indicate any involvement on
           the part of the County, its officers, agents, or employees. Accordingly, the
           County will be rejecting the claim on that basis.

                  It is not the intention of this letter to deter the filing of a lawsuit against
           the County, its officers, agents, or employees where there is a justifiable
           controversy under the facts and law. However, in this case, it does not appear that
           a lawsuit against the County, its officers, agents, or employees is warranted.

                   In considering your future course of action, we remind you of the
           provisions of Section 103 8 of the Code of Civil Procedure. Please be advised that
           the County will seek the remedies afforded by that Section in the course of
           defending against any subsequent litigation brought without reasonable cause or
           in bad faith.




           HOA.103146339.1
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 43 of 181 Page ID #:52



        Kristen J. Mason, Esq.
        January 28, 2021
        Page 2


               You may seek the advice of an attorney of your choice in connection with
        this matter. If you desire to consult an attorney, you should do so immediately.

                                                 Very truly yours,

                                                              . ASTRO-SIL VA


                                                                1 ~
                                                 By
                                                              AC. RIVAS
                                                      Deputy County Counsel
                                                      Litigation Monitoring Team

        JCR:ce




         HOA.103146339. 1
' ... Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 44 of 181 Page ID #:53




       1                                               PROOF OF SERVICE

       2                                              FileNo.XX-XXXXXXX*001

       3    STATE OF CALIFORNIA, County of Los Angeles:

       4           Carolyn Edwards states: I_am employed in the County of Los Angeles, State of California,
            over the age of eighteen years and not a party to the within action. My business address is 648
        5   Kenneth Hahn Hall of Administration, 500 West Temple Street, Los Angeles, California 90012-
            2713.                             D
        6
                      That on February/_ _, 2021, I served the attached
        7
                                               NOTICE OF 1038 DENIAL LETTER
        8
                    upon Interested Party(ies) by placing ~ the original □ a true copy thereof enclosed in a
        9   sealed envelope addressed ~ as follows □ as stated on the attached service list:

       10                        Kristen J. Mason, Esq.
                                 DRE,APC         .
       11                        206 West 4th Street, Suite 330
                                 Santa Ana, California 92701
       12
                                 By United States mail. I enclosed the documents in a sealed envelope or package
       13                        addressed to the persons at the addresses on the attached service list (specify one):

       14             (1) D deposited the sealed envelope with the United States Postal Service, with the
                            postage fully prepaid.
       15
                      (2) 00 placed the envelope for collection and mailing, following ordinary business
       16                    practices. I am readily familiar with this business's practice for collecting and
                             processing correspondence for mailing. On the same day that correspondence is
       17                    placed for collection and mailing, it is deposited in the ordinary course of business
                             with the United States Postal Service, in a sealed envelope with postage fully
       18                    prepaid.

       19                        I am a resident or employed in the county where the mailing occurred. The
                                 envelope or package was placed in the mail at Los Angeles, California:
       20
                   I declare under penalty of perjury under the laws of the State of California that the
       21   foregoing is true and correct.    ()

       22             Executed on February        fj)_, 2021, at Los Angeles, California.
       23
       24                  Carolyn Edwards
                       (NAME OF DECLARANT)
       25

       26

       27

       28


            HOA !03 1463 12. l
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 45 of 181 Page ID #:54




                      EXHIBIT “3”
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 46 of 181 Page ID #:55




                                                                             .,.,   -
                                                                                            .
                                                                                           r,,


                                                                           ~ ....... \-
                                                                                        ___,,

                                                 MICHAEL N. FEUER
                                                       Cl'I_YATIORNEY

   February 3, 2021

   Kristen J. Mason
   206 W. 4th St, Ste. 300
   Santa Ana, CA 92701

        RE:          Our Claim No.: C21-02543
                 Your Client/Insured: William Gonzalez
                       Date of Loss: 10/11/2020

   Dear Sir/Madam:

   The subject claim against the City has been referred to this office.

   After reviewing the circumstances of the claim and the applicable law, it has been determined
   that the claim should be denied.

   This letter represents a formal notice to you that said claim has been denied. In view of this
   action, we are required by law to give you the following warning:

                                                  ***WARNING***

              "Subject to certain exceptions, you have only six (6) months from the
              date this notice was personally delivered or deposited in the mail to file
              a court action alleging state causes of action. The time within which
              federal causes of action must be filed is governed by federal statutes."

              "You may seek the advice of an attorney of your choice in connection
              with this matter. If you desire to consult an attorney, you should do so
              immediately."



                                                              am
                                                   Chief Investigator

   BRSAM : FPOTCH
   Telephone: 213-978-7081
   Enclosure(s)




              City Hall East 200 N. Main Street Room 600 Los Angeles. CA 90012 (213) 978•7050 Fax (213) 978-7114
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 47 of 181 Page ID #:56




                                  PROOF OF SERVICE BY MAIL


   I, Fern Potchana, declare as follows:

   I am over the age of 18 years and not a party to this action. My business address is 200 North
   Main Street, Room 600, City Hall East, Los Angeles, California 90012, which is located in the
   county where the mailing described below took place.

   I am readily familiar with the business practice at my place of business for collection and
   processing correspondence for mailing via the United States Postal Service. Correspondence so
   collected and processed is deposited with the United States Postal Service that same day in the
   ordinary course of business.

   On February 3, 2021, at my place of business at Los Angeles, California, I mailed a Denial
   Letter for Claim Number C21-02543 by placing it, with postage thereon fully prepaid, for
   collection and mailing via the United States mail addressed as follows:


                                              Kristen J. Mason
                                           206 W. 4th St, Ste. 300
                                            Santa Ana, CA 92701



   I declare under penalty of perjury that the following is true and correct. Executed on February 3,
   2021, at Los Angeles, California.
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 48 of 181 Page ID #:57




                      EXHIBIT “4”
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 49 of 181 Page ID #:58




                                                                             .,.,   -
                                                                                            .
                                                                                           r,,


                                                                           ~ ....... \-
                                                                                        ___,,

                                                 MICHAEL N. FEUER
                                                       Cl'I_YATIORNEY

   February 3, 2021

   Kristen J. Mason
   206 W. 4th St, Ste. 300
   Santa Ana, CA 92701

        RE:          Our Claim No.: C21-02543
                 Your Client/Insured: William Gonzalez
                       Date of Loss: 10/11/2020

   Dear Sir/Madam:

   The subject claim against the City has been referred to this office.

   After reviewing the circumstances of the claim and the applicable law, it has been determined
   that the claim should be denied.

   This letter represents a formal notice to you that said claim has been denied. In view of this
   action, we are required by law to give you the following warning:

                                                  ***WARNING***

              "Subject to certain exceptions, you have only six (6) months from the
              date this notice was personally delivered or deposited in the mail to file
              a court action alleging state causes of action. The time within which
              federal causes of action must be filed is governed by federal statutes."

              "You may seek the advice of an attorney of your choice in connection
              with this matter. If you desire to consult an attorney, you should do so
              immediately."



                                                              am
                                                   Chief Investigator

   BRSAM : FPOTCH
   Telephone: 213-978-7081
   Enclosure(s)




              City Hall East 200 N. Main Street Room 600 Los Angeles. CA 90012 (213) 978•7050 Fax (213) 978-7114
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 50 of 181 Page ID #:59




                                  PROOF OF SERVICE BY MAIL


   I, Fern Potchana, declare as follows:

   I am over the age of 18 years and not a party to this action. My business address is 200 North
   Main Street, Room 600, City Hall East, Los Angeles, California 90012, which is located in the
   county where the mailing described below took place.

   I am readily familiar with the business practice at my place of business for collection and
   processing correspondence for mailing via the United States Postal Service. Correspondence so
   collected and processed is deposited with the United States Postal Service that same day in the
   ordinary course of business.

   On February 3, 2021, at my place of business at Los Angeles, California, I mailed a Denial
   Letter for Claim Number C21-02543 by placing it, with postage thereon fully prepaid, for
   collection and mailing via the United States mail addressed as follows:


                                              Kristen J. Mason
                                           206 W. 4th St, Ste. 300
                                            Santa Ana, CA 92701



   I declare under penalty of perjury that the following is true and correct. Executed on February 3,
   2021, at Los Angeles, California.
Electronically FILED by Superior Court of California, County of Los Angeles on 05/04/2021 08:38 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
               Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 51 of 181 Page IDSUM-100
                                                21STCV16790                                  #:60
                                                         SUMMONS                                                                               FOR COURT USE ONLY
                                                                                                                                           (SOLO PARA USO DE LA CORTE)
                                                (CITACION JUDICIAL)
           NOTICE TO DEFENDANT:
           (AVISO AL DEMANDADO):
           CITY OF LOS ANGELES, MICHEL MOORE, individually and in His Official
           Capacity as Chief of Police of the City of Los Angeles COUNTY OF LOS
           ANGELES, and DOES 1 to 100 inclusive
           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTÁ DEMANDANDO EL DEMANDANTE):
           WILLIAM GONZALEZ, an individual, MICHEAL GONZALES, an Individual


            NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
            the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
            may be taken without further warning from the court.
               There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
            (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
            ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
            continuación.
               Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
            corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
            en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
            Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
            biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
            que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
            podrá quitar su sueldo, dinero y bienes sin más advertencia.
               Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
            remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
            programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
            (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
            colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
            cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
            pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
          The name and address of the court is:                                                                               CASE NUMBER:
                                                                                                                              (Número del Caso):
          (El nombre y dirección de la corte es):
          Superior Court of California - Los Angeles County                                                                             21 STCV1 6790
          Central Judicial District
          111 North Hill Street                                                              Sherri R. Carter Executive Officer I Clerk of Court
          Los Angeles, CA 90012

          The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
          (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
          Darren Richie (SBN 316116); Kristen Mason (SBN 320378);                                          T: (213) 265-7888 F: (884) 314-1380
          DRE, A.P.C.
          206 W. 4th Street, Suite 330, Santa Ana, CA 92701
          DATE:                                                                                 Clerk, by                                R. Perez                            , Deputy
          (Fecha) 051'04/2021                                                                   (Secretario)                                                                 (Adjunto)
          (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
          (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
            [SEAL]                                  NOTICE TO THE PERSON SERVED: You are served
                                                    1.
                                                        □ as  an individual defendant.
                                                    2.
                                                           □
                                                           as the person sued under the fictitious name of (specify):

                                                    3.
                                                           □ on behalfCCP
                                                                       of (specify):
                                                         under:
                                                                 □ CCP 416.10       (corporation)
                                                                                                                                    □ CCP 416.60 (minor)
                                                                  □ CCP 416.40 (association or partnership)
                                                                            416.20 (defunct corporation)
                                                                                                                                    □ CCP 416.90 (authorized person)
                                                                                                                                      CCP 416.70 (conservatee)
                                                                  □ other (specify):                                                □
                                                                      □
                                                    4.
                                                           □   by personal delivery on (date):
                                                                                                                                                                                Page 1 of 1
            Form Adopted for Mandatory Use
              Judicial Council of California
                                                                                        SUMMONS                             American LegalNet, Inc.
                                                                                                                                                      Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                                        www.courtinfo.ca.gov
                                                                                                                            www.FormsWorkflow.com
              SUM-100 [Rev. July 1, 2009]
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  '                                                                "                   21STCV16790                      '                                     .               •           CM-010
    Case
~TTORNEY OR 2:22-cv-04749-CAS-MRW                      Document
            PARTY WITHOUT ATTORNEY (Name, State Barnumber, and address):
                                                                         1-2 Filed 07/12/22 Page 52 of 181 Page ID #:61
                                                                                                    FOR COURT USE ONLY
    Darren Richie, Esq. (SB N3161 16); Kristen J. Mason, E sq. (SBN 320378)
    DRE , A. P .C.
    206 W. 4 th Street, Suite 330
    Santa A na, Californ ia 92701
       TELEPHONE NO.: (213) 2 65-7888          FAX NO.: (884 ) 314-1 380
  ATTORNEY FOR (Name): Plaintiffs
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF                     Los Angeles
         srnEET ADDREss: 11 1 North Hill Street
       MAILING ADDRESS:
       c1TY AND z1P coDE: Los A ngeles, 90012
            BRANCH NAME: Central
      CASE NAME: William Gonzalez, M icheal Gonzalez v. City of L os A ngeles, Michel
      Moore, et al.
           CIVIL CASE COVER SHEET                                              Comple x Case Designation                               CASE NUMBER:
 [2g       Unlimited
           (Amount
                             Limited□                   Counter            OJoinder          21 STC"•. /1 679 0
                                                                                                      D
                             (Amount                                                       JUDGE:
           demanded          demanded is         Filed with first appearance by defendant
           exceeds $25,000)  $25,000 or less)        (Cal. Rules of Court, rule 3.402)      DEPT:
                                   Items 1-6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
      Auto Tort                                                        Contract                                              Provisionally Complex Civil Litigation
       0    Auto (22)                                                  0       Breach of contract/warranty (06)              (Cal. Rules of Court, rules 3.400- 3.403)
       D    Uninsured motorist (46)                                    0
                                                                       D
                                                                               Rule 3.740 collections (09)                   □       AntitrusUTrade regulation (03)
      Other Pl/PD/WO (Personal Injury/Property
                                                                       D
                                                                               Other collections (09)                        □       Construction defect (10)
      Damage/Wrongful Death) Tort
      D     Asbestos (04)                                              D
                                                                               Insurance coverage (18)
                                                                               Other contract (37)
                                                                                                                             □
                                                                                                                             D
                                                                                                                                     Mass tort (40)
                                                                                                                                     Securities litigation (28)
      0 Product liability (24)                                         Real Property                                         0       Environmental/Toxic tort (30)
      0 Medical malpractice (45)                                       D
      0 Other Pl/PD/WO (23)
                                                                               Eminent domain/Inverse
                                                                               condemnation (14)                             □       Insurance coverage claims arising from the
                                                                                                                                     above listed provisionally complex case
      Non-Pl/PD/WO (Other) Tort                                        0       Wrongful eviction (33)                                types (41)
      0    Business tort/unfair business practice (07) D                       Other rea l property (26)                     Enforcement of Judgment
      [Zl Civil rights (08)                            Unlawful Detainer                                                     0       Enforcement of judgment (20)

      □ Fraud (16)
           Defamation (13)                                             D
                                                             Commercial (31)                                                 Miscellaneous Civil Complaint
                                                                       D                                                     0       RICO (27)
      □ Intellectual property (19)                           Residential (32)
                                                                       D                                                     0       Other complaint (not specified above) (42)
      □ Professional negligence (25)
      0
                                                             Drugs (38)
                                                       Judicial Review                                                       Miscellaneous Civil Petition
      0 Other non-Pl/PD/WO tort (35)                                   D
                                                             Asset forfeiture (05)                                           0       Partnership and corporate governance (21)
      Employment                                                       D
                                                             Petition re: arbitration award (11)                             0       Other petition (not specified above) (43)
      0 Wrongful termination (36)                                      D
                                                             Writ of mandate (02)
      D    Other employment (15)                                       D
                                                             Other judicial review (39)
2. This case         is  DfZl is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.      D Large number of separately represented parties       d.  Large number of witnesses  D
   b.      D Extensive motion practice raising difficult or novel e.                             D
                                                                      Coordination with related actions pending in one or more courts
             issues that will be time-consuming to resolve            in other counties, states, or countries, or in a federal court
   c.      D Substantial amount of documentary evidence           f.                             D
                                                                      Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. !Zl monetary b. fZl nonmonetary; declaratory or injunctive relief       c. [Zl punitive
4. Number of causes of action (specify): 15
5. This case         is !ZJ is not a class action suit.
                       D
6. If there are any known related cases, file and serve a notice of related case. (You -may use form CM-015.)
Date: May 4, 2021                                                                    ,                                      ;i;-IJ/L -
Kristen J. M ason, Esq.                                                   ►                                           f!f!('§
                       /TYPE OR PRINT NAME)                                            f llt-S-i"iG-N--,AT:c-U-::,R., -E-::-0::--FP::--A-::R-::-TY-,-0::-:R:--A::TT
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                                                                                                                                                                       c-N_E_
                                                                                                                                                                            Y-FO_R_P_A-RTY
                                                                                                                                                                                        - ) - - -- -
                                                                                           NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                           Paqe 1 of 2

Fenn Adopted for M andatory Use
  Judicial Council of California                                       CIVIL CASE COVER SHEET                                               Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3. 740;
                                                                                                                                                    Cal. Standards of Judicial Administra tion. std. 3.10
  CM~fflO lRev. JUiy ·1, 2007)                                                                                                                                                    www.counmro.ca.gov
      Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 53 of 181 Page ID CM-010
                                                                                    #:62
                                         INSTRUCTIONS ON HOW TO COMPLETE TH E COVER SHEET
 To Plaintiffs and Others Filing First Papers. If you are fil ing a first paper (for example. a complaint) in a civil case, you must
 complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
 one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
 check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
 To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cas es. A "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requ irements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a cou nter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.
                                                            CASE TYPES AND EXAMPLES
 Auto Tort                                       Contract                                            Provisionally Complex Civil Litigation (Cal.
      Auto (22)-Personal Injury/Property             Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                         Breach of Rental/Lease                           AntitrusUTrade Regulation (03)
      Uninsured Motorist (46) (if the                        Contract (not unlawful detainer              Construction Defect ( 10)
          case involves an uninsured                               or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach-Seller                  Securities Litigation (28)
          arbitration, check this item                         Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of ContracU                     Insurance Coverage Claims
 Other Pl/PD/WD (Personal Injury/                              Warranty                                      (arising from provisionally complex
 Property Damage/Wrongful Death)                         Other Breach of Contract/Warranty                   case type listed above) (41)
 Tort                                                Collections (e.g. , money owed, open             Enforcement of Judgment
      Asbestos (04)                                      book accounts) (09)                              Enforcement of Judgment (20)
         Asbestos Property Damage                        Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
         Asbestos Personal Injury/                       Other Promissory Note/Collections                       County)
               Wrongful Death                                 Case                                           Confession of Judgment (non-
      Product Liability (not asbestos or             Insurance Coverage (not provisionally                        domestic re lations)
          toxic/environmental) (24)                      complex) (18)                                        Sister State Judgment
      Medical Malpractice (45)                           Auto Subrogation                                     Administrative Agency Award
         Medical Malpractice-                            Other Coverage                                           (not unpaid taxes)
               Physicians & Surgeons                 Other Contract (37)                                      Petition/Certification of Entry of
         Other Professional Hea lth Care                 Contractual Fraud                                        Judgment on Unpaid Taxes
               Malpractice                               Other Contract Dispute                               Other Enforcement of Judg ment
      Other PI/PD/WD (23)                        Real Property                                                    Case
         Premises Liability (e.g., slip              Eminent Domain/Inverse                           Miscellaneous Civil Complaint
         and fall)                                      Condemnation (14)                                 RICO (27)
         Intentional Bodily Injury/PD/WO             Wrongful Eviction (33)                               Other Complaint (not specified
               (e .g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)            above) (42)
         Intentional Infliction of                      Writ of Possession of Real Property                  Declaratory Relief Only
               Emotional Distress                       Mortgage Foreclosure                                 Injunctive Relief Only (non -
         Negligent Infliction of                        Quiet Title                                               harassment)
               Emotional Distress                       Other Real Property (not eminent                      Mechanics Lien
         Other Pl/PD/WO                                 domain, landlord/tenant, or                           Other Commercial Complaint
 Non-Pl/PD/WO (Other) Tort                              foreclosure)                                             Case (non-tort/non-complex)
      Business Tort/Unfair Business              Unlawful Detainer                                            Other Civil Complaint
          Practice (07)                              Commercial (31)                                             (non-tort/non-complex)
      Civil Rights (e.g., discrimination,            Residential (32)                                 Miscellaneous Civil Petition
         false arrest) (not civil                    Drugs (38) (if the case involves illegal             Partnership and Corporate
         harassment) (08)                                drugs, check this item; otherwise,                   Governance (21)
      Defamation (e.g., slander, libel)                  report as Commercial or Residential)             Other Petition (not specified
         (13)                                    Judicial Review                                              above) (43)
      Fraud (16)                                     Asset Forfeiture (05)                                    Civil Harassment
      Intellectual Property (19)                     Petition Re: Arbitration Award (11)                      Workplace Violence
      Professional Negligence (25)                   Writ of Mandate (02)                                     Elder/Dependent Adult
         Legal Malpractice                               Writ-Administrative Mandamus                             Abuse
         Other Professional Malpractice                  Writ- Mandamus on Limited Court                      Election Contest
              (not medical or legal)                          Case Matter                                     Petition for Name Change
      Other Non-Pl/PD/WO Tort (35)                       Writ-Other Limited Court Case                        Petition for Relief From Late
Employment                                                    Review                                               Claim
      Wrongful Termination (36) Other                Other Judicial Review (39)                               Other Civil Petition
        Emp loyment (15)                                 Review of Health Officer Order
                                                         Notice of Appeal-Labor
                                                              Commissioner Appeals

CM-010 (Rev. July 1, 2007]                         CIVIL CASE COVER SHEET                                                                    Page 2 of 2

                                                                                                                               American LegalNet, Inc.
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            Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 54 of 181 Page ID #:63
SHORT TITLE:                                                                                              CASE NUMBER
Gonzalez, et al. v. City of Los Angeles, et al.


                                  CIVIL CASE COVER SHEET ADDENDUM AND
                                          STATEMENT OF LOCATION
                   (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                  This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




         Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-O10), find the exact case type in
                     Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


         Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

         Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                     chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.         7. Location where petitioner resides.
2. Permissive filing in central district.                                                8. Location wherein defendant/respondent functions w holly.
3. Location where cause of action arose.                                                 9. Location where one or more of the parties reside.

4. Mandatory personal injury filing in North District.                                  10. Location of Labor Commissioner Office.
                                                                                        11. Mandatory filing location (Hub Cases - unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                        non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                 A                                                             B                                                        C
                      Civil Case Cover Sheet                                            Type of Action                                          Applicable Reasons -
                            Category No.                                               (Check only one)                                          See Step 3 Above

                              Auto (22)             0    A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death               1, 4, 11
  .8      t::
   ::::J · O
  <(       I-         Uninsured Motorist (46)       0    A7 110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist         1, 4, 11



                           Asbestos (04)
                                                    0    A6070 Asbestos Property Damage
                                                                                                                                            1, 11
   >,      t::                                      0    A7221 Asbestos - Personal Injury/Wrongful Death
                                                                                                                                            1, 11
   t::      0
   ~l-
   o ..c:
   ...
   a.
   -
           -113
            <I>
                        Product Liability (24)      0    A7260 Product Liability (not asbestos or toxic/environmental)                      1, 4 , 11

   c.'.'                                            0
   :::,
   -~:::,
           -Cl        Medical Malpractice (45)
                                                         A7210 Medical Malpractice - Physicians & Surgeons                                  1, 4, 11
   .E C)
   ca c:                                            0    A7240 Other Professional Health Care Malpractice                                   1, 4, 11

   g~
   ~ci,
                                                    0    A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                            1, 4, 11
                          Other Personal
  ': g,
   <I>      E             Injury Property           0    A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                            1, 4, 11
  ..c:      113          Damage Wrongful                       assau lt, vandalism, etc.)
  0        Cl                                                                                                                               1, 4 , 11
                            Death (23)              0 A7270      Intentional Infliction of Emotional Distress
                                                    D A7220      Other Personal Injury/Property Damage/Wrongful Death
                                                                                                                                            1, 4, 11




  LACIV 109 (Rev 2/16)                            CIVIL CASE COVER SHEET ADDENDUM                                                        Local Rule 2.3
  LASC Approved 03-04                                AND STATEMENT OF LOCATION                                                             Page 1 of 4
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                                                                                                                                         www.Fonm:\VorkFlow.com ~
               Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 55 of 181 Page ID #:64
SHORT TITLE:                                                                                            CASE NUMBER
Gonzalez, et al. v. City of Los Angeles, et al.

                                    A                                                            B                                             C Applicable
                         Civil Case Cover Sheet                                           Type of Action                                   Reasons - See Step 3
                              Category No.                                               (Check only one)                                             Above

                            Business Tort (07)         0   A6029 Other Commercial/Business Tort (not fraud/breach of contract)             1, 2, 3
        t::
       >,
   t:: 0
    Cl) I-                   Civil Rights (08)         [gj A6005   Civil Rights/Discrimination                                             1, 2,Q}
       §-.s
       ,._ <O
   c..          Cl>
                             Defamation (13)           0   A6010 Defamation (slander/libel)
   -c                                                                                                                                      1, 2, 3
       c:- -
   ·--
   -
       :::, :::,
       C        C>
                C               Fraud (16)             0   A6013 Fraud (no contract)                                                       1, 2, 3
   'cij         e
    .,,g 3:
    ,._
         _      Cl>                                    0   A6017 Legal Malpractice                                                         1, 2, 3
       Cl)     C>      Professional Negligence (25)
   c..
    c0
               <O
               E
                                                       D A6050 Other Professional Malpractice (not medical or legal)                       1, 2, 3
               <O
   zc
                                Other (35)             0   A6025 Other Non-Personal Injury/Property Damage tort                            1, 2, 3


         cCl>           Wrongful Termination (36)      0   A6037 Wrongful Termination                                                      1, 2, 3
           E
           >,
           0                                           0   A6024 Other Employment Complaint Case                                           1, 2, 3
        c..              Other Employment (15)
        E
        w                                              □   A6109 Labor Commissioner Appeals                                                10


                                                       0   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                           2, 5
                                                                 eviction)
                       Breach of Contract/ Warranty                                                                                        2, 5
                                                       0   A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                   (06)
                             (not insurance)           0   A6019 Negligent Breach of Contract/Warranty (no fraud)                          1, 2, 5

                                                       0   A6028 Other Breach of Contract/Warranty (not fraud or negligence)               1, 2, 5

        ....
         0                                                                                                                                 5, 6, 11
         ,._
         <O                                            0   A6002 Collections Case-Seller Plaintiff
                             Collections (09)
        'E
         0                                             0   A6012 Other Prom issory Note/Collections Case                                   5, 11
        (.)
                                                       0   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                5, 6, 11
                                                                 Purchased on or after January 1, 2014)

                        Insurance Coverage (18)        0   A6015 Insurance Coverage (not complex)                                          1, 2, 5, 8

                                                       0   A6009 Contractual Fraud                                                         1, 2, 3, 5
                           Other Contract (37)         0   A6031 Tortious Interference                                                     1, 2, 3, 5
                                                       0   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)             1, 2, 3, 8, 9

                        Eminent Domain/Inverse
                          Condemnation (14)            0A7300 Eminent Domain/Condemnation                   Number of parcels _ __        2,6
         >,
        t::
         Cl)              Wrongful Eviction (33)       0   A6023 Wrongful Eviction Case                                                   2, 6
         a.
         ,._
         0
       c..
       iij                                             0   A6018 Mortgage Foreclosure                                                     2, 6
        Cl>
       0:::             Other Real Property (26)       0   A6032 Quiet Title                                                              2, 6
                                                       0   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)   2, 6

                      Unlawful Detainer-Commercial
        cii
        C                         (31)                 0   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)            6, 11
       sCl)           Unlawful Detainer-Residential
                                                       0   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)           6, 11
       0                          (32)

       -"'
       :i
        ==
       C:
       ::,
                           Unlawful Detainer-
                          Post-Foreclosure (34)
                                                       D A6020F Unlawful Detainer-Post-Foreclosure                                        2, 6, 11

                      Unlawful Detainer-Drugs (38)     0 A6022 Unlawful Detainer-Drugs                                                    2, 6, 11

 LACIV 109 (Rev 2/16)                                 CIVIL CASE COVER SHEET ADDENDUM                                                 Local Rule 2.3
 LASC Approved 03-04                                     AND STATEMENT OF LOCATION                                                        Page 2 of 4
                                                                                                                                      American 1..cgal1"ct~ Inc.   ~
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             Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 56 of 181 Page ID #:65
SHORT TITLE:                                                                                            CASE NUMBER
Gonzalez, et al. v. City of Los Angeles, et al.

                                     A                                                          B                                   C Applicable
                         Civil Case Cover Sheet                                            Type of Action                         Reasons - See Step 3
                               Category No.                                              (Check only one)                               Above

                          Asset Forfeiture (05)         □   A6108 Asset Forfeiture Case                                          2, 3,6

                        Petition re Arbitration (11)    0   A6115 Petition to Compel/ConfirmNacate Arbitration                   2, 5

                                                        0   A6151 Writ - Administrative Mandamus                                 2, 8
                           Writ of Mandate (02)         0   A6152 Writ - Mandamus on Limited Court Case Matter                   2

                                                        □   A6153 Writ - Other Limited Court Case Review                         2

                        Other Judicial Review (39)      0   A6150 Other Writ /Judicial Review                                    2, 8


            C         Antitrust/Trade Regulation (03)   0   A6003 Antitrust/Trade Regulation                                     1, 2, 8
            0
          ~
          ~
                         Construction Defect (10)       0   A6007 Construction Defect                                            1, 2, 3
          :.:::i
            ><
          C.
            Cl)        Claims Involving Mass Tort
                                  (40)
                                                        0   A6006 Claims Involving Mass Tort                                     1, 2, 8
            E
            0
          (.)            Securities Litigation (28)     □   A6035 Securities Litigation Case                                     1, 2, 8
          ~
          iv
            C
            0
                               Toxic Tort
                           Environmental (30)
                                                        0   A6036 Toxic Tort/Environmental                                       1, 2, 3, 8
          'iii
          ·;;:
            e
          a..
                       Insurance Coverage Claims
                                                        0   A6014 Insurance Coverage/Subrogation (complex case only)             1, 2, 5, 8
                         from Complex Case (41)

                                                        0   A6141 Sister State Judgment                                          2, 5, 11

      cc                                                0   A6160 Abstract of Judgment                                           2, 6
      Cl)       Cl)
      EE
      Cl) O'l
                               Enforcement              0   A6107 Confession of Judgment (non-domestic relations)                2, 9
    ...
      (,) 'O
   .E -,
                ~           of Judgment (20)            0   A6140 Administrative Agency Award (not unpaid taxes)                 2,8
      c_
   W            0                                       0   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax       2, 8
                                                        0   A6112 Other Enforcement of Judgment Case                             2, 8, 9

                                RICO (27)               0   A6033 Racketeering (RICO) Case                                       1, 2, 8
      tJ>.l!?
      ~         C
    0 ·-
    Q) ~
    C C..
                                                        0   A6030 Declaratory Relief Only                                        1, 2, 8
   ~ E
   -   0                   Other Complaints             0   A6040 Injunctive Relief Only (not domestic/harassment)               2, 8
      ~ (.)
      tJl-
                       (Not Specified Above) (42)       0   A601 1 Other Commercial Complaint Case (non-tort/non-complex)        1, 2, 8
   ::§ :~
             (.)                                        □   A6000 Other Civil Complaint (non-tort/non-complex)                   1, 2, 8

                         Partnership Corporation
                            Governance (21)
                                                        0   A6113 Partnership and Corporate Governance Case                      2,8

                                                        0   A612 1 Civil Harassment                                              2, 3, 9
      tJl       tJl
      ~
      0
                C
                O                                       0   A6123 Workplace Harassment                                           2,3, 9

  -
      .,,~~.....Cl)        Other Petitions (Not
                                                        0   A6124 Elder/Dependent Adult Abuse Case                              2, 3, 9
  Qi        a..
      t.>=
      tJl       >
                          Specified Above) (43)         0   A6190 Election Contest
                                                                                                                                2
  ::lEu                                                 0   A6110 Petition for Change of Name/Change of Gender
                                                                                                                                2,7
                                                        0   A6170 Petition for Relief from Late Claim Law
                                                                                                                                2, 3, 8
                                                        0   A6100 Other Civil Petition
                                                                                                                                2, 9


 LACIV 109 (Rev 2/16)                                  CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2 .3
 LASC Approved 03-04                                      AND STATEMENT OF LOCATION                                             Page 3 of 4
                                                                                                                             American LcgalNc1, Inc.   ~
                                                                                                                             www.Fonm:\Vo rkFlow.com   ~
      Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 57 of 181 Page ID #:66
SHORT TITLE:                                                                                                            CASE NUMBER
Gonzalez, et al. v. City of Los Angeles, et al.



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
                type of action that you have selected. Enter the address which is the basis for the fil ing location, including zip code.
                (No address required for class action cases).

                                                                                                          ADDRESS:
   REASON:                                                                                                600 West 9th Street

  0   1.    0    2.   IS] 3.   0   4.   0   5.   0   6.   0   7.   0   8.   0   9.   0   10.   0   11 .




   CITY:                                                      STATE:            ZIP CODE:
  Los Angeles                                                 CA                90015


Step 5: Certification of Assignment: I certify that this case is properly filed in theCentral                           District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc. , §392 et seq ., and Local Rule 2.3(a)(1 )(E)].




  Dated: 05/04/2021
                                                                                                                             I' I
                                                                                                                     (SIGNATURE OF ATTORNEY/FILING PARTY)
                                                                                                                     Kristen J. Mason, Esq.


  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1.       Original Complaint or Petition.

       2.       If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3.       Civil Case Cover Sheet, Judicial Council form CM-010.

      4.        Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
                02/16).
      5.        Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

      6.        A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
                minor under 18 years of age will be required by Court in order to issue a summons.

      7.        Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
                must be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109 (Rev 2/16)                                        CIVIL CASE COVER SHEET ADDENDUM                                                          Local Rule 2.3
  LASC Approved 03-04                                            AND STATEMENT OF LOCATION                                                                  Page 4 of 4
                                                                                                                                                       .\.meric~m LegalXN, In c.   ~
                                                                                                                                                       \vww.Fonns\Vorkflow.com     VJ/
    Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 58 of 181 Page ID #:67
                                                                                                  Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                            FILED           1




 Stanley Mosk Courthouse                                                                         S per · Court of Califor ia
                                                                                                   Co nty o1 Ui:s Alngale:s
 111 North Hill Street, Los Angeles, CA 90012
                                                                                                       05/04120211
                   NOTICE OF CASE ASSIGNMENT                                                            , E:ro:iui~-i•.d)       C(l,j   I C'e al Co
                                                                                          By: _ _ _  Perez
                                                                                                  R. _   __                                      ly
                          UNLIMITED CIVIL CASE

                                                                                  CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 21STCV16790

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                   ASSIGNED JUDGE                         DEPT                  ROOM
   ✔     Holly J. Fujie                     56
                                                                  11




    Given to the Plaintiff/Cross-Complainant/Attorney of Record    Sherri R. Carter, Executive Officer / Clerk of Court
       05/05/2021
    on _____________________________                                         R. Perez
                                                                          By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
    Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 59 of 181 Page ID #:68
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
    Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 60 of 181 Page ID #:69
                                                                                                             Reserved for Clerk’s File Stamp
              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES                                                                             FILED
 COURTHOUSE ADDRESS:
                                                                                                         S    penm Court of Califot            ia
                                                                                                             Co nty of Uis Aliigelas
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012                                                                      05/06/20:211
 PLAINTIFF:
 William Gonzalez et al                                                                        ...,________
                                                                                               f.L,. " B. Dh<:I\IElz _
 DEFENDANT:
 City of Los Angeles et al
                                                                                               CASE NUMBER:
              NOTICE OF CASE MANAGEMENT CONFERENCE                                             21STCV16790
TO THE PLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all
parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                     Date:                     Time:                  Dept.:
                                             09/03/2021                8:30 AM                  56

NOTICE TO DEFENDANT:            THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                  DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code, § 68600 et seq.)

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may impose sanctions, pursuant to LASC Local Rule 3.37, Code of Civil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Code section 68608, subdivision (b), and California Rules of
Court, rule 2.2 et seq.                                                                     HoJ ly ~ .. Fuji•


        05/06/2021
Dated: ________________________                                                  ________________________________
                                                                                          H ol]y J. Fujie / Judge
                                                                                           Judicial Officer

                                                    CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

✔                                                                 Los Angeles
    by depositing in the United States mail at the courthouse in _______________________,   California, one copy of the original
□   filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

    by personally giving the party notice upon filing of the complaint.
□
     Kristen J. Mason
     206 w 4th Street
     Suite 330
     Santa Ana, CA 92701                                                   Sherri R. Carter, Executive Officer / Clerk of Court

        05/06/2021
Dated: __________________                                                                                    B. Chavez
                                                                                                         By ________________________
                                                                                                                     Deputy Clerk
LACIV 132 (Rev. 07/13)                                                                                              Cal. Rules of Court, rules 3.720-3.730
LASC Approved 10-03
                                          NOTICE OF                                                                 LASC Local Rules, Chapter 7KUHH
For Optional Use                CASE MANAGEMENT CONFERENCE
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 61 of 181 Page ID #:70
                                                                                       Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                             FILED
                                                                                      S"-l!letiOt Court af California
Stanley Mosk Courthouse                                                                 Co nty of ll os Angeles
111 North Hill Street, Los Angeles, CA 90012
                                                                                            05/0r6J20211
PLAINTIFF/PETITIONER:                                                       ~   -   . R Ca1e!r. E~~ 0 'o o./    ae    olCa
William Gonzalez et al                                                          By:            IB. OJiavez           Depll1y
DEFENDANT/RESPONDENT:
City of Los Angeles et al
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              21STCV16790

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Case Management Conference upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Los Angeles, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




    Darren M. Richie                                           Kristen J. Mason
    DRE, A.P.C.                                                DRE, A.P.C.
    206 W. 4th Street                                          206 w 4th Street
    Suite 330                                                  Suite 330
    Santa Ana, CA 92701                                        Santa Ana, CA 92701




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 05/6/2021                                     By:   B. Chavez
                                                           Deputy Clerk




                                      CERTIFICATE OF MAILING
                 Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 62 of 181 Page ID #:71
Electronically FILED by Superior Court of California, County of Los Angeles on 05/18/2021 07:54 AM Sherri R. Carter, Executive Officer/Clerk of Court, by W. Moore,Deputy Clerk
                                                                                                                                                                              POS-010
    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                                      FOR COURT USE ONLY
  I-    Kristen Mason | SBN: 320378
        DRE, A.P.C.
        206 W. 4th Street - Ste 330 Santa Ana, CA 92701
       TELEPHONE NO.: (213) 265-7888 | FAX NO. (844) 314-1380
        ATTORNEY FOR (Name): Plaintiff: WILLIAM GONZALEZ



       LOS ANGELES COUNTY SUPERIOR COURT
              STREET ADDRESS: 111    NORTH HILL STREET
             MAILING ADDRESS:

             CITY AND ZIP CODE: LOS   ANGELES, CA 90012
                    BRANCH NAME: CENTRAL    DISTRICT
          PLAINTIFF: WILLIAM GONZALEZ                                                                                         CASE NUMBER:


       DEFENDANT: COUNTY OF LOS ANGELES                                                                                       21STCV16790

                                                                                                                              Ref. No. or File No.:
                                           PROOF OF SERVICE OF SUMMONS                                                                                Gonzalez, W (civil)

                                                  (Separate proof of service is required for each party served.)

   1. At the time of service I was at least 18 years of age and not a party to this action.
   2. I served copies of:

        a. [i'.f'   Summons on 1st amended Complaint
        b. [i'.f'   1st amended Complaint
        c. [i'.f'   Alternative Dispute Resolution (ADR) package
        d. [i'.f'   Civil Case Cover Sheet (served in complex cases only)
        e.   □      Cross-complaint
        f. [i'.f'   other (specify documents): First amended general order,NOTICE OF CASE MANAGEMENT CONFERENCE; Notice of Case
                    Assignment; Civil Case Cover Sheet Addendum and Statement of Location, CERTIFICATE OF MAILING, ORDER TO SHOW
                    CAUSE HEARING, VOLUNTARY EFFICIENT LITGATION STIPULATIONS
   3. a. Party served (specify name of party as shown on documents served):
        Los Angeles County Sheriff's Office

        b.          Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                    item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
             Perez Argueta - Deputy Sheriff - Authorized to accept service of process
                      Age: 46 - 50            Weight: 161-180 Lbs Hair: Gray/White                Sex: Male
                      Height: 5'7 - 6'0       Eyes: Brown              Race: Latino

   4. Address where the party was served: 4900 S Eastern Ave Ste 102
                                                          Commerce, CA 90040-2959
   5. I served the party (check proper box)
      a. [i'.f' by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                receive service of process for the party (1) on (date): 5/17/2021 (2) at (time): 3:30 PM

        b.   □      by substituted service. On (date): at (time): I left the documents listed in item 2 with or
                    in the presence of (name and title or relationship to person indicated in item 3b):

                    (1)   □   (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                              person to be served. I informed him of her of the general nature of the papers.

                    (2)   □   (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                              abode of the party. I informed him or her of the general nature of the papers.

                    (3)   □   (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                              address of the person to be served, other than a United States Postal Service post office box. I informed him of
                              her of the general nature of the papers.

                    (4)   □   I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                              place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                              (date): from (city):                                                 or
                                                                                                                  □
                                                                                                        a declaration of mailing is attached.

                    (5)   □   I attach a declaration of diligence stating actions taken first to attempt personal service.
   Form Approved for Mandatory Use
                                                                                                                                                                                Page 1 of 2
                                                                                                                                                           Code of Civil Procedure, § 417.10
   Judicial Council of California                               PROOF OF SERVICE OF SUMMONS
   POS-010 [Rev. January 1, 2007]                                                                                                                              POS010-1/PLA28607
            Case 2:22-cv-04749-CAS-MRW
          PETITIONER: WILLIAM GONZALEZ                            Document 1-2 Filed 07/12/22 Page 63NUMBER:
                                                                                                CASE   of 181 Page ID #:72
                                                                                                                           21STCV16790
      RESPONDENT: COUNTY OF LOS ANGELES


     c.   □     by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)   □ with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)   □to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.   □     by other means (specify means of service and authorizing code section):



          □Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.   □     as an individual defendant.
     b.   □     as the person sued under the fictitious name of (specify):
     c.   □     as occupant.
     d. ~       On behalf of (specify): Los Angeles County Sheriff's Office
                under the following Code of Civil Procedure section:

                             □     416.10 (corporation)                       □   415.95 (business organization, form unknown)

                             □     416.20 (defunct corporation)               □   416.60 (minor)

                             □     416.30 (joint stock company/association)   □   416.70 (ward or conservatee)
                                                                              □   416.90 (authorized person)
                             ~
                                   416.40 (association or partnership)
                                   416.50 (public entity)                     □   415.46 (occupant)

                                                                              □   other:

7. Person who served papers
   a. Name: EDUARDO BARRIENTOS - PacTrack, Inc.
   b. Address: 4373 Santa Anita Avenue El Monte, CA 91731
   c. Telephone number: (213) 201-5856
   d. The fee for service was: $ 290.00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 2014053143
                  (iii) County: LOS ANGELES

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.   □     I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 5/17/2021
                PacTrack, Inc.
                4373 Santa Anita Avenue
                El Monte, CA 91731
                (213) 201-5856
                www.pactrack.com



                            EDUARDO BARRIENTOS
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)       ►                          (SIGNATURE)




POS-010 [Rev January 1, 2007]                                                                                                              Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/PLA28607
                  Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 64 of 181 Page ID #:73
Electronically FILED by Superior Court of California, County of Los Angeles on 05/14/2021 03:02 PM Sherri R. Carter, Executive Officer/Clerk of Court, by W. Moore,Deputy Clerk

                                                                                                                                                                               POS-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                                      FOR COURT USE ONLY
   I-    Kristen Mason | SBN: 320378
         DRE, A.P.C.
         206 W. 4th Street - Ste 330 Santa Ana, CA 92701
        TELEPHONE NO.: (213) 265-7888 | FAX NO. (844) 314-1380 | E-MAIL ADDRESS (Optional): christina@dre.law
         ATTORNEY FOR (Name): Plaintiff: WILLIAM GONZALEZ,



        LOS ANGELES COUNTY SUPERIOR COURT
               STREET ADDRESS: 111    NORTH HILL STREET
              MAILING ADDRESS:

              CITY AND ZIP CODE: LOS   ANGELES, CA 90012
                     BRANCH NAME: CENTRAL     DISTRICT
           PLAINTIFF: WILLIAM GONZALEZ,                                                                                        CASE NUMBER:


        DEFENDANT: COUNTY OF LOS ANGELES;                                                                                      21STCV16790

                                                                                                                               Ref. No. or File No.:
                                             PROOF OF SERVICE OF SUMMONS                                                                               Gonzalez, W (civil)

                                                     (Separate proof of service is required for each party served.)

    1. At the time of service I was at least 18 years of age and not a party to this action.
    2. I served copies of:

         a. [i'.f'   Summons on 1st Amended Complaint
         b. [i'.f'   1st Amended Complaint
         c. [i'.f'   Alternative Dispute Resolution (ADR) package
         d. [i'.f'   Civil Case Cover Sheet (served in complex cases only)
         e.   □      Cross-complaint
         f. [i'.f'   other (specify documents): First amended general order,NOTICE OF CASE MANAGEMENT CONFERENCE; Notice of Case
                     Assignment; Civil Case Cover Sheet Addendum and Statement of Location, CERTIFICATE OF MAILING, ORDER TO SHOW
                     CAUSE HEARING, VOLUNTARY EFFICIENT LITGATION STIPULATIONS
    3. a. Party served (specify name of party as shown on documents served):
         MICHEL MOORE, individually and in His Official Capacity as Chief of Police of the City of Los Angeles

         b.          Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                     item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
              Brian Hun - Police Detective 30322 - Authorized to accept service of process
                       Age: 41 - 45              Weight: 161-180 Lbs Hair: Brown                         Sex: Male
                       Height: 5'7 - 6'0         Eyes: Brown                 Race: Asian

    4. Address where the party was served: 200 N Main St Ste 1900
                                                            Los Angeles, CA 90012-4110
    5. I served the party (check proper box)
       a. [i'.f' by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                 receive service of process for the party (1) on (date): 5/14/2021 (2) at (time): 2:11 PM

         b.   □      by substituted service. On (date): at (time): I left the documents listed in item 2 with or
                     in the presence of (name and title or relationship to person indicated in item 3b):

                     (1)   □   (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                               person to be served. I informed him of her of the general nature of the papers.

                     (2)   □   (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                               abode of the party. I informed him or her of the general nature of the papers.

                     (3)   □   (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                               address of the person to be served, other than a United States Postal Service post office box. I informed him of
                               her of the general nature of the papers.

                     (4)   □   I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                               place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                               (date): from (city):                                                 or
                                                                                                                     □
                                                                                                         a declaration of mailing is attached.

                     (5)   □   I attach a declaration of diligence stating actions taken first to attempt personal service.
    Form Approved for Mandatory Use
                                                                                                                                                                                 Page 1 of 2
                                                                                                                                                            Code of Civil Procedure, § 417.10
    Judicial Council of California                                  PROOF OF SERVICE OF SUMMONS
    POS-010 [Rev. January 1, 2007]                                                                                                                              POS010-1/PLA28611
            Case 2:22-cv-04749-CAS-MRW
          PETITIONER: WILLIAM GONZALEZ,                           Document 1-2 Filed 07/12/22 Page 65NUMBER:
                                                                                                CASE   of 181 Page ID #:74
                                                                                                                           21STCV16790
      RESPONDENT: COUNTY OF LOS ANGELES;


     c.   □     by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)   □ with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)   □to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.   □     by other means (specify means of service and authorizing code section):



          □Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.   □     as an individual defendant.
     b.   □     as the person sued under the fictitious name of (specify):
     c.   □     as occupant.
     d. ~       On behalf of (specify): MICHEL MOORE, individually and in His Official Capacity as Chief of Police of
                the City of Los Angeles
                under the following Code of Civil Procedure section:

                             □     416.10 (corporation)                       □   415.95 (business organization, form unknown)

                             □     416.20 (defunct corporation)               □   416.60 (minor)

                             □     416.30 (joint stock company/association)   □   416.70 (ward or conservatee)
                                                                              □   416.90 (authorized person)
                             ~
                                   416.40 (association or partnership)
                                   416.50 (public entity)                     □   415.46 (occupant)

                                                                              □   other:

7. Person who served papers
   a. Name: EDUARDO BARRIENTOS - PacTrack, Inc.
   b. Address: 4373 Santa Anita Avenue El Monte, CA 91731
   c. Telephone number: (213) 201-5856
   d. The fee for service was: $ 195.00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                                                                      independent contractor.
                  (i)      owner               □  employee
                  (ii) Registration No.: 2014053143
                  (iii) County: LOS ANGELES

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.   □     I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 5/14/2021
                PacTrack, Inc.
                4373 Santa Anita Avenue
                El Monte, CA 91731
                (213) 201-5856
                www.pactrack.com


                            EDUARDO BARRIENTOS
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)       ►                          (SIGNATURE)




POS-010 [Rev January 1, 2007]                                                                                                              Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/PLA28611
                 Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 66 of 181 Page ID #:75
Electronically FILED by Superior Court of California, County of Los Angeles on 05/14/2021 03:02 PM Sherri R. Carter, Executive Officer/Clerk of Court, by W. Moore,Deputy Clerk

                                                                                                                                                                             POS-010
    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                                     FOR COURT USE ONLY
  I-    Kristen Mason | SBN: 320378
        DRE, A.P.C.
        206 W. 4th Street - Ste 330 Santa Ana, CA 92701
       TELEPHONE NO.: (213) 265-7888 | FAX NO. (844) 314-1380
        ATTORNEY FOR (Name): Plaintiff: Plaintiffs



       LOS ANGELES COUNTY SUPERIOR COURT
              STREET ADDRESS: 111     NORTH HILL STREET
             MAILING ADDRESS:

             CITY AND ZIP CODE: LOS    ANGELES, CA 90012
                    BRANCH NAME: CENTRAL       DISTRICT
          PLAINTIFF: WILLIAM GONZALEZ,                                                                                       CASE NUMBER:


       DEFENDANT: COUNTY OF LOS ANGELES;                                                                                      21STCV16790

                                                                                                                             Ref. No. or File No.:
                                              PROOF OF SERVICE OF SUMMONS                                                                            Gonzalez, W (civil)

                                                     (Separate proof of service is required for each party served.)

   1. At the time of service I was at least 18 years of age and not a party to this action.
   2. I served copies of:

        a. [i'.f'   Summons on 1st amended Complaint
        b. [i'.f'   1st amended Complaint
        c. [i'.f'   Alternative Dispute Resolution (ADR) package
        d. [i'.f'   Civil Case Cover Sheet (served in complex cases only)
        e.   □      Cross-complaint
        f. [i'.f'   other (specify documents): First amended general order,NOTICE OF CASE MANAGEMENT CONFERENCE; Notice of Case
                    Assignment; Civil Case Cover Sheet Addendum and Statement of Location, CERTIFICATE OF MAILING, ORDER TO SHOW
                    CAUSE HEARING, VOLUNTARY EFFICIENT LITGATION STIPULATIONS
   3. a. Party served (specify name of party as shown on documents served):
        Los Angeles Police Department

        b.          Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                    item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
             Michael Valdivia - Deputy Clerk - Authorized to accept service of process
   4. Address where the party was served: 200 N Main St 3rd floor
                                                          Los Angeles, CA 90012-4110
   5. I served the party (check proper box)
      a. [i'.f' by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                receive service of process for the party (1) on (date): 5/14/2021 (2) at (time): 2:14 PM

        b.   □      by substituted service. On (date): at (time): I left the documents listed in item 2 with or
                    in the presence of (name and title or relationship to person indicated in item 3b):

                    (1)   □   (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                              person to be served. I informed him of her of the general nature of the papers.

                    (2)   □   (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                              abode of the party. I informed him or her of the general nature of the papers.

                    (3)   □   (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                              address of the person to be served, other than a United States Postal Service post office box. I informed him of
                              her of the general nature of the papers.

                    (4)   □   I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                              place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                              (date): from (city):                                                 or
                                                                                                                 □
                                                                                                        a declaration of mailing is attached.

                    (5)   □   I attach a declaration of diligence stating actions taken first to attempt personal service.

                                                                                                                                                                               Page 1 of 2
  Form Approved for Mandatory Use                                                                                                                         Code of Civil Procedure, § 417.10
  Judicial Council of California                                PROOF OF SERVICE OF SUMMONS
  POS-010 [Rev. January 1, 2007]                                                                                                                              POS010-1/PLA28608
            Case 2:22-cv-04749-CAS-MRW
          PETITIONER: WILLIAM GONZALEZ,                           Document 1-2 Filed 07/12/22 Page 67NUMBER:
                                                                                                CASE   of 181 Page ID #:76
                                                                                                                           21STCV16790
      RESPONDENT: COUNTY OF LOS ANGELES;


     c.   □     by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)   □ with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)   □to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.   □     by other means (specify means of service and authorizing code section):



          □Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.   □     as an individual defendant.
     b.   □     as the person sued under the fictitious name of (specify):
     c.   □     as occupant.
     d. ~       On behalf of (specify): Los Angeles Police Department
                under the following Code of Civil Procedure section:

                             □     416.10 (corporation)                       □   415.95 (business organization, form unknown)

                             □     416.20 (defunct corporation)               □   416.60 (minor)

                             □     416.30 (joint stock company/association)   □   416.70 (ward or conservatee)
                                                                              □   416.90 (authorized person)
                             ~
                                   416.40 (association or partnership)
                                   416.50 (public entity)                     □   415.46 (occupant)

                                                                              □   other:

7. Person who served papers
   a. Name: EDUARDO BARRIENTOS - PacTrack, Inc.
   b. Address: 4373 Santa Anita Avenue El Monte, CA 91731
   c. Telephone number: (213) 201-5856
   d. The fee for service was: $ 195.00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 2014053143
                  (iii) County: LOS ANGELES

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.   □     I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 5/14/2021
                PacTrack, Inc.
                4373 Santa Anita Avenue
                El Monte, CA 91731
                (213) 201-5856
                www.pactrack.com



                            EDUARDO BARRIENTOS
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)       ►                          (SIGNATURE)




POS-010 [Rev January 1, 2007]                                                                                                              Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/PLA28608
                Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 68 of 181 Page ID #:77
Electronically FILED by Superior Court of California, County of Los Angeles on 05/14/2021 03:02 PM Sherri R. Carter, Executive Officer/Clerk of Court, by W. Moore,Deputy Clerk
                                                                                                                                                                              POS-010
    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                                      FOR COURT USE ONLY
       Kristen Mason | SBN: 320378
       DRE, A.P.C.
       206 W. 4th Street - Ste 330 Santa Ana, CA 92701
      TELEPHONE NO.: (213) 265-7888 | FAX NO. (844) 314-1380 | E-MAIL ADDRESS (Optional): christina@dre.law
       ATTORNEY FOR (Name): Plaintiff: WILLIAM GONZALEZ,



    LOS ANGELES COUNTY SUPERIOR COURT
             STREET ADDRESS: 111     NORTH HILL STREET
            MAILING ADDRESS:

            CITY AND ZIP CODE: LOS    ANGELES, CA 90012
                   BRANCH NAME: CENTRAL     DISTRICT
         PLAINTIFF: WILLIAM GONZALEZ,                                                                                         CASE NUMBER:


      DEFENDANT: COUNTY OF LOS ANGELES;                                                                                       21STCV16790

                                                                                                                              Ref. No. or File No.:
                                           PROOF OF SERVICE OF SUMMONS                                                                                Gonzalez, W (civil)

                                                   (Separate proof of service is required for each party served.)

   1. At the time of service I was at least 18 years of age and not a party to this action.
   2. I served copies of:

       a. [i'.f'   Summons on 1st Amended Complaint
       b. [i'.f'   1st Amended Complaint
       c. [i'.f'   Alternative Dispute Resolution (ADR) package
       d. [i'.f'   Civil Case Cover Sheet (served in complex cases only)
       e.   □      Cross-complaint
       f. [i'.f'   other (specify documents): first amended general order,NOTICE OF CASE MANAGEMENT CONFERENCE; Notice of Case
                   Assignment; Civil Case Cover Sheet Addendum and Statement of Location, CERTIFICATE OF MAILING, ORDER TO SHOW
                   CAUSE HEARING, VOLUNTARY EFFICIENT LITGATION STIPULATIONS
   3. a. Party served (specify name of party as shown on documents served):
       County of Los Angeles

       b.          Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                   item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
            Ruben Khosdikian - Deputy clerk - Authorized to accept service of process
                      Age: 36 - 40             Weight: 161-180 Lbs Hair: Brown                         Sex: Male
                      Height: 5'1 - 5'6        Eyes: Brown                 Race: Caucasian

   4. Address where the party was served: County of Los Angeles
                                                          500 W Temple St 3rd Floor
                                                          Los Angeles, CA 90012-2713
   5. I served the party (check proper box)
      a. [i'.f' by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                receive service of process for the party (1) on (date): 5/14/2021 (2) at (time): 11:36 AM

       b.   □       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
                    in the presence of (name and title or relationship to person indicated in item 3b):
                             (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                             person to be served. I informed him of her of the general nature of the papers.
                   (1)   □
                             (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                             abode of the party. I informed him or her of the general nature of the papers.
                   (2)   □
                             (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                             address of the person to be served, other than a United States Postal Service post office box. I informed him of
                   (3)   □   her of the general nature of the papers.
                             I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                             place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                   (4)   □   (date): from (city):                                                 or   a declaration of mailing is attached.

                (5)                                                                                                □
                             I attach a declaration of diligence stating actions taken first to attempt personal service.                                                       Page 1 of 2
   Form Approved for Mandatory Use                                                                                                                         Code of Civil Procedure, § 417.10
   Judicial Council of California                                 PROOF OF SERVICE OF SUMMONS
   POS-010 [Rev. January 1, 2007]                                                                                                                              POS010-1/PLA28604
            Case 2:22-cv-04749-CAS-MRW
          PETITIONER: WILLIAM GONZALEZ,                           Document 1-2 Filed 07/12/22 Page 69NUMBER:
                                                                                                CASE   of 181 Page ID #:78
                                                                                                                           21STCV16790
      RESPONDENT: COUNTY OF LOS ANGELES;


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of (specify): County of Los Angeles
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                         415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                 416.60 (minor)
                                   416.30 (joint stock company/association)     416.70 (ward or conservatee)
                                   416.40 (association or partnership)          416.90 (authorized person)
                                   416.50 (public entity)                       415.46 (occupant)
                                                                                other:

7. Person who served papers
   a. Name: EDUARDO BARRIENTOS - PacTrack, Inc.
   b. Address: 4373 Santa Anita Avenue El Monte, CA 91731
   c. Telephone number: (213) 201-5856
   d. The fee for service was: $ 130.00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 2014053143
                  (iii) County: LOS ANGELES

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 5/14/2021
                PacTrack, Inc.
                4373 Santa Anita Avenue
                El Monte, CA 91731
                (213) 201-5856
                www.pactrack.com



                            EDUARDO BARRIENTOS
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                  (SIGNATURE)




POS-010 [Rev January 1, 2007]                                                                                                              Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/PLA28604
         Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 70 of 181 Page ID #:79



              Darren M. Richie, Esq. [SBN 316116]                                        FILED
              darrena, dre.law                                                 Super ior Co urt {If Ca1ifmni.a
          2   Kristen J. Mason, Esq. [SBN 320378]                                Coun!yo f LOs A n~}i:)!..--Js
              kriste11ar dre.lcrn   1                                                05/ 11/2021
          3   Ethan Brown, Esq. [SBN 218184]
              etha11(m b11sklm1·.c<Jlll
          4   OfCounscl
              DRE, A.P.C.
          5
              206 W. 4 th Street, Suite 330
          6   Santa Ana, CA 9270 l
              T: 213.265.7888 IF: 844.314.1380
          7
              Attorneys for Plaintiff'>, WILLIAM GONZALEZ and MICHAEL GONZALEZ
          8

          9                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

         10                COUNTY OF LOS ANGELES - CENTRAL JUDICIAL DISTRICT

         11

         12   WILLIAM GONZALEZ, an individual,                   Case No.: 21 STCV 16790
              MICHEAL GONZALEZ, an individual,
         13
                                                                 FIRST AMENDED COMPLAINT
                           Plaintiffs,
         14
                                                                 1. VIOLATION OF CAL. CIV. CODE
~        15                V.                                    § 52.1 (TOM BANE CIVIL RIGHTS ACTI
a..
C"')          COUNTY OF LOS ANGELES; LOS
LO       16
~
              ANGELES COUNTY SHERIFF'S OFFICE;                   2. VIOLATIONS OF 42 USC§ 1983
0             CITY OF LOS ANGELES: LOS ANGELES
......                                                           [MONELL LIABILITY]
N
         17   POLICE DEPARTMENT; MICHEL
0

--
N
......
......
         18
              MOORE, individually and in His Official            3. MUNICIPAL LIABILITY- FAILURE

--
LO
0        19
              Capacity as Chief of Police of the City of Los
              Angeles; CALIFORNIA HIGHWAY
                                                                 TO TRAIN (42 USC§ 1983)

-0
 Cl)          PATROL; and DOES l to 100 inclusive,               4. FOURTH Al\lENDMENT-
 >       20
·a,                                                              EXCESSIVE FORCE (42 use§ 1983)
 (J
 Cl)                       Defendants.
c:::     21
 >,                                                              5. SUBSTANTIVE DUE PROCESS 942
 ro                                                              USC§ 1983)
 (J      22
 C

.....e
 (J      23                                                      6. FOURTH A!\IENDMENT - DENIAL
 Cl)
w                                                                OF MEDICAL CARE (42 USC§ 1983)
         24
                                                                 7. MUNICIPAL LIABILITY FOR
         25
                                                                 UNCONSTITUTIONAL CUSTOl\-1,
         26                                                      PRACTICE, OR POLICY (42 USC§ 1983)

         27

         28
                                                               - 1-

                                              FIRST AMENDED COl\lPLAl:"IIT
 Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 71 of 181 Page ID #:80




                                                        8. VIOLATIONS OF EIGHTH
                                                        AMENDMENT
 2
                                                        9. VIOLATIONS OF FOURTEENTH
 3                                                      AMENDMENT

 4                                                      10. INTENTIONAL INFLICTION OF
                                                        EMOTIONAL DISTRESS
 5

 6                                                      11. NEGLIGENT INFLICTION OF
                                                        EMOTIONAL DISTRESS
 7
                                                        12. NEGLIGENCE
 8
                                                        13. ASSAULT
 9

10                                                      14. BATTERY

11                                                      15. VIOLATIONS OF 42 USC§ 1998
12                                                      JURY TRIAL DEMANDED
13

14           COMES NOW Plaintiffs, WILLIAM GONZALEZ, ("Plaintiff' and "Mr. Gonzalez"),

15    and MICHAEL GONZALEZ, ("Michael" and "Brother"), and alleges as to himself/themselves,

16    based upon his/their personal knowledge, whereas, all other allegations are based upon

17    information and belief, pursuant to the investigation of counsel or other evidence in filings,

18    documents, or otherwise, as follows: •

19                                           INTRODUCTION
20            I.     Mr. Gonzalez brings this civil rights action seeking compensatory and punitive

21    damages against Defendants for deprivation of Mr. Gonzalez's constitutional rights, under the

22    United States Constitution and state law in connection with the police shooting on October 11,

23    2020, causing in-eparable and permanent injuries to his body, and the severe emotional and

24    psychological injuries, all of which affect him for the remainder of his life.

25           2.      On the evening of October 11, 2020 Mr. Gonzalez, along with thousands of

-)6   others, were celebrating the Lakers' championship win for the 2020 season. This gathering of

27

28
                                                      - 2-

                                        FIRST AME~DED COMPLAINT
 Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 72 of 181 Page ID #:81




     Los Angelenos near the Lakcrs' home stadium, the Staples Center, was to show support for the

 2   city's team and celebrate the end of a successful championship season. While the celebration

 3   continued, a large group of people were gathered at an intersection near the stadium. Without

 4   warning Mr. Gonzalez saw uniformed officers surround his area, point their weapons, and open

 5   fire . Mr. Gonzalez heard the officers discharge their weapons. He felt a round whiz by his head .

 6   Then, Mr. Gonzalez felt the searing pain of another round bury into his eye socket.

 7           3.       In shock and in agonizing pain, Mr. Gonzalez tried to escape; however, he was

 8   stopped by uniformed California Highway Patrol and Sheriff Deputies. Mr. Gonzalez waited for

 9   the officers to radio for medical assistance. After a prolonged delay while Mr. Gonzalez was

10   bleeding from the eye socket and in intense pain and suffering from severe emotional trauma,

11   Mr. Gonzalez was finally brought to the hospital where he learned he had lost his eye.

12           4.       The Defendants, the agent, employee, servant, employer, master, principal,

13   respondent superior, and/or associate, and each of them, violated police department policies and

14   procedures in their use of less-than-lethal force which resulted in Mr. Gonzalez being maimed

15   for the rest of his life.

16                                    JURISDICTION AND VENUE
17           5.       Jurisdiction is proper in the Superior Court for the County of Los Angeles

18   pursuant to Section 410.10 of the California Code of Civil Procedure because it has general

19   subject matter jurisdiction and no statutory exceptions to jurisdiction exist. The amount in

20 controversy exceeds the jurisdictional minimum of this Court.
21           6.       Venue is proper in the County of Los Angeles pursuant to Section 395 of the

22   California Code of Civil Procedure because Defendant LAPD lives or does business in Los

23   Angeles County.

24           7.       Venue is proper in the County of Los Angeles pursuant to Section 395 of the

25   California Code of Civil Procedure because Defendants reside in, and all incidents, events, and

26   occmTences giving rise to this action occurred in the County of Los Angeles, California.

27

28
                                                     -3 -

                                       FIRST AMl(NDED COMPLAINT
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 73 of 181 Page ID #:82




                                              THE PARTIES

 2           8.     Mr. Gonzalez is, and was at all relevant times described herein, a resident of Los

 3   Angeles, California.

 4          9.      Defendant COUNTY OF LOS ANGELES is, and at all times herein mentioned

 5   was, a government entity organized and existing under the laws of the State of California, and

 6   duly licensed and authorized to do business in the State of California.

 7           10.    On December 22, 2020, Plaintiff timely served on Defendant COUNTY OF LOS

 8   ANGELES and LOS ANGELES COUNTY SHERIFF's DEPARTMENT, a tort claim in

 9   accordance with Government Code §§ 910 and 911.2, a true and correct copy of which is

10   attached hereto as Exhibit "1" and incorporated herein by reference. That on or about February

11   9, 2021, Plaintiffs tort claim was deemed rejected by operation of law pursuant to Government

12   Code§ 912.4. On February 9, 2021, Plaintiffs tort claim was in fact rejected by the County of

13   Los Angeles and the Los Angeles County Sheriff's Department. A true and correct copy of the

14   rejection letter is attached hereto as Exhibit '"2" and incorporated herein by reference.

15           11.    Defendant CITY OF LOS ANGELES is, and at all times herein mentioned was,

16   a municipal corporation duly organized and existing under the laws of the State of California

17   and situated in the County of Los Angeles .

18           12.    Defendant LOS ANGELES POLICE DEPARTMENT is, and at all times herein

19   mentioned was, an agency and department of the Defendant CITY OF LOS ANGELES.

20           13.    Michel Moore, i.e., The Chief of Police ("COP"), is the highest-ranking officer

21   in the Los Angeles Police Department. "As a general manager of the Police Department, the

22   COP is responsible for the planning, efficient administration and operation for the Police

23   Department under the authority of the Board of Police Commissioners ... the COP directs, plans,

24   and coordinates the enforcement of the penal divisions of the City Charter, the ordinances of the

25   City, and the laws of the state and nation for the purpose of protecting persons and property and

26   for the preservation of the peace of the community ... the COP assumes a leadership role in

27   planning. coordinating and directing all activities aimed at restoring peace in the City or

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     otherwise returning conditions to normal." 6

 2           14.    On December 22, 2020, Plaintiff timely served on Defendant CITY OF LOS

 3   ANGELES and LOS ANGELES POLICE DEPARTMENT, a tort claim in accordance with

 4   Government Code §§ 910 and 911.2, a true and correct copy of which is attached hereto as

 5   Exhibit "3" and incorporated herein by reference. That on or about February 3, 2021,

 6   Plaintiffs tort claim was deemed rejected by operation of law pursuant to Government Code §

 7   912.4. On February 3, 2021 Plaintiffs tort claim was in fact rejected by the City of Los Angeles

 8   and the Los Angeles Police Department. A true and correct copy of the rejection letter is

 9   attached hereto as Exhibit "4" and incorporated herein by reference.

IO           15.    Defendant CALIFORNIA HIGHWAY PATROL is, and at all times herein

11   mentioned was, a government entity organized and existing under the laws of the State of

12   California, and duly licensed and authorized to do business in the State of California.

13          16.     Plaintiff is ignorant of the true names and capacities, whether individual,

14   corporate, associate or otherwise of defendants, sued herein as DOES 1 to 100, inclusive, and

15   each DOE in between, and therefore sues these defendants by such fictitious names. Plaintiff

I6   wi II seek leave to amend this complaint to show the true names and capacities of these

17   defendants when they have been ascertained.

18          17.     Plaintiff is informed and believes and thereon alleges that, at all times herein

19   mentioned, each of the Defendants, including each of the DOE Defendants, is responsible in

20   some manner for one or more of the events and happenings, and proximately caused the injuries

21   and damages, hereinafter alleged.

22          18.     Plaintiff is informed and believes and thereon alleges that, at all times herein

23   mentioned, each of the defendants sued herein was the agent, alter ego, employee, servant,

24   employer, master, principal, and/or associate of each of the remaining defendants and was at all

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     times acting within the purpose and scope of such agency and employment. Consequently, each

 2   Defendant is jointly and severally liable to Mr. Gonzalez for the damages sustained as a

 3   proximate result of their conduct.

 4                                 FACTUAL ALLEGATIONS
             19.    On Sunday evening, October 11, 2020, Mr. Gonzalez was with his brother
 5
 6   Michael Gonzalez and Michael's girlfriend, April Bran ("April" and collectively, "the Gonzalez

 7   Family"), in or around the area of Staples Center, a multi-purpose event arena in Downtown

 8   Los Angeles. Jt is located along Figueroa Street at Chick Heam Ct., west of Flower St. and
 9
     south of 9 th Street. The three were celebrating the 2020 National Basketball Association
10
     ("NBA") Finals championship game between the victorious Los Angeles Lakers and Miami
11
     Heat.
12

13           20.    That night, since the Los Angeles Lake had won the NBA championship title, a

14   jubilant crowd of people participated in a celebratory parade throughout the area surrounding

15   the Staples Center.
16           21.    From the Staples Center, the Gonzalez family walked to a taco truck vendor

17   which was parked near the intersection of West 9th St. ("9 th ") and South Hope Street ("Hope").

18   The three made purchases at the food truck vendor and then made their way to the southeast

19   comer of 9 th and South Flower St. ("Flower") where they sat down to eat.
20           22.    Plaintiff waited for his Michael and April to finish eating when he walked into

21   the street near the curb of 9th and Flower. Meanwhile, LAPD deployed their "Mobile Field

22   Forces".

23           23.    Plaintiff saw the people who had been standing near him begin to run. Plaintiff

24   turned and looked in the direction of the northeast comer of 9 th and Flower. Plaintiff saw

25   unifom1ed LAPD officers coming toward his direction with weapons held high.

26           24.    Mr. Gonzalez heard no audible warning to leave the premises. Mr. Gonzalez

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     heard no shouting, "40mm Ready!" or "40mm Standby!" Instead, he suddenly heard loud,

 2   explosive shots and cracks and saw, from the area of the police officers, emissions of powder

 3   smoke and sparks. Every round of noise brought hard objects flying near 9 th and Flower, where

 4   the Gonzalez Family was standing. Mr. Gonzalez saw several projectiles shoot to the ground,

 5   but he felt one whiz right over his head.

 6            25.    Mr. Gonzalez turned just over to the direction of the uniformed officers when

 7   one hard-foam projectile struck him in the right eye, cutting through his cheek skin and eyelid,

 8   shattering his eye socket, ripping apart his tear duct and blowing out the eyeball itself. The

 9   tissue on the inside of the eye was extruded out, and blood came spurting out from the socket as

10   Plaintiff fell to the ground. Mr. Gonzalez screamed in agony and cried for his brother. Michael

11   rushed over to Plaintiff, took off his Kobe Bryant jersey and placed it over Plaintiffs injured

12   eye to try to stop the bleeding. The jersey soaked fully with Plaintiff's blood.

13           26.     Michael picked up the projectile from the ground by Plaintiff. Subsequent

14   investigation revealed it was an exact impact 40MM range sponge round.

15           27.     People were screaming and running. The police officers were still shooting.

16   Michael grabbed Plaintiff and shouted, "Run!"

17           28.     Michael and April held Plaintiff with the jersey over his right bleeding eye, and

18   managed to lead Plaintiff over to the next street intersection where California Highway Patrol

19   officers, CHP patch number 16193, and Los Angeles County Sheriff's Deputies were directing

20   foot traffic.

21           29.     Michael and April pleaded for their help, or to allow them to walk in the

22   direction of their home, but the officers told them to sit in the adjacent parking lot as one deputy

23   indicated that he had called an ambulance. The Gonzalez family waited for about thirty (30)

24   minutes as the officers forbade them from walking further toward Plaintiff's home. After about

25   thirty minutes from the time they were required to wait, and at Michael's insistent request the

26   deputy then called for the ambulance.

27           30.     Mr. Gonzalez was eventually taken to California Hospital Medical Center past

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     midnight.

 2           31.     Days into his hospital stay, Mr. Gonzalez continued to suffer persistent, severe

 3   throbbing pin, severe nausea, and drainage from his right eye.

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14           32.     Mr. Gonzalez's hospital assessment included blow-out fracture, blunt eye trauma,

15   eyelid laceration, ruptured globe, and complaint of major trauma. His eye surgeon said the

16   damage was extensive, as if he had been struck by a bat and bitten by a dog all at once.

17           33.     He lost his right eye to the police projectile. He was required to have it removed

18   to avoid the risk of losing vision in his left eye.

19           34.     Plaintiff still suffers from nerve damage and is undergoing constant medical

20   treatments, which will likely include therapy, multiple surgeries in ultimately placing a prosthetic

21   eye, and cosmetic surgery to fix his now-drooping skin on the right side of his face due to the lack

22   of a right eye to help structure the skin around it.

23                                DEFENDANT'S POLICE PROTOCOL
24           35.     LAPD Public Information Director Josh Rubenstein has indicated that any

25   officer's tactics and use of force in an incident must meet the high standards expected of all

26   LAPD officers.

27           36.     On October 11, 2020, LAPD officers neither met these high standards nor

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     followed their protocols. While Mr. Gonzalez was waiting for Michael and April in or around

 2   the area of Staples Center, Plaintiff turned to see a crowd of people nm by him followed by

 3   uniformed LAPD officers coming towards his direction with their weapons held high. Further,

 4   Plaintiff felt one projectile from a 40mm whoosh right over his head. The next 40mm projectile

 5   struck Plaintiff in the eye .

 6             37.   The use of force by law enforcement is a of critical concern to the public. In

 7   recognition that law enforcement derives their authority from the public, the guiding principle

 8   when using force is supposed to be the reverence for human life. The Los Angeles Police

 9   Department's Preamble to the Use of Force states, " Officers shall attempt to control an incident

10   by using time, distance, communications, and available resources in an effort to de-escalate the
                                                                                                   8
11   situation, whenever it is safe, feasible, and reasonable to do so."

12             38.   "Less-lethal force generally is used when there is no imminent threat of death or

13   serious bodily harm to the officers or other individuals and the officers are able to deploy the

14   less-lethal weapon safety." (Overview of Less-Lethal Force Tools and Deployment, February 22,

15   2017).9

16             39.   Less-Lethal force options are only permissible when: "An officer reasonably

17   believes that a suspect or subject is violently resisting arrest or poses an immediate threat of
                                        10
18   violence or physical harm.

19             40.   Less-Lethal force options should not be used for a suspect or subject who 1s



21   mere non-com liance do not alone "t1stif the use of Less-Lethal force. Moreover, the 40mm

22   LLL must not be shot into crowds 1 at fleeing people or at those who do not represent a threat.

23             41.   The Department has policies and guidelines regarding Crowd Management,

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                        http://lapd-asscts.lapdonlinc.org/assets/pd f!tac-dir-17-40mm-lmmchcr.pdf

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     Intervention, and Control.

 2          42.     The Department's Crowd Intervention Primary Objectives are to:

 3                         •   isolate unlawful behavior

 4                         •   arrest law violators
 5                         •   protect First-Amendment activity
 6                         •   facilitate lawful protests
 7                         (Use of Force-Tactics Directive, June 2011)   11
                                                                              •

 8          43.     The Department's Crowd Control Primary Objectives are to:
 9                         •   protect life
10                         •   restore and maintain order
11                         •   arrest violators
12                         •   protect vital facilities
13                         •   protect property. Id.
14          44.     The Department's Methods to Deliver and Document Dispersal Orders include:
15                     •       amplified sound
16                     •       multiple languages when appropriate
17                     •       confirm audibility from various locations
18                     •       display signage indicating unlawful assembly and dispersal when possible
19                     •       document with video/audio recording
20          45.     "When the use of force is appropriate in a crowd control situation, only that force
21   reasonable to make an arrest or disperse a crowd should be used. There are no exceptions to the
22   Department's Use of Force Policy for crowd control situations. Officers may use only that force
23   which is objectively reasonable." Id.
24          46.     The City of Los Angeles and LAPD have strict protocols for how and when
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     projectiles are used. Under current policy, the foam rounds must only be aimed at the belt line of
 2   a targeted individual who represents a threat to officers. The primary target area is the navel area
 3   or belt line, but officers may target the suspects arms, hands or legs when practicable. If the hand
 4   is selected, consider its location and what its holding. Officers shall not target the head, neck,
 5   spine, chest, groin, or kidneys.
                            40MM LESS lETHAL LAUNCHER GUIDELINES

 6                          ~     -9   TARGET AREA DIAGRAM




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14          47.     LAPD officers failed to meet these standards when they fired their 40mm Less-

15   Lethal Launcher's ("LLL") in the Plaintiffs direction and at Plaintiffs head-level. Plaintiff was

16   neither violently resisting arrest nor posing an immediate threat of violence or physical harm. As

17   stated above, Officers must attempt to control an incident by using time, distance,

18   communications, and resources in an effort to de-escalate the situation, whenever it is safe,

19   feasible, and reasonable to do so.

20          48.     Plaintiff was not posing any sort of threat of violence or physical harm that

21   would warrant any use of force. It was safe, feasible, and reasonable for LAPD officers to

22   utilize other non-life-threatening measures in an effort to de-escalate the situation and yet, the

23   LAPD officers failed to do so and otherwise broke protocol.

24          49.     LAPD officers further failed to meet these standards and follow their protocols

25   when Officers held their 40mm LLL high and began to shoot in the direction of the crowd and

26   at head level. This is no better exemplified than in Plaintiffs eye socket, which no longer

27   contained an eye and rather the 40mm LLL round and a pool of debris and blood where said eye

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     used to be. Such use of force is not only a clear violation of police protocol as laid out above,

 2   but it is a sheer disregard for human life, which is a top priority and policy to protect and

 3   uphold, especially for those in law enforcement.

 4          50.     Pursuant to the Use of Force - Tactics Directive Number 17 -- Procedures -- If

 5   tactically and environmentally feasible, the 40mm LLL officer alerts other officers when he/she

 6   is ready to fire by shouting or broadcasting, "40mm Ready!" The primary officer gives the clear

 7   to fire signal by shouting or broadcasting, "40mm Standby!" This alerts the officers at the scene

 8   that the firing of the 40mm LLL is about to occur.

 9          51.     LAPD officers failed to meet these standards and follow their protocol's when

IO   the 40mm LLL officer failed to alert other officers they were ready to fire by shouting or

11   broadcasting, "40mm Ready!"

12          52.     LAPD officers failed to meet these standards and follow their protocol's when

13   the primary officer failed to give the clear to fire signal by shouting or broadcasting, "40mm

14   Standby!"

15          53.     LAPD officers failed to meet these standards and follow their protocol's when

16   they deployed the 40mm LLL at a fleeing subject

17          54.     Pursuant to the Use of Force - Tactics Directive Number 17 - Use of Force

18   Warning~ An officer shall, when feasible, give a warning prior to using the 40mm LLL to

I9   control an individual. The verbal warning should include a command and a warning of potential

20   consequences of the use of force . The command should be similar to "Drop the weapon" or "stop

21   what you are doing" followed by a warning similar to "or we may use the 40mm, and that may

22   cause you injury."

23          55.     Additionally, the use or non-use of the warning shall be documented. The Non-

24   Categorical Use of Force Report, Fom1 1.67.05, Use of Force Summary heading shall include:

25   I) the name of the officer giving the warning~ and 2) an explanation and appropriate justification

26   for not using warning.

27          56.     The LAPD failed to follow the Use of Force \Vaming protocol when they failed

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     to give verbal warning prior to using the 40mm LLL. In addition, Plaintiff is not aware of any
 2   Use of Force Report, via Form 1.67.05, stating the name of the officer giving the warning; and
 3   an explanation and appropriate justification for not using the warning. Moreover, there is no
 4   feasible explanation why a warning was not given, as there was no tactical decisions to be made
 5   and the element of surprise was not applicable.
 6           57.    Pursuant to the Use of Force - Tactics Directive Number 17 -- Medical Treatment
 7 -- Any person struck with a 40mm exact impact round shall be transported to a Department-

 8   approved facility for medical treatment prior to booking. The person should be carefully
 9 monitored for signs of distress. If a medical emergency exists, officers shall request a rescue
IO   ambulance to respond to their location.
11           58.    Following "any use of force," there must be prompt "basic and emergency

12   medical assistance to all members of the community, including victims, witnesses, subjects,

13   suspects, persons in custody, subjects of a use of force and fellow officers 12 ."

14           59.    The subsequent failure to provide medical treatment to Plaintiff was yet another

15   blatant disregard to officer protocol. Clearly a medical emergency existed after Plaintiff's right

16   eye was essentially replaced with a 40mm LLL round and was forced to walk across the police-

17   designated path while holding a shirt around his now gaping eye socket that was quickly

18   pooling and pouring with blood. Instead of rendering the medical aid, as required by LAPD

19   protocol, Michael and his girlfriend pleaded for their help.

20          60.     LAPD and the CHP both failed to render aid as would be not only reasonable to

21   provide to Plaintiff at that moment, but necessary. Plaintiff spent a substantial amount of time

22 · having to deal with the wound as best as possible given the inexcusable circumstances, which

23   likely only further exasperated Plaintiff ultimately having no right eye left to save when he

24   finally was given aid at a hospital.
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             6 I.      Pursuant to the Use of Force - Tactics Directive Number 17 - The use of a

 2   40mm LLL, for any reason other than an approved training exercise, shall be documented

 3   according to established Department procedures on the Non-Categorical Use of Force Report.

 4   However, when a 40mm LLL is fired and the round does not strike a person, a use of force

 5   report is not necessary and an Employee's Report, Form 15.07.00, should be completed to

 6   document the incident. Supervisors shall obtain photographs of all visible and complained

 7   injuries, even when evidence of injury is not present.

 8           62.       The LAPD failed to follow the reporting protocol in Tactics Directive Number

 9   17, when the use of the 40mm LLL was utilized for purposes other than training. Moreover, the

IO   exception that does not require a use of force report and an Employee's Report, is not applicable

11   as the round stmck an individual. To date, Plaintiff is neither aware nor seen a Use of Force

12   Report nor an Employee's Report.

13           63.       Furthermore, the Supervisors did not obtain photographs of all visible and

14   complained injuries, even when the evidence of injury is not present. It was evidence that there

15   were complained injuries because Michael and April pleaded for Officers help, or to allow them

16   to walk in the direction of their home, but the officers told them to sit in the adjacent parking lot

17   as one deputy indicated that he had called an ambulance.

18           64.       The misuse and disregard of protocol as well as the otherwise abhorrent conduct

19   exhibited by the LAPD and CHP in the directly resulted in the substantial and permanently life-

20   altering harm that was suffered by Plaintiff.

21                                      FIRST CAUSE OF ACTION

22                              Violation of Bane Act (Cal. Civ. Code § 52.1)

23                  (Against City of Los Angeles, Michel Moore, LAPD and Does 1-100)

24           65.       Plaintiff reallcges and incorporates by reference all paragraphs previously alleged

25   as though they are set forth in full herein.

26           66.      California Civil Code, Section 52.1 (the Banc Act), prohibits any person from

27   interfering with another person's exercise or enjoyment of his Constitutional Rights by threats,

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     intimidation, or coercion (or by the use of unconstitutionally excessive force).

 2           67.     Conduct that violates the First Amendment violates the California Bane Act.

 3           68.     On or about the night of Sunday, October 11, 2020, Defendants attempted to

 4   interfere, and did interfere, with the exercise and enjoyment of Plaintiffs civil rights as

 5   guaranteed by the First and Fourteenth Amendments to the U.S. Constitution.

 6           69.     The First Amendment to the U.S. Constitution guarantees freedoms concerning

 7   religion, expression, assembly, and the right to petition. The First Amendment to the U.S.

 8   Constitution protects the right to peacefully assemble, a protected activity.

 9           70.     Defendants County of Los Angeles, City of Los Angeles, and Los Angeles Police

10   Department's use of force was excessive and unreasonable under the circumstances, especially

11   since Plaintiff was unarmed, had nothing in his hands, and was observing the parade with his

12   family peacefully when Plaintiff was near-fatally shot. Further, on information and belief,

13   officers did not give a verbal warning or any commands prior to firing their 40mm LLL, despite

14   it being feasible to do so. Even if warnings were given, said warnings were inadequate,

15   insufficiently audible, and not heard by the Gonzalez Family.

16           71.     As a direct and proximate result of the conduct of defendants, and each of them,

17   Plaintiff was caused to suffer extreme mental and physical pain. Plaintiff has suffered and will

18   continue to suffer the effects of losing an eye. Those effects include: dizziness, loss of balance,

19   loss of depth perception, and mobility issues. Plaintiff has suffered and will continue to the suffer

20   the effects of the blunt force trauma from the direct shot he sustained to his face and/or head.

21   Those blunt force trauma injuries include: continuing dizziness, headaches and sleep issues.

22   Plaintiff has suffered and will continue to suffer other physical injuries, loss of earnings, loss of

23   earnings capacity, humiliation, and mental anguish.

24           72.    The conduct of the Defendants was a substantial factor in causing the harms,

25   losses, injuries, and damages to the Plaintiff.

26           73.    Defendants' violation of Plaintiffs right as guaranteed by Civil Code § 52.1

27   entitles Plaintiff to compensatory and punitive damages, attorney's fees, and injunctive relief, all

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     of which are provided for in Civ. Code§§ 52.l, subd. (b) and 52 and are requested below.

 2           74.    As alleged in this complaint, Defendants knew or should have known that their

 3   actions were likely to injure Plaintiff. Plaintiff is informed and believes, and therefore alleges,

 4   that Defendants intended to cause injury to Plaintiff and acted with a willful and conscious

 5   disregard of Plaintiffs rights as secured by Civ. Code § 52. l , thus entitling Plaintiff to recover

 6   punitive damages pursuant to Civ. Code § 52, subd. (b )( l ).

 7           75.    Pursuant to Civ. Code § 52.1, Plaintiff is entitled to bring an action for damages

 8   and injunctive relief, as set forth in Civ. Code§ 52.

 9           76.    Unless Defendants are restrained by a preliminary and permanent injunction,

l O members of the public similarly situated to Plaintiff will continue to suffer severe, irreparable

11   harm in that Defendants' indiscriminate firing of LLL munitions into crowds will substantially

12   put the same members of the public at risk of severe and debilitating injury. Plaintiff has no
13   adequate remedy at law because monetary damages, which may compensate for past interference
14   with Plaintiffs civil rights, will not afford adequate relief for the fear, humiliation, and risk of
15   injury that a continuation of Defendants' conduct in denial of Plaintiff's rights will cause.
16                                   SECOND CAUSE OF ACTION

17                       Violation of 42 USC § 1983 [MONELL LIABILITY]

18           77.    Plaintiffs realleges and incorporates by reference all paragraphs previous

19   alleged as though they are set forth in full herein.

20           78.    The United States Supreme Court held in Monell v. Department of Social

21   Se11 ices that a § 1983 claim against a municipal entity be based on the implementation or
         1




22   execution of a "a policy statement, ordinance, regulation, or decision officially adopted and

23   promulgated by that party's officers". Additionally, the Court held that municipal entities "may

24   be sued for constitutional deprivations visited pursuant to governmental 'custom' even though

25   such a custom has not received formal approval through the body's official decision-making

26   channels". These policies or customs may be an affirmative policy or custom or a policy by

27   om1ss1on.
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             79.     Regarding policies of omission, the United States Supreme Court held in City of

 2   Canton v. Harris that a municipality can be liable for a failure to train its employees when this

 3   failure constitutes a deliberate indifference to the person whose rights were violated. The same

 4   standard of deliberate indifference applies to failure to screen employees.

 5           80.     In regard to this matter, Plaintiff's constitutional rights were clearly and

 6   permanently violated by both LAPD and CHP.

 7           81.     LAPD in that, as described above, acted with blatant failure to follow protocol

 8   on many grounds, which lead to the constitutional deprivation of Plaintiff. This deprivation

 9   came in many forms including the deprivation of his First Amendment right to assemble,

10   especially as he had done so peacefully and the deprivation of his constitutional right to Ii fe,

11   which was permanently altered due to the loss of his right eye, among others.
12           82.     The CH P's involvement here was just as much of a blatant failure in that the

13   above-mentioned police policies were absolutely disregarded. More specifically, the

14   requirement for officers to provide aid following an event such as that which shredded and

15   destroyed Plaintiff's right eye.

16           83.     The absolute disregard on all accounts were in breach of the above-mentioned

17   policies and clear customs of protecting human lives, avoiding Less-Lethal force, attempting to

18   de-escalate a situation where feasible such as in this situation and the firing of said 40mm LLL

19   rounds at a height where it can have direct-impact with an adult's eye.

20                                      THIRD CAUSE OF ACTION

21                     Municipal Liability - Failure to Train (42 U.S.C. § 1983)

22           84.     Plaintiffs realleges and incorporates by reference all paragraphs previous

23   alleged as though they are set fotih in full herein.

24           85.     Defendant DOE Officers acted under color of law and within the course and

25   scope of their employment as police officers for the City Police Department, Police Officer's

26   40mm LLL shooting of Plaintiff, who had nothing in his hands and was standing near a food

27   truck, deprived the Plaintiff of his rights ai1d liberties secured to him by the United States

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     Constitution and State Constitution.
 2           86.     The training policies of Defendant City were not adequate to train its officers to

 3   handle the usual and recurring situations with which they must deal, including making contact

 4   with peaceful members of society, who assemble to celebrate their local sports team National

 5   Basketball Championship, a common and reoccurring celebration throughout sports history.

 6           87.     Defendant City was deliberately indifferent to the obvious consequences of its

 7   failure to train its officers adequately, with regard to using Less-Lethal force.

 8           88.     The inadequate training includes the failure to teach officers that the primary

 9   target area is the navel area or belt line. Additionally, the inadequate training includes the

IO   failure to teach officers not to target the head, neck, spine, chest, groin, and/or kidneys .
11           89.    The inadequate training includes the failure to teach officers to give an audible

12   warning to leave the premises.

13           90.    The inadequate training includes the failure to teach officers to give a verbal

14   warning prior to using a 40mm LLL to control an individual.

15          9 I.    The inadequate training includes the failure to teach officers, that the 40mm

16   LLL officer should alert other officers when they are ready to fire by shouting or broadcasting,

17   ''40mm Ready!"

18          92.     The inadequate training includes the failure to teach officers, that the primary

19   officer gives the clear to fire signal, to the 40mm LLL officer, by shouting or broadcasting,

20   "40mm Standby!"

21          93.     The inadequate training includes the failure to teach officers not to deploy a

22   40mm LLL at a fleeing subject.

23          94.     The inadequate training incudes the failure to teach officers to document the use

24   of a 40mm LLL, when a round strikes a person, according to established Department

25   procedures on the Non-Categorical Use of Force Report.

26          95.     The inadequate training includes the failure to teach officers how to recognize

27   when a suspect or subject is violently resisting arrest or possesses an immediate threat of
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     violence or physical harm.

 2           96.       The inadequate training includes the failure to teach officers that LLL options

 3   shall not be used for a suspect who is passively resisting or merely failing to comply with

 4   commands.

 5           97.       The failure of Defendant City to provide adequate training caused the

 6   deprivation of Plaintiffs rights by Defendants DOE Officers; that is Defendants' failure to

 7   train is so closely related to the deprivation of the Plaintiffs rights as to be the moving force

 8   that caused the ultimate injury.

 9           98.       By failing to provide adequate training to the City's police officers, including

10   DOE police officers who failed to report the incident, Defendant's acted with an intentional,

11   reckless, and callous disregard for the life of the Plaintiff and the Plaintiffs constitutional

12   rights. Each of the Defendant and DOE officers' actions were willful, wanton, oppressive,

13   malicious, fraudulent, and extremely offensive and unconscionable to any person of normal

14   sensibilities.

15           99.       On information and belief, City failed to train DOE Officers properly and

16   adequately.

17            100.     By reason of the aforementioned acts and omissions, Plaintiff has suffered the

18   loss of his right eye, a blow-out fracture, blunt eye trauma, an eyelid laceration, a ruptured

19   globe, and significant trauma. Additionally, Plaintiff incurred medical expenses.

20            l OI.    Accordingly, Defendants City and DOE Officers each are liable to Plaintiff for

21   compensatory damages under 42 U.S.C. § 1983.

22           102.      Plaintiff also seeks statutory attorney fees under this claim.

23                                     FOURTH CAUSE OF ACTION

24                     FOURTH AMENDMENT- EXCESSIVE FORCE (42 USC§ 1983)

25            I 03 .   Plaintiff realleges and incorporates by reference all paragraphs previously

26   alleged as though they are set forth in full herein .

27           104.      Defendant, City and DOE Police Officer's unjustified shooting deprived

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     Plaintiff of his right to be secure in his person against unreasonable searches and seizures as

 2   guaranteed to Plaintiff under the Fourth Amendment to the United States Constitution and

 3   applied to state actors by the Fourteenth Amendment.

 4           I 05.   The unreasonable use of force by Defendant DOE Officers deprived the

 5   Plaintiff of his right to be secure in his person against unreasonable searches and seizures as

 6   guaranteed to Plaintiff under the Fourth Amendment to the United States Constitution and

 7 applied to state actors by the Fourteenth Amendment.

 8           106.    As a result, Plaintiff suffered extreme mental and physical pain and suffering,

 9   loss of enjoyment of life, the loss of his right eye, a blow-out fracture, blunt eye trauma, an

10   eyelid laceration, a ruptured globe, and significant trauma. Additionally, Plaintiff was caused to

1I   incur medical expenses.

12           107.    As a result of the conduct of Defendant DOE Police Officers, they are liable for

13   the Plaintiff's injuries because they were integral participants in the excessive force.

14           108.    The use of Less-Lethal force was excessive because this was not a situation

15   where an officer reasonably believes that a suspect or subject is violently resisting arrest or

16   possess an immediate threat of violence or physical harm. Additionally, the use of Less-Lethal

17   force options, specifically 40mm LLL, shall not be used for a suspect who is passively resisting

18   or merely failing to comply with commands.

19           109.    The use of Less-Lethal force was excessive and unreasonable under the

20   circumstances, especially since Plaintiff was not violently resisting arrest nor did Plaintiff

21   possess an immediate threat of violence or physical harm. Moreover, Plaintiff was not trying to

22   flee from the scene; as Plaintiff was standing near a food vendors truck, when Plaintiff saw a

23   crowd run past him from the officers holding the 40mm LLL. The involved officers fired

24   approximately three (3) times, the first projectile \vhizzing over the Plaintiffs head; the second

25   projectile slicing another bystanders' lip; and the third projectile bursting the eye of Plaintiff.

26   Defendants' actions thus deprived Plaintiff of his right to be free from unreasonable searches

27   and seizures under the Fourth Amendment and applied to state actors by the Fourteenth

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     Amendment.

 2              110.   The conduct of Defendant DOE Police Officers was willful, wanton, malicious,

 3   and done with reckless disregard for the rights and safety of Plaintiff and therefore warrants the

 4   imposition of exemplary and punitive damages as to Defendant DOE Police Officers who were

 5   employed by Defendant City.

 6              111.   Plaintiff also seeks attorney fees under this claim.

 7                                       FIFTH CAUSE OF ACTION

 8                           SUBSTANTIVE DUE PROCESS (42 USC§ 1983)

 9              112.   Plaintiff realleges and incorporates by reference all paragraphs previously

10   alleged as though they are set forth in full herein.

11              113.   Plaintiff had a cognizable interest under the Due Process Clause of the

12   Fourteenth Amendment of the United States Constitution to be free from state actions that

13   deprive him of life, liberty, or property in such a manner as to shock the conscience, including

14   but not limited to, unwarranted state interference in Plaintiffs bodily rights and bodily

15   autonomy, specifically Plaintiff's eye. The principal of bodily rights and bodily autonomy is

16   that no material may be taken from a person's body without due process of law.

17              114.   As a result of excessive force by Defendant DOE officers, Plaintiff lost an eye.

18   Additionally, as a result of excessive force by Defendant DOE Police Officers, Plaintiff has

19   lost enjoyment of life as promised under the Due Process Clause of the Fourteenth Amendment

20   of the United States Constitution to be free from state actions that deprive Plaintiff of life and

21   liberty.

22              115.   Plaintiff brings this claim individually for the violation of Plaintiffs rights.

23              116.   Plaintiff also seeks attorney fees under this claim.

24                                      SIXTH CAUSE OF ACTION

25          FOURTH AMENDMEl\'T- DENIAL OF MEDICAL CARE (42 USC§ 1983)

26              117.   Plaintiff reallegcs and incorporates by reference all paragraphs previously

27   alleged as though they arc set forth in full herein.

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              118.   The denial of medical care by Defendant DOE Police Officers deprived Plaintiff

 2    of his right to be secure in his person against unreasonable searches and seizures as guaranteed

 3    to Plaintiff under the Fourth Amendment to the United States Constitution and applied to state

 4    actors by the Fourteenth Amendment.

 5            119.   As a result, Plaintiff suffered extreme mental and physical pain and suffering

 6    loss of enjoyment of Ii fe, the loss of his right eye, a blow-out fracture, blunt eye trauma, an

 7    eyelid laceration, a ruptured globe, and significant trauma. Additionally, Plaintiff incurred

 8    medical expenses.

 9            120.   Defendant DOE Police Officers knew that failure to provide timely medical

IO   treatment to Plaintiff could result in further significant injury or unnecessary and wanton

11   infliction of pain, but disregarded the serious medical need, which ultimately caused Plaintiff

12   great bodily harm.

13            121.   After shooting Plaintiff with 40mm LLL, Plaintiff's brother Michael and April

14   pleaded for officers to help or to allow them to walk in the direction of their home. However,

15   officers told them to sit in the adjacent parking lot as one deputy indicated that he had called an

16   ambulance. The Gonzalez Family waited for about thirty (30) minutes as the officers forbade

17   them from walking further toward Plaintiffs home and seeking medical attention.

18            122.   The conduct of the Defendants, DOE Police Officers was willful, wanton,

19   malicious, and done with the reckless disregard for rights and safety of Plaintiff and therefore

20   warrants the imposition of exemplary and punitive damages as to Defendants DOE Police

21   Officers.

22            123.   Plaintiff also seeks attorney's fees under this claim.

23                                   SEVENTH CAUSE OF ACTION

24            Municipal Liability for Unconstitutional Custom or Policy (42 USC§ 1983)

25                        (By Plaintiffs William Gonzalez and Michael Gonzalez

26                               against Defendants Does 1-100 and City)

27           124.    Plaintiff realleges and incorporates by reference all paragraphs previously alleged

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      as though they are set forth in full herein.

 2            125.    On and for some time prior to October 11, 2020 (and continuing to the present

 3    date) Defendants DOES 1-100, deprived Plaintiffs of the rights and liberties secured to them by

 4    the Fourth and Fourteenth Amendments to the United States Constitution, in that said defendants

 5    and their supervising and managerial employees, agents, and representatives, acting with gross

 6    negligence and with reckless and deliberate indifference to the rights and liberties of the public

 7    in general, and of Plaintiffs, and of persons in their class, situation and comparable position in

 8    particular, knowingly maintained, enforced, and applied an official recognized custom, policy
 9    and practice of:
10                                (a) Employing and retaining as police officers and other personnel
11                        Defendant DOES Officers 1-100, at all times material herein knew or
12                        reasonably should have known had dangerous propensities for abusing their
13                        authority and for mistreating citizens by failing to follow written CITY Police
14                       Department policies;
15                               (b) Of inadequately supervising, training, controlling, assigning, and
16                        disciplining CITY Police Officers, and other personnel, who Defendant CITY
17                        knew or in the exercise of reasonable care should have known had the
18                        aforementioned propensities and character traits;
19                               (c) By failing to adequately train officers and failing to institute
20                        appropriate policies regarding the use of excessive force, including deadly
21                        and less-lethal force;
22                                (d) By having and maintaining an unconstitutional policy, custom,
23                        and practice of using excessive force, including deadly force, which also is
24                        demonstrated by inadequate training regarding these subjects. The policies,
25                       customs, and practices of DOES 5-10 and CITY, were done with a deliberate
26                        indifference to individuals' safety and rights; and
27                                (e) Of totally inadequately training CITY Police Officers, with
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                          respect to firing projectiles at unarmed individuals, including, but not limited

 2                        to, individuals standing on public sidewalks and participating in protected

 3                        activity.

 4            126.    By reason of the aforementioned policies and practices of Defendants, Plaintiff

 5    was severely injured and subjected to pain and suffering and ultimately lost his eye.

 6            127.    Defendants together with various other officials, whether named or unnamed, had

 7    either actual or constrnctive knowledge of the deficient policies, practices and customs alleged

 8    in the paragraphs above. Despite having knowledge as stated above these defendants condoned,

 9    tolerated and through actions and inactions ratified such polices. Said Defendants also acted with

10    deliberate indifference to the foreseeable effects and consequences of these policies with respect

11    to the constitutional rights of Plaintiff and other individuals similarly situated.

12            128.    By perpetrating, sanctioning, tolerating, and ratifying the outrageous conduct and

13    other wrongful acts, Defendants acted with an intentional, reckless, and callous disregard for

14    safety of Plaintiff, and Plaintiffs constitutional rights. Defendants each of their actions were

15    willful, wanton, oppressive, malicious, fraudulent, and extremely offensive and unconscionable

16    to any person of normal sensibilities.

17            129.    Furthermore, the policies, practices, and customs implemented and maintained

18    and still tolerated by Defendants were affirmatively linked to and were a significantly influential

19    force behind the injuries of Plaintiff and Plaintiffs.

20            130.    Accordingly, Defendants each are liable to Plaintiff and Plaintiffs for

21    compensatory damages under 42 U.S.C. § 1983

22            131.    Plaintiffs also seek attorney's fees under this claim.

23                                      EIGTH CAUSE OF ACTION

24                                    Violations of Eighth Amendment

25            132.    Plaintiff realleges and incorporates by reference all paragraphs previously

26    alleged as though they are set forth in full herein.

27            133.    The Eighth Amendment to the United States Constitution states: ''Excessive bail

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 1    shall not be required, nor excessive fines imposed, nor cruel and unusual punishments

 2    inflicted." This amendment prohibits the government from imposing unduly harsh penalties on

 3    criminal defendants.

 4             134.    While Plaintiff was not a criminal defendant in this matter, the Eighth

 5    Amendment reasonably encapsulates the idea that the government shall not impose unduly

 6    harsh penalties on society at large, especially if that is the treatment that is otherwise accorded

 7    to even criminal defendants.

 8             135.    Plaintiff was imposed an unduly harsh penalty in the form of permanently

 9    losing his right eye and all the permanent negative impact it has and will continue to have for

10    the rest of Plaintiff's life.
11             136.    This unduly harsh penalty was dealt to Plaintiff, who was otherwise an innocent
12    bystander at a public location by LAPD. As mentioned above, if criminal defendants are
13    accorded treatment parallel with the notion of not imposing such unusual punishment like
14    losing an eye, then there is no reason as to why Plaintiff cannot be accorded the same level of
15    constitutional right.
16             I 37.   CHP's previously discussed failure to help provide aid following the already-
17    unconstitutional conduct dealt to Plaintiff by branches of state government further exemplifies
18    the true level of unduly harsh penalty that was dealt to Plaintiff.
19             138.    LAPD's and CHP's respective lack of disregard in reasonably appreciating the
20    situation as described throughout this document directly lead to the permanent, life-altering
21    damage suffered by Plaintiff.
22                                       NINTH CAUSE OF ACTION

23                                    Violations to Fourteenth Amendment

24             139.    Plaintiff realleges and incorporates by reference all paragraphs previously
25    alleged as though they are set forth in full herein.
26             140.    The Due Process Clause of the Fourteenth Amendment applies to the state and
27    is exactly like a similar provision in the Fifth Amendment. which only restricts the federal
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      government. It states that no person shall be "deprived of life, liberty, or property without due

 2    process oflaw." Usually, "due process" refers to fair procedures.

 3            141.     "Fair procedures" do not include countless failures of state police protocol.

 4            142.     Plaintiff was deprived of life, liberty, and property at the hands of the LAPD

 5    and CHP.

 6            143.     Plaintiff's life is permanently altered, his liberties were restricted while LAPD

 7    and CHP were forcing Plaintiff to walk a particular path in an otherwise public location with a

 8    40mm LLL round where his right eye used to be, and his property interest in his own body was

 9    absolutely affected in that he no longer has a right eye.

lO            144.     The absolute willful and reckless disregard by these state Officers lead to the

11    clear violation of Plaintiff's Fourteenth Amendment right, among the countless others as

12    detailed here.

13                                     TENTH CAUSE OF ACTION
14                               Intentional Infliction of Emotional Distress
15                             (Against City of Los Angeles and Does 1-100)

16            145.     Plaintiff realleges and incorporates by reference all paragraphs previously

17    alleged as though they are set fo11h in full herein.

18            146.     Defendants City of Los Angeles, Los Angeles Police Department, Michael

19    Moore individually and in his capacity as Chief of Police of the City of Los Angeles, and

20    DOES I to 100 inclusive had a duty to Mr. Gonzalez not to cause Plaintiff emotional distress.

21            147.     As described above, the conduct of defendants and their agents/employees was

22    outrageous and done so intentionally or with reckless disregard. Specifically, Defendants'

23    careless mishandling of the events that transpired that day and failure to follow police protocol

24    resulted in absolute outrageous conduct in firing supposedly non-lethal rounds into a crowd

25    filled with innocent bystanders. The absolute intentional and reckless disregard in these actions

26    lead directly to Plaintiff's permanent eye loss and emotional distress that arose due to the

27    unbelievably traumatic event.

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              148.    As a direct result of Defendants' breach of duty, Mr. Gonzalez was forced to

 2    experience and suffer from intimidation, fear, personal physical injury, severe and ongoing pain,

 3    embarrassment, and severe emotional distress and mental anguish.

 4            149.    Defendants knew that their conduct would result m Mr. Gonzalez's severe

 5    emotional distress, and said conduct was perpetrated by defendants with the intent to inflict, or

 6    with reckless disregard of the probability of inflicting humiliation, mental anguish, and severe

 7    emotional distress upon plaintiff. Such conduct did, in fact, result in severe emotional distress

 8    on plaintiff.

 9            150.    Defendants Michael Moore and Defendant Los Angeles Police Department, by

10    the acts of its managing agents, officers and/or directors in the aforementioned acts and/or

11    ratifying such acts, engaged in willful, malicious, intentional, oppressive and despicable conduct,

12    and acted with willful and conscious disregard of the rights, welfare and safety of Mr. Gonzalez,

13    thereby justifying the award of punitive and exemplary damages, against Defendants, and each

14    of them, in an amount to be determined at trial.

15                                   ELEVENTH CAUSE OF ACTION

16                               Negligent Infliction of Emotional Distress

17                        (Cal. Govt. Code § 829 and California Common Law)

18                                          (By Michael Gonzalez)

19            151.    Plaintiff realleges and incorporates by reference all paragraphs previously alleged

20    as though they are set forth in full herein.

21            152.    Defendants City of Los Angeles, Los Angeles Police Department, DOES I to I 00

22    negligently caused physical injury to Plaintiff when Defendant's discharged their 40mm LLL,

23    striking Plaintiff in the eye. The use of the 40mm LLL targeted at the head or eyes is not

24    authorized unless lethal force is authorized. As a result, the use of a Less-Lethal 40mm, at the

25    head of Plainti fhvas excessive, unreasonable and Defendants were negligent in discharging their

26    weapons at Plaintiff, including pre-shooting negligent conduct, actions. inactions and tactics.

27            153.    Plaintiff, Michael Gonzalez was present at the scene, when Defendant CITY and

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      Defendant DOE Officers 1-100 discharged their firearms at William Gonzalez and Michael was

 2    aware that Mr. Gonzalez was being injured.

 3            154.    As a result of being present at the scene and perceiving his brother being shot by

 4    Defendant CITY and Defendant DOE Officers 1-100, Michael suffered serious emotional

 5    distress, including but not limited to anguish, fright, horror, nervousness, grief, anxiety, worry,

 6    shock, humiliation, and shame.

 7            155.    On information and belief, any ordinary reasonable person would be unable to

 8    cope with seeing their brother shot in the eye and having his eye blown out by the police.

 9            156.    CITY is vicariously liable for the wrongful acts of Defendant DOE Officers 1-

10    100, inclusive, pursuant to section 815.2(a) of the California Government Code, which provides

11    that a public entity is liable for the injuries caused by its employees within the scope of the

12    employment if the employee's act would subject him or her to liability.

13            157.    Plaintiff Michael Gonzalez brings this claim individually and seeks damages

14    under this claim as an individual.

15                                  TWELFTH CAUSE OF ACTION

16                   Negligence (Cal. Govt. Code§ 820 and California Common Law)

17                               (Against All Defendants and Does 1-100)

18            158.    Plaintiff realleges and incorporates by reference all paragraphs previously

19   alleged as though they are set forth in full herein .

20            159.    Defendant Michel Moore, as general manager of the Los Angeles Police

21    Department, had a duty to Mr. Gonzalez, under the authority of the Board of Police

22    Commissioners, to act as a reasonable chief executive police officer to oversee the police

23   department's operation, but negligently failed on the night of October 11, 2020 to plan,

24   coordinate, and direct all activities in the area of 9 th and Flower to protect persons.

25            160.    Defendant Los Angeles Police Department, and each of their police officers,

26    had a duty to Mr. Gonzalez under the high standards of police officers to follow police protocol

27    in the use of force but negligently failed to follow police policies and procedures \vhcn they

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      shot their LLL hard-foam bullets into the crowd indiscriminately and at all directions. They

 2    failed to isolate unlawful persons. They failed to target specific individuals when they fired

 3    their 40mm LLL.

 4            161.     Defendant California Highway Patrol, and each of their officers, failed to

 5    reasonably assess Plaintiff's injuries as uniformed officers came into contact with Plaintiff and

 6    the Gonzalez Family as the California Highway Patrol officers were assisting with crowd

 7    control functions.

 8            162.    Defendant Los Angeles County Sheriff's Department, and each of their deputies

 9    failed to reasonably assess Plaintiffs injuries as uniformed officers came into contact with

10    Plaintiff and the Gonzalez Family. Instead of requesting medical assistance as was necessary

11    given the obvious head trauma to Plaintiff, Los Angeles County Sheriff's Department deputies

12    instead made Plaintiff and the Gonzalez Family believe the deputies had requested an

13    ambulance which made Plaintiff wait for an unreasonable duration of time which aggravated

14    Plaintiff's injuries.

15            163.    As a further direct and proximate result of the negligence of Defendants as set

16    forth above, Plaintiff suffered permanent bodily injury and present and future economic losses.

17            164.     As a further direct and proximate result of the negligence of Defendants as set

18    forth above, Mr. Gonzalez suffered serious emotional distress, and that the negligence of

19    Defendants was a substantial factor in causing Mr. Gonzalez's serious emotional anguish at the

20    physical trauma he experienced as well as permanent loss of use of his right eye.

21                                 THIRTEENTH CAUSE OF ACTION

22                                                  Assault

23                (Against City of Los Angeles, Michel Moore, LAPD, and Does 1-100)

24            165.     Plaintiff reallegcs and incorporates by reference all paragraphs previously

25    alleged as though they are set forth in full herein.

26            166.    On or around the night of October I I, 2020 or around midnight October 12,

27    2020, uniformed LAPD officers marched toward Plaintiffs direction with weapons held high

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      and pointed in his direction.

 2             167.   Defendants intended to cause and did cause Plaintiff to suffer apprehension of

 3    an immediate harmful contact. The officer's firing directly into a crowd of innocent bystanders,

 4    including Plaintiff, all done while the officer was acting within the scope of his employment as

 5    a City of Los Angeles police officer, shows a clear intent to cause Plaintiff to suffer

 6    apprehension of an immediate harmful contact. The harmful contact being in the form of the

 7    supposed non-lethal round being fired directly at head-level, completely against police

 8   protocol, which ultimately resulted in the intended harmful contact occurring and causing

 9    Plaintiffs eye to essentially explode.

IO                                FOURTEENTH CAUSE OF ACTION
11                    Battery (Cal. Govt. Code § 820 and California Common Law)

12                (Against City of Los Angeles, Michel Moore, LAPD, and Does 1-100)

13             168.   Plaintiff realleges and incorporates by reference all paragraphs previously

14   alleged as though they are set forth in full herein.

15             169.   On the night of October 11, 2020 or midnight hour of October 12, 2020,

16    Defendants shot out LLL munitions into the vicinity of 9 th and Flower above the waistline level

17   of non-specific suspects.

18             170.   Mr. Gonzalez was struck in the right eye by one such hard-foam projectile.

19             171.   Defendants intended to cause and did cause a harmful contact with Plaintiffs

20   person.

2I             172.   Plaintiff did not consent to Defendants' act.

22             173.   As a direct and proximate result of Defendants' conduct Plaintiff suffered a cut

23   through his cheek skin and eyelid, a shattered eye socket, a ripped tear duct and blow out of his

24   right eyeball itself. Plaintiff has also suffered extreme mental anguish and physical pain.

25    Plaintiff is informed and believes, and on that basis alleges, that Plaintiff has suffered a

26   pcmrnnent disability. These injuries have caused Plaintiff to suffer general damages in an

27   amount to be determined by proof at trial.

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              174.    As a direct and proximate result of Defendants' conduct, Plaintiff has been

 2    required to obtain continuing medical services and treatment since the night of the attack in an

 3    amount to be determined by proof at trial, and will, in the future, be compelled to incur

 4    additional obligations for medical treatment in an amount to be determined by proof at trial.

 5            175.    As a further direct and proximate result of Defendants' conduct, Plaintiff has

 6    been, and continues to be, unable to work since the events described in this complaint and has

 7    suffered a loss of earnings in an amount which has not yet been determined, but which will be

 8    added by amendment when it is ascertained.

 9            176.    Defendants' act was done knowingly, willfully, and with malicious intent, and

10    plaintiff is entitled to punitive damages in an amount to be determined by proof at trial.

11                                  FIFTEENTH CAUSE OF ACTION

12             Civil Supervisorial Responsibility for Violations of Plaintiff's Civil Rights

13                                       pursuant to 42 USC § 1998

14                               (Against All Defendants and Does 1-100)

15            177.    Plaintiffrealleges and incorporates by reference all paragraphs previously

16    alleged as though they are set forth in full herein.

17            178.    Defendants failed to adequately train, supervise, discipline and in any other way

18    control DOE and other unnamed police officers sued as DOES 1 to 100 in the exercise of their

19    duties as LAPD officers.

20            179.    Defendants and DOES I to 100 are directly liable and responsible for the

21    actions of DOE and the other unnamed police officers that violated Plaintiffs civil rights

22    because they repeatedly, knowingly, and intelligently, failed to enforce the laws of the State of

23    California in the regulations of the police departments themselves, thereby creating within the

24    department, an atmosphere of lawlessness in which officers engaged in violations of civil

25    rights as set forth in the factual allegations. De fondants knew or by the exercise of reasonable

26    care should have known of such unlawful acts and practices prior to and at the time of

27    Plaintiffs injuries.

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               180.   Defendants and DOES 1 through I 00, were also negligent in failing to provide

 2     DOE and other unnamed officers identified as DOES I to I 00 proper and adequate training

 3     necessary to carry out their duties with due care so that these police officers could foreseeably

 4     be expected to perform in the course of their employment with Defendant CITY OF LOS

 5     ANGELES and LAPD. DOE and other DOE Defendants received inadequate training in the

 6     proper use of force. As the direct and proximate result of this failure to provide such training,

 7     Plaintiff suffered injuries and damages

 8             181.   Defendant and DOES 1 to 100 have a duty to exercise due care in the hiring,

 9     selection, training, supervising, oversight, direction, investigation, rewarding, discipline and

IO     control of their officers, employees and agents.

11             182.   Defendants and DOES 51 through I 00 breached that duty intentionally,

12    purposely, knowingly, recklessly, and deliberately and with deliberate indifference, with gross

13    negligence, and/or negligently and without regard to human safety. Said defendants knew, or

14     should have known, and had actual, implied or constructive notice of the tortious, misfeasance,

15    and nonfeasance leading up to acts and omissions of the other defendants, officers and

16    employees, and had the power to take reasonable steps to prevent or aid in the prevention of

17     said tortious acts and/or omissions.

18            183.    In the exercise of due diligence, Defendants could have taken preventive action.

19             184.   As a direct and proximate result of that breach of duty, Pia inti ff suffered

20    physical injury, pain and suffering, fear, intimidation, severe mental anguish, humiliation,

21    degradation, and emotional distress and was deprived of his rights guaranteed by the Eighth

22    and Fourteenth Amendments of the United States Constitution. Plaintiff has incurred damages

23     for which Defendants, and each of them, are liable because of the breach of duty described

24    above, and the violations of 42 USC § 1983.

25             185.   As a further direct and proximate result of the negligence of Defendants as set

26    forth above, Mr. Gonzalez suffered serious emotional distress, and that the negligence of

27    Defendants was a substantial factor in causing Mr. Gonzalez's serious emotional anguish at the

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                                         FIRST AME!\DED COMPLAI NT
     Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 102 of 181 Page ID
                                       #:111



      physical trauma he experienced as well as his disfigurement and permanent loss of use of his

 2    right eye.

 3                                         PRAYER FOR RELIEF

 4            \,VHEREFORE, Plaintiff respectfully requests for judgment against Defendants, and

 5    each of them, on all causes of action, as follows:
 6            1.     A judgment in favor of Plaintiffs:
 7            2.     For general damages in an amount in excess of the jurisdictional mm1mum,
 8                   according to proof;
 9            3.     For special damages m an amount m excess of the jurisdiction mm1mum,
10                   according to proof;
11            4.     For treble damages under Civil Code Section 52.
12            5.     For Punitive damages pursuant to Civ. Code§ 52, subd. (b)( I);
13            6.     A statutory civil penalty of $25,000 pursuant to Civ. Code§ 52, subd. (b)(2);

14            7.     A preliminary injunction against Defendants, and each of them, enjoining
15                   Defendants to follow police policy and procedure in the use of Less-Lethal force;
16                   and to refrain from firing Less-Lethal force indiscriminately into crowds or above
17                   the waistline;
18            8.     A permanent injunction against Defendants, and each of them, cnJommg
19                   Defendants from firing LLL rounds indiscriminately into crowds or above the
20                   waistline;
21            9.     For costs of this suit and attorneys' fees allowable under the law;
22            10.    Actual damages;
23            11.    Pre-judgment interest and post-judgment interest to the extent allowed by law;
24                   and
25            12.    For such other and further relief as the Court deems just, necessary, and proper.
26

27    Ill
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                                                     - 33 -

                                       FIRST AMEl\DED COMPLAll\T
     Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 103 of 181 Page ID
                                       #:112



                                       DEMAND FOR JURY TRIAL

 2            Plaintiffs hereby demand a trial by jury to the full extent permitted by law for all claims

 3    and causes of action in this lawsuit.

 4

 5
                                                    DRE, A.P.C.
 6

 7

 8    Dated: May 11, 2021
                                                    Da:F \ J ~ }chie, Esq.
 9
                                                    Knstqn, , I' ~fson, Esq.
                                                    Ethan iBro\\:n, Esq.
                                                    Attorneys for Plaintiffs,
11                                                  WILLIAM GONZALEZ and MICHAEL
                                                    GONZALEZ
12

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                                        FIRST AME NDED CO!\IPLAINT
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 104 of 181 Page ID
                                  #:113




                    EXHIBIT "1"
   Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 105 of 181 Page ID
                                     #:114
                                       COUNTY OF LOS ANGELES
                                       OFFICE OF THE COUNTY COUNSEL
                                           (1'!8 KE N N E'T ll li ,\l!N H AL L Of AO M I N ISTRArl ON


                                                LOS ANGEL E S . CAI.IFO R Nl r\ 90012-27\J                  Tl:LEPllONE
                                                                                                            (2 IJ) 974-8208
                                                                                                            1:AGSIMlLE
RODR((jO A. CASTRO-SILVA
     County Counsd                                                                                          (213) 687-8822
                                                           February 10, 2021
                                                                                                            1DD
                                                                                                            (213 ) 633-090 1




           Kristen J. Mason, bsq.
           DRE,APC
           206 West 4th Street, Suite 330
           Santa Ana, California 92701

                          Re:          Claim Presented:                                 December 22, 2020
                                       Amendment Presented:                             December 22, 2020
                                       File Number:                                     20-116-tS0S*00l
                                       Your Client:                                     \Villfam Gonzalez


           Dear Counselor:

            .      Notice is hereby given that the clairi1 that you presented to the
           County of Los Angeles, Board of Supervisors on December 22, 2020, was
           rejected on February 9, 2021.

                   An investigation of this matter fails to indicate any involvement on the
           part of the County of Los Angeles, its onicers, agents, or employees.
           Accordingly, your claim was rejected on thut basis. No further action will he
           taken on this matter.

                                                                WARNING

                   Subject to certain exceptions, you have only six (6) months from the date
           this notice was personally delivered or deposited in the mail to file a court action
           on this claim. See Government Code Section 945.6.

                   This time limitation applies only to causes of action for which
           Government Code Sections 900 ~ 915.4 require you to present a claim. Other
           causes of ai.:tion, including those arising under federal law, may have different
           time limitations.




           I IOA. I ()3 I ,IC,:'): I
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 106 of 181 Page ID
                                  #:115


      Kristen J. Mason, Esq.
      February I 0, 2021
      Page 2




               You mav.,, seek the ad vice of an anornev
                                                       .,, of vour choice in connectiCJn with
                                                          '   ~




      thi::; matkr. If you desire to consult an attorney, you should do so immediately.

                                                  Verv,.,, trulv., vours ,
                                                                  ~




                                                  RODRIGO A. CASTRO~S!LVA
                                                  County Co .         X(2 .
                                                  By      I
                                                        JESS 1C.r
                                                                      i; r
                                                        Deputy County Counsel
                                                        Litigation Monitoring Team

      JCR:ce




      HO,\ . IlB I~6295. 1
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 107 of 181 Page ID
                                  #:116



   1                                            PR001'~ OF SERVICE

   2                                           Hie No. XX-XXXXXXX*001
   3 STATE OF CALIFOR,1'\JJA, County of Los Angeles:

   4           Caroiyn Edwards states: I am employed in the County of Los Angeles, State of California,
       over the age of eighteen years and not a party to the within action. My business address is 648
   5 Kenneth Hahn Hall of Administration, 500 \,Vest Temple Street, Los Angeles, California 90012~
     . 2713.
   6
   7
               That on February /      0, 2021, I served·the attached
                                          NOTICE OF DENIAL LETTER
   8
               upon Interested Party(ies) by placing IBl the original O a tme copy thereof enclosed in a
   9   sealed envelope addressed [El as follows D as stated on the attached service list:

  10                     Kristen J. Mason, Esq.
                         DRE,APC
  11                     206 West 4th Street, Suite 330
                         Santa Ana, California 9270 I
  12
                         By United States mail. I enclosed the documents in a sealed envelope or package
  13                      addressed to the persons at the addresses on the attached service list (specify one):

  14           ( t) 0 deposited the sea!ed envelope with the United States Postal Service) with the
                      postage fully prepaid.
  15
               (2) ~ placed the envelope for collection and mailing, following ordinary business
  16                 practices. I am readily familiar ·with this business's practice for collecting and
                     processing correspondence for mailing. On the same day that correspondence is
  17                 placed for collection and mailing, it is deposited in the ordinary course of business
                     with the United States Postal Service, in a sealed envelope with postage fully
  18                     prepaid.

  19                     I am a resident or employed in the county where the mailing occurred. The
                         envelope or package was placed in the mail at Los Angeles, California:
  20
              I declare under penalty of perjury under the laws of the State of California that the
  21   foregoing is true and correct.

  22           Executed on February /       0, 2021, at Los An rreles, California.
  23

  24                     Carolyn Edw~.._,
               (NAME OF DECLARANT)
                                     rd=s_____                                               tW
  25

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       HOA.103146303.1
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 108 of 181 Page ID
                                  #:117




                    EXHIBIT "2"
   Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 109 of 181 Page ID
                                     #:118
                                 COUNTY OF LOS ANGELES
                                 OFFICE OF THE COUNTY COUNSEL
                                     648 KE N N!\ rH IIAH N 11/\L l. OF /\DMiN I ST RATI O N
                                                 5011 WE S T rEMPI f-. STREEJ
                                          I. O S ANGELl : S, C ALI FOR NI A 9 0 012-271:l            'lEI.EPIIONE
                                                                                                     (213) 974.J\)[3
                                                                                                     FACSIMlU:
RODRIGO/\. CASTRO-SILVA
                                                                                                     (2 13) 687-8822
    County Counsel                                   February l 0, 2021
                                                                                                     TDD
                                                                                                     (2 U J 6J3-090!




           Kristen J. J\1fason, Esq.
           DRE,APC
           206 West 4th Street, Suite 330
           Santa Ana, California 9270 l

                      Re:        Claim Presented:                                December 22, 2020
                                 Amendment Presented:                            December 22, 2020
                                 File Number:                                    XX-XXXXXXX*001
                                 Your Client:                                    \Villiam Gonzalez


           Dear Counselor:

                   This letter is to inform you that the claim that you presented to the
           County of Los Angeles, Board of Suprrvisors on December 22, 2020, arises from
           an event or occu1Tence that in no way involves the County of Los Angeles (the
           "County"). An investigation of this matter fails to indicate any involvement on
           the part of the County, its officers, agents, or employees. Accordingly, the
           County will be rejecting the claim on that basis.

                  It is not the intention of this letter to deter the filing of a lawsuit against
           the County, its officers, agents, or employees where th~rc is a ju~tifiablc
           controversy under the facts and law. However. in this case, it does not appear that
           a lawsuit against the County, its officers, agents, or employees is warranted.

                      In considering your future course of action, we remind you of the
           provisions of Section 1038 of the Code of Civil Procedure. Please be advised that
           the County will seek the remedies affortkd by that Section in the course of
           defending against any subsequent litigation brought without reasonable cause or
           in bad faith.




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Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 110 of 181 Page ID
                                  #:119


      Kristen J. Mnson, Esq.
      January 28, 2021
      Page 2


                            .
             You mav seek the advice of an atturnev. of .vour choice in connection with
      this mancr. If you desire to consult an attorney, you should do so immediately.

                                               Very truly yours.

                                               RODI             ASTRO·SIL VA

                                               ::unt               /:__✓
                                                    J           ·:.RIVAS
                                                    Deputy County Counsel
                                                    Litigation r..•1onitoring Team

      JCR:cc




      IlOA I0.11 ,16339 l
    .,.
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          Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 111 of 181 Page ID
                                            #:120



            l                                            PROOF OF SERVICE
            2                                           l<~ile No. XX-XXXXXXX*001
            3   STATE OF CALIFORNIA, County of Los Angeles:
            4        Carolyn Edwards states: I_am employed in the County of Los Angeles, State of California,
              over the age of eighteen years and not a party to the within action. My business address is 648
            5 Kenneth Hahn Hall of Administration, 500 West Temple Street, Los Angeles, California 90012-
            6 2113_ ..              .,          D
                        fhat on February/_ _, 2021, I served the attached
            7
                                                 NOTICE OF 1038 DENIAL LETTER
            8
                      upon Interested Party(ies) by placing ~ the original D a true copy thereof enclosed in a
            9 sealed envelope addressed ~ as follows D as stated on the attached service list:

           10                     Kristen J. Mason, Esq.
                                  DRE,APC
           11                     206 West 4th Street, Suite 330
                                  Santa Ana, California 92701
           12
                                  By United States mail. I enclosed the documents in a sealed envelope or package
           13                      addressed to the persons at the addresses on the attached service list (specify one):

           14           (l) D deposited the sealed envelope with the United States Postal Service, with the
                              postage fully prepaid.
           15
                        (2)   ~   placed. the envelope for collection and mailing, following ordinary business
           16                     practices. I am readily familiar with this business 1s practice for collecting and
                                  processing correspondence for mailing. On the same day that correspondence is
           17                     placed for collection and mailing, it is deposited in the ordinary course of business
                                  with the United States Postal Service, in a sealed envelope with postage fully
           18                     prepaid.
           19                     I am a resident or employed in the county where the mailing occurred. The
                                  envelope or package was placed in the mail at Los Angeles, California:
           20

           21   foregoing is true and correct.        D
                       I declare under penalty of perjury under the laws of the State of California that the


           22           Executed on February        fil   2021, at Los Angeles, California.

           23
           24                     Carolyn Edwfilrls'-·____
                        (NAME OF DECLARANT)                                  (SIGN.
           25

           26
           27

           28

                HOAl031463!2.I
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 112 of 181 Page ID
                                  #:121




                                                    11
                   EXHIBIT "3
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 113 of 181 Page ID
                                  #:122




                                               MICHAEL N. FEUER
                                                     crrv AnoR..'<"EY ·
 February 3, 2021

 Kristen J. Mason
 206 W. 4th St, Ste. 300
 Santa Ana, CA 92701

      RE:          Our Claim No.: C21~02543
               Your Client/Insured: William Gonzalez
                     Date of Loss: 10/11/2020

 Dear Sir/Madam:

 The subject claim against the City has been referred to this office.

 After reviewing the circumstances of the claim and the applicable law, it has been determined
 that the claim should be denied.

 This letter represents a formal notice to you that said claim has been denied, In view of this
 action, we are required by law to give you the following warning:

                                                ***WARNING***

            "Subject to certain exceptions, you have only six (6) months from the
            date this notice was personally delivered or deposited in the mail to file
            a court action alleging state causes of action. The time within which
            federal causes of action must be filed is governed by federal statutes."

            "You may seek the advice of an attorney of your choice in connection
            with this matter. If you desire to consult an attorney, you should do so
            immediately."




                                                 Chief Investigator

 BRSAM : FPOTCH
 Telephone: 213-978-7081
 Enclosure(s)




            City Hall East 200 N. Main Street Room 600 Los Angeles, CA 90012 (213) 978-7050 Fax (213) 978-7114
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 114 of 181 Page ID
                                  #:123




                                PROOF OF SERVICE BY MAIL


 I, Fem Potchana, declare as follows:

 I am over the age of 18 years and not a party to this action. My business address is 200 North
 Main Street, Room 600, City Hall. East, Los Angeles, California 90012, which is located in the
 county where the mailing described below took place.

 I am readily familiar with the business practice at my place of business for collection and
 processing correspondence for mailing via the United States Postal Service. Correspondence so
 collected and processed is deposited with the Unite-d States Postal Service that same day in the
 ordinary course of business.

 On February 3, 2021 , at my place of business at Los Angeles, Califomia, I mailed a Denial
 Letter for Claim Number C2 l-02543 by placing it, with postage thereon fully prepaid, for
 collection and mailing via the United States mail addressed as follows:


                                           Kristen J. Mason
                                        206 W. 4th St, Ste. 300
                                         Santa Ana, CA 92701



 I declare under penalty of perjury that the following is true and correct. Executed on February 3,
 2021, at Los Angeles, California.
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 115 of 181 Page ID
                                  #:124




                    EXHIBIT "4''
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 116 of 181 Page ID
                                  #:125




                                                MICHAEL N. FEUER
                                                       C1TY ATIORNEY

 February 3, 2021

 Kristen J. Mason
 206 W. 4th St, Ste. 300
 Santa Ana, CA 92701

       RE:          Our Claim No.: C21•02543
                Your Client/Insured: William Gonzalez
                      Date of Loss: 10/11/2020

 Dear Sir/Madam:

 The subject claim against the City has been referred to this office.

 After reviewing the circumstances of the claim and the applicable law, it has been determined
 that the claim should be denied.

 This letter represents a fonnal notice to you that said claim has been denied. In view of this
 action, we are required by law to give you the following warning:

                                                 ***WAR~ING***

             "Subject to certain exceptions, you have only six (6) months from the
             date this notice was personally delivered or deposited in the mail to file
             a court action alleging state causes of action. The time within which
             foderal causes of action must be filed is governed by federal statutes."

             "You may seek the advice of an attorney of your choice in conneetion
             with this matter. If you desire to consult an attorney, you should do so
             immediately."



                                                     ~"11!;+,~~----
                                                  Chief Investigator

 BRSAM : FPOTCH
 Telephone: 213-978-7081
 Enclosure(s)




             City Hall East 200 N. Main Street Room 600 Los Angeles, CA 90012 (213) 978-7050 Fax (213) 978-7114
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 117 of 181 Page ID
                                  #:126




                                PROOF OF SERVICE BY MAIL


 I, Fem Potchana, declare as follows:

 I am over the age of 18 years and not a party to this action. Iv1y business address is 200 North
 Main Street, Room 600, City Hall East, Los Angeles, Cahfomia 90012, which is located in the
 county where the mailing described below took place.

 I am readily familiar with the business practice at my place of business for collection and
 processing correspondence for mailing via the United States Postal Service. Correspondence so
 collected and processed is deposited with the United States Postal Service that same day in the
 ordinary course of business.

 On February 3, 2021 , at my place of business at Los Angeles, California, I mailed a Denial
 Letter for Claim Number C2 l-02543 by placing it, with postage thereon fully prepaid, for
 collection and mailing via the United States mail addressed as follows:


                                           Kristen J. Mason
                                        206 W. 4th St, Ste. 300
                                         Santa Ana, CA 92701



 I declare under penalty of perjury that the following is true and correct. Executed on February J,
 2021, at Los Angeles, California.
                Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 118 of 181 Page ID
                                                  #:127
                                                                                                                                                                                    CIV-110
               ATTORNEY OR PARTY VITT HOUT ATTORNEY (Name. Stole Bar number. and address):
               Antonio Castillo, III., Esq.                                        SBN: 276891                                                      FOR COURT USE ONLY
               DRE, A.P.C.
               Spurgeon Building - 3rd Floor, 206 W. 4th St. - Ste. 330, SANTA ANA, CA 9270 l
                         TELEPHONE NO (213) 265 -7888                  FAX NO (Oplionalj: ( 844) 314-I J 80
                E-MAIL ADDRESS (Oplional)· Antonio@dre.law
                                                                                                                                                         FILED
                                                                                                                                         Superior Court of California
                   ATTORNEY FOR /Name) William Gonzalez                                                                                    County of Los Angalj,ss
                SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                                                09/2 -1 )2021
                     STREET ADDRESS 111 North Hill Street
                                                                                                                               i,t,em R    Ca:-'l6:", E:~'Oll°Tre O "= ,1Oet:l<. a l Cau;r
                     MAILING ADDRESS 111 North Hill Street
                    cIrv AND zIP coDE:Los Angeles, 900 I 2                                                                        By:                   B. Chavez
                                                                                                                                                                                    ~1'.I'
                        BRANCH NAME:Stanley Mosk Courthouse
                  nbAINT-lf':f':IP-ie-Tl:flGNie-R.;.WI.LLlAM.G.Db!ZALEZ,.e.Lal                                                                                                       -
            DEFENDANT/RESPONDENT: LAPD, et al.

                                                       REQUEST FOR DISMISSAL                                                    CASE NUMBER 21 STCV 16790

                A conformed copy will not be returned by the clerk unless a method of return is provided with the document.

                This form may not be used for dismissal of a derivative action or a class action or of any party or cause of action in a
                class action. (Cal. Rules of Court, rules 3.760 and 3.770.)
            1. TO THE CLERK. Please dismiss this action as follows:
                 a (1)    D       With prejudice (2) [:C] Without prejudice
                 b. (1)   0       Complaint        (2)       D
                                                             Petition
                    (3)  D        Cross-complaint filed by (name):                                                                   on (date):
                     (4) D        Cross-complaint filed by (name):                                                                   on (date):
                     (5) D  Entire action of all parties and all causes of action
                 (6 ) [2J other (specify):* Complaint as to COUNTY OF LOS ANGELES and LOS ANGELES SHERJFFS DEPARTMENT,
                                              ONLY
           2. (Complete in all cases except family law cases.)
              The court         Ddid [KJ did not waive court fees and costs for a party in this case. (This information may be obtained from
              the clerk. If court fees and costs were waived. the declaration on the back of this form m t be completed).
~          Date: September 16, 2021
0..
N            ,:\~~~n.i9 ~-a~t_i[l9,_II~.\       ~~q._ ... .. .. . . ... ... . ..... .
N          (TYPEOR PRINT NAME OF            0     ATTORNEY □ PARTY WITHOUT ATTORNEY)                                            (SIGNATURE)
s:j"
0         'If dismissal requested is of specified par1ies only of specified causes of action     Attorney or party withe t attorney for:
......
N
          only, or of specified cross-<:omplain1s only. so s1a1e and identify the parties,
          causes of aciion, 01 cross-<:omplainls lo be dismissed.                               D       Plaintiff/Petitioner             D
                                                                                                                                         Defendant/Respondent
0                                                                                              ·D       Cross-Complainant
~
......     3. TO THE CLERK: Consent to the above dismissal is hereby given.""
N
               Date:

                                                                                                     ►
0)
0
-0
 Q)
          (TYPE OR PRINT NAME OF        D         ATTORNEY   D   PARTY IMTHOVT ATTORNEY)                                                (SIGNATURE)
 >
·a:;      " II a cross-<:omplainl - or Response (Family Law) seeking affirmative                Attorney or party without attorney fo r:
 u          relief - is on file, the attorney for cross-complainant (respondent) must
 Q)         sign this consent~ required by Code of Civil Procedure seciion 581 (~                D       Plaintiff/Petitioner            D        Defendant/Respondent
a::         or (J).
                                                                                                 D       Cross-Complainant
 >.
 C1l      (To be completed by clerk)
 u
·c
 eu
           4. ~ Dismissal entered as requested on (date): 09/21/202 1
                                                                                                                                                                                                 +
-Q)
           5     D        Dismissal entered on (date):                                          as to only (name):
w          6.    D        Dismissal not entered as requested for the following reasons (specify):



           7. a.     D        Attorney or party without attorney notified on (date):
              b.     D        Attorney or party without attorney not notified. Filing party failed to provide
                              D     a copy to be conformed          D      means to return conformed copy
                                                                                                              S'1-::m R C.i.'le:", cx=.i~.~ O :::ica- ,, Qell<. o l C,Jr.rl


                Date:O9/21 /2O21
                                                                                        Clerk, by _ _ __ _ _.....B..:....a...,~C_,_,..__
                                                                                                                                     h ....    a. .\,,_18,.,,..c.Z,.__
                                                                                                                                                    .                 _ _ _ , Deputy
                                                                                                                                                                                  Page 1 of 2
         Form Adopted fOf Mandatory Use                                                                                                               Code or Civil Procedu1e, § 561 el seq :
           Judicial Council of California                             REQUEST FOR DISMISSAL                                             Gav Code,§ 68637(c): Cal. Rules of Court. rule 3. 1390
           CIV-110 [Rev Jan 1, 2013)                                                                                                             Westlaw Doc &Fotmlkii!I!" www courts c., go,
    Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 119 of 181 Page ID
                                      #:128
                                                                                                                                             CIV-110
           PLAINTIFF/PETITIONER: WILUAM GONZALEZ. er al.                                                 CASE NUMBER:
     DEFENDANT/RESPONDENT: LAPD, et al.                                                                 21 STCV 16790




                                           COURT'S RECOVERY OF WAIVED COURT FEES AND COSTS
                          If a party whose court fees and costs were initiall y waived has recovered or will recover $10,000 or
                          more in value by way of settlement, compromise, arbitration award, mediation settlement, or other
                          means, the court has a statutory lien on that recovery The court may refuse to dismiss the case until
                          the lien is satisfied. (Gov. Code,§ 68637.)


                                                      Declaration Concerning Waived Court Fees

     1. The court waived court fees and costs in this action for (name) :
     2. The person named in item 1 is (check one below):
           a.   D         not recovering anything of value by this action.
           b.   D         recovering less than $10,000 in value by this action .
           c.   D         recovering $10,000 or more in value by this action. (If item 2c is checked, item 3 must be completed.)
     3.   D      All court fees and court costs that were waived in this action have been paid to the court (check one):   D       Yes   D      No


 I declare under penalty of perjury under th e laws of the State of California that the information above is true and correct.

 Date : _ _ __ __ _ __ __

  Antonio CastiJJo, III ., Esq .
  (TYPE OR PR l l\'T NAME OF      rn   ATTORNEY   O   PARTY MAKING DECLARATION)
                                                                                                            (SIGNATURE)




                                                                                                                                         Pag·• 2 or 2
CIV-110 [R ev, January 1. 2013]                             REQUEST FOR DISMISSAL
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 120 of 181 Page ID
                                  #:129


                                                  PROOF OF SERVICE
        STATE OF CALIFORNIA               )
    2   COUNTY OF ORANGE                  )

    3          I am employed in the County of Orange, State of California. I am over the age of 18 years
        and not a party to within action; my business address is 206 W . 4111 Street, Suite 330, Santa Ana,
    4   California 92701.

    5           On September 16, 2021 , I served the document(s) described as REQUEST FOR



    7           Ethan Brown, Esq.
                11601 Wilshire Boulevard, Suite 2080
    8           Los Angeles, CA 90025

    9           Michael Allen, Esq .
   10           100 W. Broadway, Suite 1200
                Glendale, CA 91210-1219
   11
                Office of the Attorney General
   12           Betty Chu-Fujita, Esq .
                300 S. Spring Street, Suite 1702
   13
                Los Angeles, CA 90013
   14
                Muna Busailah, Esq.
   15           STONE BUSAILAH LLP
                1055 E. Colorado Boulevard, Suite 320
   16           Pasadena, CA 91106
                Attorneys for Chief Michael Moore and City of Los Angeles
   17
              (BY E-MAIL) such document to the individual(s) identified at the email referenced above.
   18   [)
        []    (STA TE) I declare under penalty of perjury under the laws of the State of California that the
   19         fo regoing is true and correct.
   20
              Executed on September 16, 2021, at Santa A
                                                       _m.,.....,,•~=
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                                                                                                                                                    Co nty of Ui:s Angeles
                                                             Darren M. Richie, Esq. (SBN 316116)
                                                         1   darren@dre.law                                                                             05/311/2022
                                                             Antonio Castillo III, Esq. (SBN 276891)                                                     , Exe::zi ~   O      I Cle   af Ca
                                                         2   antonio@dre.law                                                               IBy: _ _ _0_Cti.:ivm:
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                                                             Ethan Brown, Esq. (SBN 218184)
                                                         3   ethan@bnsklaw.com
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                                                         4   DRE LAW, APC
                                                             222 North Canon Drive, Suite 201
                                                         5   Beverly Hills, CA 90210
                                                             Tel: (213) 265-7888 | Fax: (844) 314-1380
                                                         6

                                                         7   Attorneys for Plaintiffs, WILLIAM GONZALEZ and MICHAEL GONZALEZ
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                                              N                                                    COUNTY OF LOS ANGELES
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                                                             WILLIAM GONZALEZ, an individual; MICHAEL                           CASE NO.: 21STCV16790
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                                               IJ)
                                               u        14
                                               IJ)           GONZALEZ, an individual,
                                              0:::                                                                              Judge: Hon. Holly J. Fujie
                                               >- 15                                                                            Dept.: 56
                                               m                            Plaintiffs,
                                               u
                                                        16
                                               C
                                               0                    vs.                                                         STIPULATION AND [PROPOSED]
                                                :....
                                              .......
                                                u 17                                                                            ORDER TO FILE SECOND AMENDED
                                                                                                                                COMPLAINT
                                               IJ)

                                              w 18           COUNTY OF LOS ANGELES; LOS ANGELES
                                                             COUNTY SHERIFF’S OFFICE; CITY OF LOS
                                                        19   ANGELES; LOS ANGELES POLICE
                                                             DEPARTMENT; MICHAEL MORRE,
                                                        20   individually and in His Official Capacity as Chief
                                                             of Police of the City of Los Angeles;
                                                        21   CALIFORNIA HIGHWAY PATROL; and DOES
                                                        22   1 through 100, inclusive,

                                                        23                  Defendants.

                                                        24                                                                      Complaint Filed: May 4, 2021
                                                                                                                                Trial Date: June 19, 2023
                                                        25
                                                             TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                        26
                                                                    WHEREAS, Plaintiffs WILLIAM GONZALEZ and MICHAEL GONZALEZ (hereinafter
                                                        27
                                                             collectively, “Plaintiffs”) filed the Complaint in this matter on May 4, 2021.
                                                        28
                                                                    WHEREAS, Plaintiffs filed a First Amended Complaint on May 11, 2021.
                                                        30                                                1
                                                                                          STIPULATION AND [PROPOSED] ORDER TO FILE SECOND AMENDED COMPLAINT
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Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 122 of 181 Page ID
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  1           WHEREAS, Plaintiffs caused the First Amended Complaint to be served on Defendant

  2   STATE OF CALIFORNIA, ACTING BY AND THROUGH THE CALIFORNIA HIGHWAY

  3   PATROL (CHP) (hereinafter, “CHP”) on May 14, 2021.

  4           WHEREAS Defendants CITY OF LOS ANGELES and CHIEF MICHEL MOORE filed

  5   their Answer to Plaintiffs’ First Amended Complaint on June 10, 2021.

  6           WHEREAS, CHP’s counsel sent Plaintiffs’ counsel a meet and confer letter on June 16,

  7   2021, in advance of filing of a demurrer and motion to strike with a deadline of June 23, 2021 for

  8   Plaintiffs’ counsel to respond.

  9           WHEREAS, Plaintiffs’ counsel subsequently provided CHP with a two (2) week extension
 10   of time to file a responsive pleading.

 11           WHEREAS, Plaintiffs’ counsel requested an extension up to July 7, 2021 with which to

 12   provide a response to CHP’s meet and confer letter on June 23, 2021, and conversely provided CHP

 13   with a mutual extension of time.

 14           WHEREAS Plaintiffs’ counsel requested a further extension up to July 15, 2021 with which

 15   to respond to CHP’s meet and confer letter on July 8, 2021.

 16           WHRERAS both parties stipulated to a further extension of time beyond the original thirty

 17   (30) day within which CHP would file a responsive pleading.

 18           WHEREAS Plaintiffs’ counsel agreed to file a Second Amended Complaint on August 16,

 19   2021.

 20           WHEREAS counsel for Defendants CITY OF LOS ANGELES and CHIEF MICHEL

 21   MOORE sent an email correspondence on January 11, 2022 indicating he would stipulate to a

 22   request for the Court to grant leave for Plaintiffs to file a Second Amended Complaint.

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                                 STIPULATION AND [PROPOSED] ORDER TO FILE SECOND AMENDED COMPLAINT
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Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 123 of 181 Page ID
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  1          IT IS HEREBY STIPULATED by and between the parties through their respective

  2   attorneys of record that Plaintiffs will file a Second Amended Complaint to address the issues

  3   raised in the June 16, 2021 meet and confer letter. by no later than June 15, 2022.

  4
      DATED: May 24, 2022                                DRE LAW, APC
  5

  6

  7

  8
                                                         By:
                                                                            df
                                                                 ANTONIO CASTILLO, III, Esq.
                                                                 Attorney for Plaintiffs, WILLIAM GONZALEZ
                                                                 and MICHAEL GONZALEZ
  9

 10
      DATED: May 24, 2022
 11

 12
                                                         By:
 13                                                              BETTY CHU-FUJITA, Esq.
                                                                 Deputy Attorney General
 14
                                                                 Attorney for Defendant, STATE OF
 15                                                              CALIFORNIA, ACTING BY AND THROUGH
                                                                 THE CALIFORNIA HIGHWAY PATROL
 16
      DATED: May 25, 2022                                STONE BUSAILAH LLP
 17

 18

 19                                                      By:
                                                                 MICHAEL P. STONE, Esq.
 20                                                              MUNA BUSAILAH, Esq.
                                                                 Attorney for Defendants, CITY OF LOS
 21                                                              ANGELES, LOS ANGELES POLICE
 22                                                              DEPARTMENT and CHIEF MICHEL R.
                                                                 MOORE
 23

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                                STIPULATION AND [PROPOSED] ORDER TO FILE SECOND AMENDED COMPLAINT
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Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 124 of 181 Page ID
                                  #:133



  1                                              [PROPOSED] ORDER

  2          Based on the Joint Stipulation of the Parties, and good cause appearing therefore, IT IS

  3   ORDERED that Plaintiffs shall be granted leave to file their Second Amended Complaint pursuant

  4   to the terms of the Joint Stipulation.

  5          __________________________________________________________________________
               Second Amended Complaint is to be filed by June 24, 2022
  6   ________________________________________________________________________________

  7   ________________________________________________________________________________

  8          IT IS SO ORDERED.

  9                                                                                                        Holly J. Fujie

                   05/31/2022
 10                                                                                                   Holly J Fujie / Judge
      Dated: ________________________                                          ________________________________
 11                                                                            Honorable Holly J. Fujie
 12

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                                  STIPULATION AND [PROPOSED] ORDER TO FILE SECOND AMENDED COMPLAINT
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                                  #:134



  1                                             PROOF OF SERVICE
  2

  3   STATE OF CALIFORNIA                      ]
                                               ]ss.
  4   COUNTY OF LOS ANGELES                    ]
  5          I am employed in the County of Los Angeles, State of California. I am over the age of 18
      and not a party to the within action; my business address is DRE, A.P.C., 222 North Canon Drive,
  6   Suite 201, Beverly Hills, CA 90210.
  7           On May 24, 2022 I served the foregoing document described as STIPULATION AND
      [PROPOSED] ORDER TO FILE SECOND AMENDED COMPLAINT on the interested
  8   parties in this action by placing a true copy thereof enclosed in a sealed envelope addressed as
      follows:
  9
                                       SEE ATTACHED SERVICE LIST
 10

 11           BY MAIL: I deposited such envelope in the mail at Los Angeles, California. The envelope
      was mailed with postage thereon fully prepaid. I am readily familiar with the business practice at
 12   my place of business for collection and processing of correspondence for mailing with the United
      States Postal Service. Correspondence so collected and processed is deposited with the United
 13   States Postal Service that same day in the ordinary course of business.
 14           BY OVERNIGHT DELIVERY: By sealing the envelope and placing it for collection and
      overnight delivery in a box regularly maintained by an overnight delivery service with delivery fees
 15   paid or provided for in accordance with ordinary business practices.
 16          BY PERSONAL SERVICE: I caused such envelope to be delivered by hand to counsel for
      defendants.
 17
             BY FACSIMILE: I certify that no transmission error was reported by the facsimile
 18   machine used to transmit the document(s) listed herein to the parties to this action. I also caused
      the machine to print a record of the transmission, a copy of which is attached to this declaration.
 19
       X     BY ELECTRONIC MAIL: I caused all of the pages of the above-entitled document(s) to
 20   be sent to the recipients noted above via electronic mail (“E-Mail”) at the respective e-mail
      addresses indicated above.
 21
              I declare under penalty of perjury under the laws of the State of California that the above is
 22   true and correct.
 23          Executed on May 24, 2022 at Beverly Hills, California
 24

 25
                                                                  HILDA VALDEZ
 26

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                                 STIPULATION AND [PROPOSED] ORDER TO FILE SECOND AMENDED COMPLAINT
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Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 126 of 181 Page ID
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  1
                                         SERVICE LIST
  2                         Gonzalez, et al. v. City of Los Angeles, et al.
                                     Case No. 21STCV16790
  3   Muna Busailah, Esq.
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      Mark T. Cumba
  9   Supervising Deputy Attorney General
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 13   Attorneys for Defendant, STATE OF CALIFORNIA, acting by and through the CALIFORNIA
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 14
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 17   Attorney for Plaintiffs
 18

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                                                   darren@dre.law
                                               2   Antonio Castillo III, Esq. [SBN 276891]
                                                   antonio@dre.law
                                               3   Ethan Brown, Esq. [SBN 218184]
                                                   ethan@bnsklaw.com
                                               4   Of Counsel
                                               5   DRE, A.P.C.
                                                   206 W. 4th Street, Suite 330
                                               6   Santa Ana, CA 92701
                                                   T: 213.265.7888 | F: 844.314.1380
                                               7
                                                   Attorneys for Plaintiffs, WILLIAM GONZALEZ and MICHAEL GONZALEZ
                                               8

                                               9                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                              10             COUNTY OF LOS ANGELES – CENTRAL JUDICIAL DISTRICT

                                              11

                                              12 WILLIAM GONZALEZ, an individual,                  Case No.: 21STCV16790
                                                 MICHEAL GONZALEZ, an individual,
                                              13                                                   SECOND AMENDED COMPLAINT
                                              14             Plaintiffs,
                                                                                                   1. VIOLATION OF CAL. CIV. CODE
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                                              15 v.                                                § 52.1 [TOM BANE CIVIL RIGHTS ACT]

                                              16                                                   2. VIOLATIONS OF 42 USC § 1983
                                                 COUNTY OF LOS ANGELES; LOS                        [MONELL LIABILITY]
                                              17 ANGELES COUNTY SHERIFF’S OFFICE;

                                              18 CITY OF LOS ANGELES; LOS ANGELES                  3. MUNICIPAL LIABILITY – FAILURE
                                                 POLICE DEPARTMENT; MICHEL                         TO TRAIN (42 USC § 1983)
                                              19 MOORE, individually and in His Official
                                                 Capacity as Chief of Police of the City of Los    4. FOURTH AMENDMENT –
                                              20 Angeles; CALIFORNIA HIGHWAY                       EXCESSIVE FORCE (42 USC § 1983)
                                                 PATROL; and DOES 1 to 100 inclusive,
                                              21                                                   5. SUBSTANTIVE DUE PROCESS 942
                                              22             Defendants.                           USC § 1983)

                                              23                                                   6. FOURTH AMENDMENT – DENIAL
                                                                                                   OF MEDICAL CARE (42 USC § 1983)
                                              24
                                                                                                   7. MUNICIPAL LIABILITY FOR
                                              25
                                                                                                   UNCONSTITUTIONAL CUSTOM,
                                              26                                                   PRACTICE, OR POLICY (42 USC § 1983)

                                              27                                                   8. VIOLATIONS OF FOURTEENTH
                                                                                                   AMENDMENT
                                              28

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                                                                                 SECONDAMENDED COMPLAINT
  Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 128 of 181 Page ID
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                                                      9. INTENTIONAL INFLICTION OF
 1
                                                      EMOTIONAL DISTRESS
 2
                                                      10. NEGLIGENT INFLICTION OF
 3                                                    EMOTIONAL DISTRESS
 4                                                    11. NEGLIGENCE
 5
                                                      12. ASSAULT
 6
                                                      13. BATTERY
 7
                                                      14. VIOLATIONS OF 42 USC § 1998
 8

 9                                                    JURY TRIAL DEMANDED

10

11

12          COMES NOW Plaintiffs, WILLIAM GONZALEZ, ("Plaintiff" and “Mr. Gonzalez”),

13 and MICHAEL GONZALEZ, (“Michael” and “Brother”), and alleges as to himself/themselves,

14 based upon his/their personal knowledge, whereas, all other allegations are based upon

15 information and belief, pursuant to the investigation of counsel or other evidence in filings,

16 documents, or otherwise, as follows:

17                                         INTRODUCTION

18          1.      Mr. Gonzalez brings this civil rights action seeking compensatory and punitive

19 damages against Defendants for deprivation of Mr. Gonzalez’s constitutional rights, under the

20 United States Constitution and state law in connection with the police shooting on October 11,

21 2020, causing irreparable and permanent injuries to his body, and the severe emotional and

22 psychological injuries, all of which affect him for the remainder of his life.

23          2.      On the evening of October 11, 2020 Mr. Gonzalez, along with thousands of others,

24 were celebrating the Lakers’ championship win for the 2020 season. This gathering of Los

25 Angelenos near the Lakers’ home stadium, the Staples Center, was to show support for the city’s

26 team and celebrate the end of a successful championship season. While the celebration continued,
27 a large group of people were gathered at an intersection near the stadium. Mr. Gonzalez was

28 eating near a taco truck with his family when, without warning, Mr. Gonzalez saw uniformed

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 1 officers surround his area, point their weapons, and open fire. Mr. Gonzalez heard the officers

 2 discharge their weapons. He felt a round whiz by his head. Then, Mr. Gonzalez felt the searing

 3 pain of another round bury into his eye socket.

 4          3.      In shock and in agonizing pain, Mr. Gonzalez tried to escape; however, he was
 5 stopped by uniformed California Highway Patrol and Sheriff Deputies. Mr. Gonzalez waited for

 6 the officers to radio for medical assistance. After a prolonged delay while Mr. Gonzalez was

 7 bleeding from the eye socket and in intense pain and suffering from severe emotional trauma, Mr.

 8 Gonzalez was finally brought to the hospital where he learned he had lost his eye.

 9          4.      The Defendants, the agent, employee, servant, employer, master, principal,
10 respondent superior, and/or associate, and each of them, violated police department policies and

11 procedures in their use of less-than-lethal force which resulted in Mr. Gonzalez being maimed for

12 the rest of his life.

13                                  JURISDICTION AND VENUE
14          5.      Jurisdiction is proper in the Superior Court for the County of Los Angeles pursuant
15 to Section 410.10 of the California Code of Civil Procedure because it has general subject matter

16 jurisdiction and no statutory exceptions to jurisdiction exist. The amount in controversy exceeds

17 the jurisdictional minimum of this Court.

18          6.      Venue is proper in the County of Los Angeles pursuant to Section 395 of the
19 California Code of Civil Procedure because Defendant LAPD lives or does business in Los

20 Angeles County.

21          7.      Venue is proper in the County of Los Angeles pursuant to Section 395 of the
22 California Code of Civil Procedure because Defendants reside in, and all incidents, events, and

23 occurrences giving rise to this action occurred in the County of Los Angeles, California.

24                                           THE PARTIES
25          8.      Mr. Gonzalez is, and was at all relevant times described herein, a resident of Los
26 Angeles, California.
27 ///

28 ///

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                                     SECONDAMENDED COMPLAINT
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 1          9.      Defendant COUNTY OF LOS ANGELES is, and at all times herein mentioned
 2 was, a government entity organized and existing under the laws of the State of California, and

 3 duly licensed and authorized to do business in the State of California.

 4          10.     On December 22, 2020, Plaintiff timely served on Defendant COUNTY OF LOS
 5 ANGELES and LOS ANGELES COUNTY SHERIFF’s DEPARTMENT, a tort claim in

 6 accordance with Government Code §§ 910 and 911.2, a true and correct copy of which is attached

 7 hereto as Exhibit “1” and incorporated herein by reference. That on or about February 9, 2021,

 8 Plaintiff’s tort claim was deemed rejected by operation of law pursuant to Government Code §

 9 912.4. On February 9, 2021, Plaintiff’s tort claim was in fact rejected by the County of Los

10 Angeles and the Los Angeles County Sheriff’s Department. A true and correct copy of the

11 rejection letter is attached hereto as Exhibit “2” and incorporated herein by reference.

12          11.     Defendant CITY OF LOS ANGELES is, and at all times herein mentioned was, a
13 municipal corporation duly organized and existing under the laws of the State of California and

14 situated in the County of Los Angeles.

15          12.     Defendant LOS ANGELES POLICE DEPARTMENT is, and at all times herein
16 mentioned was, an agency and department of the Defendant CITY OF LOS ANGELES.

17          13.     Michel Moore, i.e., The Chief of Police (“COP”), is the highest-ranking officer in
18 the Los Angeles Police Department. “As a general manager of the Police Department, the COP

19 is responsible for the planning, efficient administration and operation for the Police Department

20 under the authority of the Board of Police Commissioners… the COP directs, plans, and

21 coordinates the enforcement of the penal divisions of the City Charter, the ordinances of the City,

22 and the laws of the state and nation for the purpose of protecting persons and property and for the

23 preservation of the peace of the community … the COP assumes a leadership role in planning,

24 coordinating and directing all activities aimed at restoring peace in the City or otherwise returning

25 conditions to normal.”1

26
27

28                  1
                        https://www.lapdonline.org/inside_the_lapd/content_basic_view/834 (accessed 02/05/2021)
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                                         SECONDAMENDED COMPLAINT
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                                    #:140



 1          14.     On December 22, 2020, Plaintiff timely served on Defendant CITY OF LOS
 2 ANGELES and LOS ANGELES POLICE DEPARTMENT, a tort claim in accordance with

 3 Government Code §§ 910 and 911.2, a true and correct copy of which is attached hereto as Exhibit

 4 “3” and incorporated herein by reference. That on or about February 3, 2021, Plaintiff’s tort claim

 5 was deemed rejected by operation of law pursuant to Government Code § 912.4. On February 3,

 6 2021 Plaintiff’s tort claim was in fact rejected by the City of Los Angeles and the Los Angeles

 7 Police Department. A true and correct copy of the rejection letter is attached hereto as Exhibit

 8 “4” and incorporated herein by reference.

 9          15.     On or about June 17, 2021, Plaintiff received a meet and confer letter from the
10 State of California’s Attorney, who advised that Plaintiff did comply with the entirety under the

11 Government Claims Act. Plaintiffs have amended the within Complaint to comply with said

12 Government Claims Act by filing Government form DGS ORIM 006 with the proper entity.

13 The form is attached as hereto and incorporated herein as Exhibit “5” by reference.

14          16.     Defendant CALIFORNIA HIGHWAY PATROL is, and at all times herein
15 mentioned was, a government entity organized and existing under the laws of the State of

16 California, and duly licensed and authorized to do business in the State of California.

17          17.     Plaintiff is ignorant of the true names and capacities, whether individual, corporate,
18 associate or otherwise of defendants, sued herein as DOES 1 to 100, inclusive, and each DOE in

19 between, and therefore sues these defendants by such fictitious names. Plaintiff will seek leave to

20 amend this complaint to show the true names and capacities of these defendants when they have

21 been ascertained.

22          18.     Plaintiff is informed and believes and thereon alleges that, at all times herein
23 mentioned, each of the Defendants, including each of the DOE Defendants, is responsible in some

24 manner for one or more of the events and happenings, and proximately caused the injuries and

25 damages, hereinafter alleged.

26          19.     Plaintiff is informed and believes and thereon alleges that, at all times herein
27 mentioned, each of the defendants sued herein was the agent, alter ego, employee, servant,

28 employer, master, principal, and/or associate of each of the remaining defendants and was at all

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                                     SECONDAMENDED COMPLAINT
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 1 times acting within the purpose and scope of such agency and employment. Consequently, each

 2 Defendant is jointly and severally liable to Mr. Gonzalez for the damages sustained as a

 3 proximate result of their conduct.

 4                                   FACTUAL ALLEGATIONS
 5          20.    On Sunday evening, October 11, 2020, Mr. Gonzalez was with his brother
 6 Michael Gonzalez and Michael’s girlfriend, April Bran (“April” and collectively, “the Gonzalez

 7 Family”), in or around the area of Staples Center, a multi-purpose event arena in Downtown

 8 Los Angeles. It is located along Figueroa Street at Chick Hearn Ct., west of Flower St. and

 9 south of 9th Street. The three were celebrating the 2020 National Basketball Association

10 (“NBA”) Finals championship game between the victorious Los Angeles Lakers and Miami

11 Heat.

12          21.    That night, since the Los Angeles Lake had won the NBA championship title, a
13 jubilant crowd of people participated in a celebratory parade throughout the area surrounding

14 the Staples Center.

15          22.    From the Staples Center, the Gonzalez family walked to a taco truck vendor
16 which was parked near the intersection of West 9th St. (“9th”) and South Hope Street (“Hope”).

17 The three made purchases at the food truck vendor and then made their way to the southeast

18 corner of 9th and South Flower St. (“Flower”) where they sat down to eat.

19          23.    Plaintiff waited for his Michael and April to finish eating when he walked into
20 the street near the curb of 9th and Flower. Meanwhile, LAPD deployed their “Mobile Field

21 Forces”.

22          24.    Plaintiff saw the people who had been standing near him begin to run. Plaintiff
23 turned and looked in the direction of the northeast corner of 9th and Flower. Plaintiff saw

24 uniformed LAPD officers coming toward his direction with weapons held high.

25          25.    Mr. Gonzalez heard no audible warning to leave the premises. Mr. Gonzalez
26 heard no shouting, “40mm Ready!” or “40mm Standby!” Instead, he suddenly heard loud,
27 explosive shots and cracks and saw, from the area of the police officers, emissions of powder

28 smoke and sparks. Every round of noise brought hard objects flying near 9th and Flower, where

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                                    SECONDAMENDED COMPLAINT
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                                    #:142



 1 the Gonzalez Family was standing. Mr. Gonzalez saw several projectiles shoot to the ground,

 2 but he felt one whiz right over his head.

 3          26.     Mr. Gonzalez turned just over to the direction of the uniformed officers when
 4 one hard-foam projectile struck him in the right eye, cutting through his cheek skin and eyelid,

 5 shattering his eye socket, ripping apart his tear duct and blowing out the eyeball itself. The

 6 tissue on the inside of the eye was extruded out, and blood came spurting out from the socket as

 7 Plaintiff fell to the ground. Mr. Gonzalez screamed in agony and cried for his brother. Michael

 8 rushed over to Plaintiff, took off his Kobe Bryant jersey and placed it over Plaintiff’s injured

 9 eye to try to stop the bleeding. The jersey soaked fully with Plaintiff’s blood.

10          27.     Michael picked up the projectile from the ground by Plaintiff. Subsequent
11 investigation revealed it was an exact impact 40MM range sponge round.

12          28.     People were screaming and running. The police officers were still shooting.
13 Michael grabbed Plaintiff and shouted, “Run!”

14          29.     Michael and April held Plaintiff with the jersey over his right bleeding eye, and
15 managed to lead Plaintiff over to the next street intersection where California Highway Patrol

16 officers, CHP patch number 16193, and Los Angeles County Sheriff’s Deputies were directing

17 foot traffic.

18          30.     Michael and April pleaded for their help, or to allow them to walk in the
19 direction of their home, but the officers told them to sit in the adjacent parking lot as one deputy

20 indicated that he had called an ambulance. The Gonzalez family waited for about thirty (30)

21 minutes as the officers forbade them from walking further toward Plaintiff’s home. After about

22 thirty minutes from the time they were required to wait, and at Michael’s insistent request the

23 deputy then called for the ambulance.

24          31.     Mr. Gonzalez was eventually taken to California Hospital Medical Center past
25 midnight.

26          32.     Days into his hospital stay, Mr. Gonzalez continued to suffer persistent, severe
27 throbbing pin, severe nausea, and drainage from his right eye.

28 ///

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  Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 134 of 181 Page ID
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11          33.     Mr. Gonzalez’s hospital assessment included blow-out fracture, blunt eye trauma,
12 eyelid laceration, ruptured globe, and complaint of major trauma. His eye surgeon said the

13 damage was extensive, as if he had been struck by a bat and bitten by a dog all at once.

14          34.     He lost his right eye to the police projectile. He was required to have it removed
15 to avoid the risk of losing vision in his left eye.

16          35.     Plaintiff still suffers from nerve damage and is undergoing constant medical
17 treatments, which will likely include therapy, multiple surgeries in ultimately placing a prosthetic

18 eye, and cosmetic surgery to fix his now-drooping skin on the right side of his face due to the lack

19 of a right eye to help structure the skin around it.

20                              DEFENDANT’S POLICE PROTOCOL
21          36.     LAPD Public Information Director Josh Rubenstein has indicated that any
22 officer’s tactics and use of force in an incident must meet the high standards expected of all

23 LAPD officers.

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 1           37.    On October 11, 2020, LAPD officers neither met these high standards nor
 2 followed their protocols. While Mr. Gonzalez was waiting for Michael and April in or around

 3 the area of Staples Center, Plaintiff turned to see a crowd of people run by him followed by

 4 uniformed LAPD officers coming towards his direction with their weapons held high. Further,

 5 Plaintiff felt one projectile from a 40mm whoosh right over his head. The next 40mm projectile

 6 struck Plaintiff in the eye.

 7           38.    The use of force by law enforcement is a of critical concern to the public. In
 8 recognition that law enforcement derives their authority from the public, the guiding principle

 9 when using force is supposed to be the reverence for human life. The Los Angeles Police

10 Department’s Preamble to the Use of Force states, “Officers shall attempt to control an incident

11 by using time, distance, communications, and available resources in an effort to de-escalate the

12 situation, whenever it is safe, feasible, and reasonable to do so.” 2

13           39.    “Less-lethal force generally is used when there is no imminent threat of death or
14 serious bodily harm to the officers or other individuals and the officers are able to deploy the

15 less-lethal weapon safety.” (Overview of Less-Lethal Force Tools and Deployment, February 22,

16 2017).3

17           40.    Less-Lethal force options are only permissible when: “An officer reasonably
18 believes that a suspect or subject is violently resisting arrest or poses an immediate threat of

19 violence or physical harm. 4

20           41.    Less-Lethal force options should not be used for a suspect or subject who is
21 passively resisting or merely failing to comply with commands. Verbal threats of violence or

22 mere non-compliance do not alone justify the use of Less-Lethal force. Moreover, the 40mm

23 LLL must not be shot into crowds, at fleeing people or at those who do not represent a threat.

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27                    http://www.lapdponline.org/lapd_manual/ (accessed 03/05/2021)
                    2
                      http://www.lapdpolicecom.lacity.org/022817/BPC_17-0057.pdf (accessed 02/08/2021)
                    3
28                    http://www.lapdpolicecom.lacity.org/022817/BPC_17-0057.pdf (accessed 02/08/2021)
                    4
                      http://lapd-assets.lapdonline.org/assets/pdf/tac-dir-17-40mm-launcher.pdf
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 1          42.    The Department has policies and guidelines regarding Crowd Management,
 2 Intervention, and Control.

 3          43.    The Department’s Crowd Intervention Primary Objectives are to:
 4                       •    isolate unlawful behavior
 5                       •    arrest law violators
 6                       •    protect First-Amendment activity
 7                       •    facilitate lawful protests
 8                       (Use of Force-Tactics Directive, June 2011) 5.
 9          44.    The Department’s Crowd Control Primary Objectives are to:
10                       •    protect life
11                       •    restore and maintain order
12                       •    arrest violators
13                       •    protect vital facilities
14                       •    protect property. Id.
15          45.    The Department’s Methods to Deliver and Document Dispersal Orders include:
16                      •     amplified sound
17                      •     multiple languages when appropriate
18                      •     confirm audibility from various locations
19                      •     display signage indicating unlawful assembly and dispersal when possible
20                      •     document with video/audio recording
21          46.    “When the use of force is appropriate in a crowd control situation, only that force
22 reasonable to make an arrest or disperse a crowd should be used. There are no exceptions to the

23 Department’s Use of Force Policy for crowd control situations. Officers may use only that force

24 which is objectively reasonable.” Id.

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28                 5
                       http://lapd-assets.lapdonline.org/assets/pdf/tac-dir11-crowd-mgmt.pdf (accessed 02/08/2021)
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 1          47.     The City of Los Angeles and LAPD have strict protocols for how and when
 2 projectiles are used. Under current policy, the foam rounds must only be aimed at the belt line of

 3 a targeted individual who represents a threat to officers. The primary target area is the navel area

 4 or belt line, but officers may target the suspects arms, hands or legs when practicable. If the hand

 5 is selected, consider its location and what its holding. Officers shall not target the head, neck,

 6 spine, chest, groin, or kidneys.
                            40MM LESS LETHAL LAUNC HER GUIDELJNES

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                            G r een a r eas are P ri m ary T arget A reas
13                          Ye l low a reas are Secondary T a rg,e t A reas
                            R ed a r eas are pot~tiall y lethal if t a rg,e t ed



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15          48.     LAPD officers failed to meet these standards when they fired their 40mm Less-

16 Lethal Launcher’s (“LLL”) in the Plaintiff’s direction and at Plaintiff’s head-level. Plaintiff was

17 neither violently resisting arrest nor posing an immediate threat of violence or physical harm. As

18 stated above, Officers must attempt to control an incident by using time, distance,

19 communications, and resources in an effort to de-escalate the situation, whenever it is safe,

20 feasible, and reasonable to do so.

21          49.     Plaintiff was not posing any sort of threat of violence or physical harm that

22 would warrant any use of force. It was safe, feasible, and reasonable for LAPD officers to

23 utilize other non-life-threatening measures in an effort to de-escalate the situation and yet, the

24 LAPD officers failed to do so and otherwise broke protocol.

25          50.     LAPD officers further failed to meet these standards and follow their protocols

26 when Officers held their 40mm LLL high and began to shoot in the direction of the crowd and
27 at head level. This is no better exemplified than in Plaintiff’s eye socket, which no longer

28 contained an eye and rather the 40mm LLL round and a pool of debris and blood where said eye

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 1 used to be. Such use of force is not only a clear violation of police protocol as laid out above,

 2 but it is a sheer disregard for human life, which is a top priority and policy to protect and

 3 uphold, especially for those in law enforcement.

 4          51.     Pursuant to the Use of Force – Tactics Directive Number 17 – Procedures – If
 5 tactically and environmentally feasible, the 40mm LLL officer alerts other officers when he/she

 6 is ready to fire by shouting or broadcasting, “40mm Ready!” The primary officer gives the clear

 7 to fire signal by shouting or broadcasting, “40mm Standby!” This alerts the officers at the scene

 8 that the firing of the 40mm LLL is about to occur.

 9          52.     LAPD officers failed to meet these standards and follow their protocol’s when
10 the 40mm LLL officer failed to alert other officers they were ready to fire by shouting or

11 broadcasting, “40mm Ready!”

12          53.     LAPD officers failed to meet these standards and follow their protocol’s when
13 the primary officer failed to give the clear to fire signal by shouting or broadcasting, “40mm

14 Standby!”

15          54.     LAPD officers failed to meet these standards and follow their protocol’s when
16 they deployed the 40mm LLL at a fleeing subject

17          55.     Pursuant to the Use of Force - Tactics Directive Number 17 – Use of Force
18 Warning – An officer shall, when feasible, give a warning prior to using the 40mm LLL to

19 control an individual. The verbal warning should include a command and a warning of potential

20 consequences of the use of force. The command should be similar to “Drop the weapon” or “stop

21 what you are doing” followed by a warning similar to “or we may use the 40mm, and that may

22 cause you injury.”

23          56.     Additionally, the use or non-use of the warning shall be documented. The Non-
24 Categorical Use of Force Report, Form 1.67.05, Use of Force Summary heading shall include:

25 1) the name of the officer giving the warning; and 2) an explanation and appropriate justification

26 for not using warning.
27          57.     The LAPD failed to follow the Use of Force Warning protocol when they failed
28 to give verbal warning prior to using the 40mm LLL. In addition, Plaintiff is not aware of any

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 1 Use of Force Report, via Form 1.67.05, stating the name of the officer giving the warning; and

 2 an explanation and appropriate justification for not using the warning. Moreover, there is no

 3 feasible explanation why a warning was not given, as there was no tactical decisions to be made

 4 and the element of surprise was not applicable.

 5          58.     Pursuant to the Use of Force – Tactics Directive Number 17 – Medical Treatment
 6 – Any person struck with a 40mm exact impact round shall be transported to a Department-

 7 approved facility for medical treatment prior to booking. The person should be carefully

 8 monitored for signs of distress. If a medical emergency exists, officers shall request a rescue

 9 ambulance to respond to their location.

10          59.     Following “any use of force,” there must be prompt “basic and emergency
11 medical assistance to all members of the community, including victims, witnesses, subjects,

12 suspects, persons in custody, subjects of a use of force and fellow officers6.”

13          60.     The subsequent failure to provide medical treatment to Plaintiff was yet another
14 blatant disregard to officer protocol. Clearly a medical emergency existed after Plaintiff’s right

15 eye was essentially replaced with a 40mm LLL round and was forced to walk across the police-

16 designated path while holding a shirt around his now gaping eye socket that was quickly

17 pooling and pouring with blood. Instead of rendering the medical aid, as required by LAPD

18 protocol, Michael and his girlfriend pleaded for their help.

19          61.     LAPD and the CHP both failed to render aid as would be not only reasonable to
20 provide to Plaintiff at that moment, but necessary. Plaintiff spent a substantial amount of time

21 having to deal with the wound as best as possible given the inexcusable circumstances, which

22 likely only further exasperated Plaintiff ultimately having no right eye left to save when he

23 finally was given aid at a hospital.

24          62.     Pursuant to the Use of Force – Tactics Directive Number 17 – The use of a
25 40mm LLL, for any reason other than an approved training exercise, shall be documented

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28                  6
                        https://www.lapdonline.org/home/news_view/66709
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 1 according to established Department procedures on the Non-Categorical Use of Force Report.

 2 However, when a 40mm LLL is fired and the round does not strike a person, a use of force

 3 report is not necessary and an Employee’s Report, Form 15.07.00, should be completed to

 4 document the incident. Supervisors shall obtain photographs of all visible and complained

 5 injuries, even when evidence of injury is not present.

 6          63.     The LAPD failed to follow the reporting protocol in Tactics Directive Number
 7 17, when the use of the 40mm LLL was utilized for purposes other than training. Moreover, the

 8 exception that does not require a use of force report and an Employee’s Report, is not applicable

 9 as the round struck an individual. To date, Plaintiff is neither aware nor seen a Use of Force

10 Report nor an Employee’s Report.

11          64.     Furthermore, the Supervisors did not obtain photographs of all visible and
12 complained injuries, even when the evidence of injury is not present. It was evidence that there

13 were complained injuries because Michael and April pleaded for Officers help, or to allow them

14 to walk in the direction of their home, but the officers told them to sit in the adjacent parking lot

15 as one deputy indicated that he had called an ambulance.

16          65.     The misuse and disregard of protocol as well as the otherwise abhorrent conduct
17 exhibited by the LAPD and CHP in the directly resulted in the substantial and permanently life-

18 altering harm that was suffered by Plaintiff.

19                                    FIRST CAUSE OF ACTION
20                           Violation of Bane Act (Cal. Civ. Code § 52.1)
21          66.     Plaintiff realleges and incorporates by reference all paragraphs previously alleged
22 as though they are set forth in full herein.

23          67.     California Civil Code, Section 52.1 (the Bane Act), prohibits any person from
24 interfering with another person’s exercise or enjoyment of his Constitutional Rights by threats,

25 intimidation, or coercion (or by the use of unconstitutionally excessive force).

26          68.     Conduct that violates the First Amendment violates the California Bane Act.
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 1          69.     On or about the night of Sunday, October 11, 2020, Defendants attempted to
 2 interfere, and did interfere, with the exercise and enjoyment of Plaintiff’s civil rights as

 3 guaranteed by the First and Fourteenth Amendments to the U.S. Constitution.

 4          70.     The First Amendment to the U.S. Constitution guarantees freedoms concerning
 5 religion, expression, assembly, and the right to petition. The First Amendment to the U.S.

 6 Constitution protects the right to peacefully assemble, a protected activity.

 7          71.     Defendants County of Los Angeles, City of Los Angeles, and Los Angeles Police
 8 Department’s use of force was excessive and unreasonable under the circumstances, especially

 9 since Plaintiff was unarmed, had nothing in his hands, and was observing the parade with his

10 family peacefully when Plaintiff was near-fatally shot. Officers did not give a verbal warning or

11 any commands prior to firing their 40mm LLL, despite it being feasible to do so. Even if

12 warnings were given, said warnings were inadequate, insufficiently audible, and not heard by

13 the Gonzalez Family.

14          72.     As a direct and proximate result of the conduct of defendants, and each of them,
15 Plaintiff was caused to suffer extreme mental and physical pain. Plaintiff has suffered and will

16 continue to suffer the effects of losing an eye. Those effects include: dizziness, loss of balance,

17 loss of depth perception, and mobility issues. Plaintiff has suffered and will continue to the suffer

18 the effects of the blunt force trauma from the direct shot he sustained to his face and/or head.

19 Those blunt force trauma injuries include: continuing dizziness, headaches and sleep issues.

20 Plaintiff has suffered and will continue to suffer other physical injuries, loss of earnings, loss of

21 earnings capacity, humiliation, and mental anguish.

22          73.     The conduct of the Defendants was a substantial factor in causing the harms,
23 losses, injuries, and damages to the Plaintiff.

24          74.     Defendants’ violation of Plaintiff’s right as guaranteed by Civil Code § 52.1
25 entitles Plaintiff to compensatory and punitive damages, attorney’s fees, and injunctive relief, all

26 of which are provided for in Civ. Code §§ 52.1, subd. (b) and 52 and are requested below.
27          75.     As alleged in this complaint, Defendants knew or should have known that their
28 actions were likely to injure Plaintiff. Plaintiff is informed and believes, and therefore alleges,

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 1 that Defendants intended to cause injury to Plaintiff and acted with a willful and conscious

 2 disregard of Plaintiff’s rights as secured by Civ. Code § 52.1, thus entitling Plaintiff to recover

 3 punitive damages pursuant to Civ. Code § 52, subd. (b)(1).

 4          76.     Pursuant to Civ. Code § 52.1, Plaintiff is entitled to bring an action for damages
 5 and injunctive relief, as set forth in Civ. Code § 52.

 6          77.     Unless Defendants are restrained by a preliminary and permanent injunction,
 7 members of the public similarly situated to Plaintiff will continue to suffer severe, irreparable

 8 harm in that Defendants’ indiscriminate firing of LLL munitions into crowds will substantially

 9 put the same members of the public at risk of severe and debilitating injury. Plaintiff has no

10 adequate remedy at law because monetary damages, which may compensate for past interference

11 with Plaintiff’s civil rights, will not afford adequate relief for the fear, humiliation, and risk of

12 injury that a continuation of Defendants’ conduct in denial of Plaintiff’s rights will cause.

13                                  SECOND CAUSE OF ACTION
14                       Violation of 42 USC § 1983 [MONELL LIABILITY]
15          78.     Plaintiffs realleges and incorporates by reference all paragraphs previous
16 alleged as though they are set forth in full herein.

17          79.     The United States Supreme Court held in Monell v. Department of Social
18 Services that a §1983 claim against a municipal entity be based on the implementation or

19 execution of a "a policy statement, ordinance, regulation, or decision officially adopted and

20 promulgated by that party's officers". Additionally, the Court held that municipal entities "may

21 be sued for constitutional deprivations visited pursuant to governmental 'custom' even though

22 such a custom has not received formal approval through the body's official decision-making

23 channels". These policies or customs may be an affirmative policy or custom or a policy by

24 omission.

25          80.     Regarding policies of omission, the United States Supreme Court held in City of
26 Canton v. Harris that a municipality can be liable for a failure to train its employees when this
27 failure constitutes a deliberate indifference to the person whose rights were violated. The same

28 standard of deliberate indifference applies to failure to screen employees.

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 1          81.     In regard to this matter, Plaintiff’s constitutional rights were clearly and
 2 permanently violated by the LAPD.

 3          82.     LAPD in that, as described above, acted with blatant failure to follow protocol on
 4 many grounds, which lead to the constitutional deprivation of Plaintiff. This deprivation came

 5 in many forms including the deprivation of his First Amendment right to assemble, especially as

 6 he had done so peacefully and the deprivation of his constitutional right to life, which was

 7 permanently altered due to the loss of his right eye, among others.

 8          83.     The absolute disregard on all accounts were in breach of the above-mentioned
 9 policies and clear customs of protecting human lives, avoiding Less-Lethal force, attempting to

10 de-escalate a situation where feasible such as in this situation, and the firing of said 40mm LLL

11 rounds at a height where it can have direct-impact with an adult’s eye.

12                                   THIRD CAUSE OF ACTION
13                     Municipal Liability – Failure to Train (42 U.S.C. § 1983)
14          84.     Plaintiffs realleges and incorporates by reference all paragraphs previous
15 alleged as though they are set forth in full herein.

16          85.     Defendant DOE Officers acted under color of law and within the course and
17 scope of their employment as police officers for the City Police Department, Police Officer’s

18 40mm LLL shooting of Plaintiff, who had nothing in his hands and was standing near a food

19 truck, deprived the Plaintiff of his rights and liberties secured to him by the United States

20 Constitution and State Constitution.

21          86.     The training policies of Defendant City were not adequate to train its officers to
22 handle the usual and recurring situations with which they must deal, including making contact

23 with peaceful members of society, who assemble to celebrate their local sports team National

24 Basketball Championship, a common and reoccurring celebration throughout sports history.

25          87.     Defendant City was deliberately indifferent to the obvious consequences of its
26 failure to train its officers adequately, with regard to using Less-Lethal force.
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 1          88.     The inadequate training includes the failure to teach officers that the primary
 2 target area is the navel area or belt line. Additionally, the inadequate training includes the

 3 failure to teach officers not to target the head, neck, spine, chest, groin, and/or kidneys.

 4          89.     The inadequate training includes the failure to teach officers to give an audible
 5 warning to leave the premises.

 6          90.     The inadequate training includes the failure to teach officers to give a verbal
 7 warning prior to using a 40mm LLL to control an individual.

 8          91.     The inadequate training includes the failure to teach officers, that the 40mm
 9 LLL officer should alert other officers when they are ready to fire by shouting or broadcasting,

10 “40mm Ready!”

11          92.     The inadequate training includes the failure to teach officers, that the primary
12 officer gives the clear to fire signal, to the 40mm LLL officer, by shouting or broadcasting,

13 “40mm Standby!”

14          93.     The inadequate training includes the failure to teach officers not to deploy a
15 40mm LLL at a fleeing subject.

16          94.     The inadequate training incudes the failure to teach officers to document the use
17 of a 40mm LLL, when a round strikes a person, according to established Department

18 procedures on the Non-Categorical Use of Force Report.

19          95.     The inadequate training includes the failure to teach officers how to recognize
20 when a suspect or subject is violently resisting arrest or possesses an immediate threat of

21 violence or physical harm.

22          96.     The inadequate training includes the failure to teach officers that LLL options
23 shall not be used for a suspect who is passively resisting or merely failing to comply with

24 commands.

25          97.     The failure of Defendant City to provide adequate training caused the
26 deprivation of Plaintiff’s rights by Defendants DOE Officers; that is Defendants’ failure to
27 train is so closely related to the deprivation of the Plaintiff’s rights as to be the moving force

28 that caused the ultimate injury.

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 1          98.     By failing to provide adequate training to the City’s police officers, including
 2 DOE police officers who failed to report the incident, Defendant’s acted with an intentional,

 3 reckless, and callous disregard for the life of the Plaintiff and the Plaintiff’s constitutional

 4 rights. Each of the Defendant and DOE officers’ actions were willful, wanton, oppressive,

 5 malicious, fraudulent, and extremely offensive and unconscionable to any person of normal

 6 sensibilities.

 7          99.     On information and belief, City failed to train DOE Officers properly and
 8 adequately.

 9          100.    By reason of the aforementioned acts and omissions, Plaintiff has suffered the
10 loss of his right eye, a blow-out fracture, blunt eye trauma, an eyelid laceration, a ruptured

11 globe, and significant trauma. Additionally, Plaintiff incurred medical expenses.

12          101.    Accordingly, Defendants City and DOE Officers each are liable to Plaintiff for
13 compensatory damages under 42 U.S.C. § 1983.

14          102.    Plaintiff also seeks statutory attorney fees under this claim.
15                                  FOURTH CAUSE OF ACTION
16                   FOURTH AMENDMENT – EXCESSIVE FORCE (42 USC § 1983)
17          103.    Plaintiff realleges and incorporates by reference all paragraphs previously
18 alleged as though they are set forth in full herein.

19          104.    Defendant, City and DOE Police Officer’s unjustified shooting deprived
20 Plaintiff of his right to be secure in his person against unreasonable searches and seizures as

21 guaranteed to Plaintiff under the Fourth Amendment to the United States Constitution and

22 applied to state actors by the Fourteenth Amendment.

23          105.    The unreasonable use of force by Defendant DOE Officers deprived the
24 Plaintiff of his right to be secure in his person against unreasonable searches and seizures as

25 guaranteed to Plaintiff under the Fourth Amendment to the United States Constitution and

26 applied to state actors by the Fourteenth Amendment.
27          106.    As a result, Plaintiff suffered extreme mental and physical pain and suffering,
28 loss of enjoyment of life, the loss of his right eye, a blow-out fracture, blunt eye trauma, an

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 1 eyelid laceration, a ruptured globe, and significant trauma. Additionally, Plaintiff was caused to

 2 incur medical expenses.

 3          107.    As a result of the conduct of Defendant DOE Police Officers, they are liable for
 4 the Plaintiff’s injuries because they were integral participants in the excessive force.

 5          108.    The use of Less-Lethal force was excessive because this was not a situation
 6 where an officer reasonably believes that a suspect or subject is violently resisting arrest or

 7 possess an immediate threat of violence or physical harm. Additionally, the use of Less-Lethal

 8 force options, specifically 40mm LLL, shall not be used for a suspect who is passively resisting

 9 or merely failing to comply with commands.

10          109.    The use of Less-Lethal force was excessive and unreasonable under the
11 circumstances, especially since Plaintiff was not violently resisting arrest nor did Plaintiff

12 possess an immediate threat of violence or physical harm. Moreover, Plaintiff was not trying to

13 flee from the scene; as Plaintiff was standing near a food vendors truck, when Plaintiff saw a

14 crowd run past him from the officers holding the 40mm LLL. The involved officers fired

15 approximately three (3) times, the first projectile whizzing over the Plaintiff’s head; the second

16 projectile slicing another bystanders’ lip; and the third projectile bursting the eye of Plaintiff.

17 Defendants’ actions thus deprived Plaintiff of his right to be free from unreasonable searches

18 and seizures under the Fourth Amendment and applied to state actors by the Fourteenth

19 Amendment.

20          110.    The conduct of Defendant DOE Police Officers was willful, wanton, malicious,
21 and done with reckless disregard for the rights and safety of Plaintiff and therefore warrants the

22 imposition of exemplary and punitive damages as to Defendant DOE Police Officers who were

23 employed by Defendant City.

24          111.    Plaintiff also seeks attorney fees under this claim.
25                                     FIFTH CAUSE OF ACTION
26                         SUBSTANTIVE DUE PROCESS (42 USC § 1983)
27          112.    Plaintiff realleges and incorporates by reference all paragraphs previously
28 alleged as though they are set forth in full herein.

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 1            113.   Plaintiff had a cognizable interest under the Due Process Clause of the
 2 Fourteenth Amendment of the United States Constitution to be free from state actions that

 3 deprive him of life, liberty, or property in such a manner as to shock the conscience, including

 4 but not limited to, unwarranted state interference in Plaintiff’s bodily rights and bodily

 5 autonomy, specifically Plaintiff’s eye. The principal of bodily rights and bodily autonomy is

 6 that no material may be taken from a person’s body without due process of law.

 7            114.   As a result of excessive force by Defendant DOE officers, Plaintiff lost an eye.
 8 Additionally, as a result of excessive force by Defendant DOE Police Officers, Plaintiff has

 9 lost enjoyment of life as promised under the Due Process Clause of the Fourteenth Amendment

10 of the United States Constitution to be free from state actions that deprive Plaintiff of life and

11 liberty.

12            115.   Plaintiff brings this claim individually for the violation of Plaintiff’s rights.
13            116.   Plaintiff also seeks attorney fees under this claim.
14                                     SIXTH CAUSE OF ACTION
15         FOURTH AMENDMENT – DENIAL OF MEDICAL CARE (42 USC § 1983)
16            117.   Plaintiff realleges and incorporates by reference all paragraphs previously
17 alleged as though they are set forth in full herein.

18            118.   The denial of medical care by Defendant LAPD and CHP DOE Officers
19 deprived Plaintiff of his right to be secure in his person against unreasonable searches and

20 seizures as guaranteed to Plaintiff under the Fourth Amendment to the United States

21 Constitution and applied to state actors by the Fourteenth Amendment.

22            119.   As a result, Plaintiff suffered extreme mental and physical pain and suffering
23 loss of enjoyment of life, the loss of his right eye, a blow-out fracture, blunt eye trauma, an

24 eyelid laceration, a ruptured globe, and significant trauma. Additionally, Plaintiff incurred

25 medical expenses.

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 1          120.    Defendant LAPD and CHP DOE Police Officers knew that failure to provide
 2 timely medical treatment to Plaintiff could result in further significant injury or unnecessary

 3 and wanton infliction of pain, but disregarded the serious medical need, which ultimately

 4 caused Plaintiff great bodily harm.

 5          121.    After shooting Plaintiff with 40mm LLL, Plaintiff’s brother Michael and April
 6 pleaded for officers to help or to allow them to walk in the direction of their home. However,

 7 Defendant LAPD and CHP DOE Officers told them to sit in the adjacent parking lot as one

 8 deputy indicated that he had called an ambulance. The Gonzalez Family waited for about thirty

 9 (30) minutes as the officers forbade them from walking further toward Plaintiff’s home and

10 seeking medical attention.

11          122.    Plaintiff also seeks attorney’s fees under this claim.
12                                  SEVENTH CAUSE OF ACTION
13          Municipal Liability for Unconstitutional Custom or Policy (42 USC § 1983)
14          123.    Plaintiff realleges and incorporates by reference all paragraphs previously alleged
15 as though they are set forth in full herein.

16          124.    On and for some time prior to October 11, 2020 (and continuing to the present
17 date) Defendants DOES 1-100, deprived Plaintiffs of the rights and liberties secured to them by

18 the Fourth and Fourteenth Amendments to the United States Constitution, in that said defendants

19 and their supervising and managerial employees, agents, and representatives, acting with gross

20 negligence and with reckless and deliberate indifference to the rights and liberties of the public

21 in general, and of Plaintiffs, and of persons in their class, situation and comparable position in

22 particular, knowingly maintained, enforced, and applied an official recognized custom, policy

23 and practice of:

24                              (a) Employing and retaining as police officers and other personnel,
25                      Defendant DOES Officers 1-100, at all times material herein knew or
26                      reasonably should have known had dangerous propensities for abusing their
27                      authority and for mistreating citizens by failing to follow written CITY Police
28                      Department policies;
                                                    - 22 -
                                     SECONDAMENDED COMPLAINT
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 1                              (b) Of inadequately supervising, training, controlling, assigning, and
 2                      disciplining CITY Police Officers, and other personnel, who Defendant CITY
 3                      knew or in the exercise of reasonable care should have known had the
 4                      aforementioned propensities and character traits;
 5                              (c) By failing to adequately train officers and failing to institute
 6                      appropriate policies regarding the use of excessive force, including deadly
 7                      and less-lethal force;
 8                              (d) By having and maintaining an unconstitutional policy, custom,
 9                      and practice of using excessive force, including deadly force, which also is
10                      demonstrated by inadequate training regarding these subjects. The policies,
11                      customs, and practices of DOES 5-10 and CITY, were done with a deliberate
12                      indifference to individuals’ safety and rights; and
13                              (e) Of totally inadequately training CITY Police Officers, with
14                      respect to firing projectiles at unarmed individuals, including, but not limited
15                      to, individuals standing on public sidewalks and participating in protected
16                      activity.
17          125.    By reason of the aforementioned policies and practices of Defendants, Plaintiff
18 was severely injured and subjected to pain and suffering and ultimately lost his eye.

19          126.    Defendants together with various other officials, whether named or unnamed, had
20 either actual or constructive knowledge of the deficient policies, practices and customs alleged

21 in the paragraphs above. Despite having knowledge as stated above these defendants condoned,

22 tolerated and through actions and inactions ratified such polices. Said Defendants also acted with

23 deliberate indifference to the foreseeable effects and consequences of these policies with respect

24 to the constitutional rights of Plaintiff and other individuals similarly situated.

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                                      SECONDAMENDED COMPLAINT
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 1          127.    By perpetrating, sanctioning, tolerating, and ratifying the outrageous conduct and
 2 other wrongful acts, Defendants acted with an intentional, reckless, and callous disregard for

 3 safety of Plaintiff, and Plaintiff’s constitutional rights. Defendants each of their actions were

 4 willful, wanton, oppressive, malicious, fraudulent, and extremely offensive and unconscionable

 5 to any person of normal sensibilities.

 6          128.    Furthermore, the policies, practices, and customs implemented and maintained
 7 and still tolerated by Defendants were affirmatively linked to and were a significantly influential

 8 force behind the injuries of Plaintiff and Plaintiffs.

 9          129.    Accordingly, Defendants each are liable to Plaintiff and Plaintiffs for
10 compensatory damages under 42 U.S.C. § 1983

11          130.    Plaintiffs also seek attorney’s fees under this claim.
12                                  EIGHTH CAUSE OF ACTION
13                               Violations to Fourteenth Amendment
14          131.    Plaintiff realleges and incorporates by reference all paragraphs previously
15 alleged as though they are set forth in full herein.

16          132.    The Due Process Clause of the Fourteenth Amendment applies to the state and
17 is exactly like a similar provision in the Fifth Amendment, which only restricts the federal

18 government. It states that no person shall be “deprived of life, liberty, or property without due

19 process of law.” Usually, “due process” refers to fair procedures.

20          133.    “Fair procedures” do not include countless failures of state police protocol.
21          134.    A detainee is one who is held in custody. Here, Plaintiff was a detainee at the
22 subject location on the day in question as he was unable to reasonably escape the environment

23 due to the presence and orders of Defendants, which therefore placed Plaintiff in the custody of

24 Defendants.

25          135.    Plaintiff was deprived of life, liberty, and property at the hands of the LAPD
26 and CHP.
27 ///

28 ///

                                                    - 24 -
                                     SECONDAMENDED COMPLAINT
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 1           136.    Plaintiff was imposed an unduly harsh penalty in the form of permanently
 2 losing his right eye and all the permanent negative impact it has and will continue to have for

 3 the rest of Plaintiff’s life.

 4           137.    Plaintiff’s life is permanently altered, his liberties were restricted while LAPD
 5 and CHP were forcing Plaintiff to walk a particular path in an otherwise public location with a

 6 40mm LLL round where his right eye used to be, and his property interest in his own body was

 7 absolutely affected in that he no longer has a right eye.

 8           138.    The absolute willful and reckless disregard by these state Officers lead to the
 9 clear violation of Plaintiff’s Fourteenth Amendment right, among the countless others as

10 detailed here.

11                                    NINTH CAUSE OF ACTION
12                             Intentional Infliction of Emotional Distress
13           139.    Plaintiff realleges and incorporates by reference all paragraphs previously
14 alleged as though they are set forth in full herein.

15           140.    Defendants City of Los Angeles, Los Angeles Police Department, Michael
16 Moore individually and in his capacity as Chief of Police of the City of Los Angeles, and

17 DOES 1 to 100 inclusive had a duty to Mr. Gonzalez not to cause Plaintiff emotional distress.

18           141.    As described above, the conduct of defendants and their agents/employees was
19 outrageous and done so intentionally or with reckless disregard. Specifically, Defendants’

20 careless mishandling of the events that transpired that day and failure to follow police protocol

21 resulted in absolute outrageous conduct in firing supposedly non-lethal rounds into a crowd

22 filled with innocent bystanders. The absolute intentional and reckless disregard in these actions

23 lead directly to Plaintiff’s permanent eye loss and emotional distress that arose due to the

24 unbelievably traumatic event.

25           142.    As a direct result of Defendants’ breach of duty, Mr. Gonzalez was forced to
26 experience and suffer from intimidation, fear, personal physical injury, severe and ongoing pain,
27 embarrassment, and severe emotional distress and mental anguish.

28 ///

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                                      SECONDAMENDED COMPLAINT
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 1          143.    Defendants knew that their conduct would result in Mr. Gonzalez’s severe
 2 emotional distress, and said conduct was perpetrated by defendants with the intent to inflict, or

 3 with reckless disregard of the probability of inflicting humiliation, mental anguish, and severe

 4 emotional distress upon plaintiff. Such conduct did, in fact, result in severe emotional distress

 5 on plaintiff.

 6          144.    As a direct and proximate result of Defendants’ conduct as set forth above,
 7 Plaintiff suffered permanent bodily injury and present and future economic losses in amounts to

 8 be determined by proof at trial.

 9          145.    Defendants Michael Moore and Defendant Los Angeles Police Department, by
10 the acts of its managing agents, officers and/or directors in the aforementioned acts and/or

11 ratifying such acts, engaged in willful, malicious, intentional, oppressive and despicable conduct,

12 and acted with willful and conscious disregard of the rights, welfare and safety of Mr. Gonzalez,

13 thereby justifying the award of punitive and exemplary damages, against Defendants, and each

14 of them, in an amount to be determined at trial.

15                                    TENTH CAUSE OF ACTION
16                             Negligent Infliction of Emotional Distress
17          146.    Plaintiff realleges and incorporates by reference all paragraphs previously alleged
18 as though they are set forth in full herein.

19          147.    Defendants City of Los Angeles, Los Angeles Police Department, DOES 1 to 100
20 negligently caused physical injury to Plaintiff when Defendant’s discharged their 40mm LLL,

21 striking Plaintiff in the eye. The use of the 40mm LLL targeted at the head or eyes is not

22 authorized unless lethal force is authorized. As a result, the use of a Less-Lethal 40mm, at the

23 head of Plaintiff was excessive, unreasonable and Defendants were negligent in discharging their

24 weapons at Plaintiff, including pre-shooting negligent conduct, actions, inactions and tactics.

25          148.    Plaintiff, Michael Gonzalez was present at the scene, when Defendant CITY and
26 Defendant DOE Officers 1-100 discharged their firearms at William Gonzalez and Michael was
27 aware that Mr. Gonzalez was being injured.

28          149.    As a result of being present at the scene and perceiving his brother being shot by
                                                   - 26 -
                                      SECONDAMENDED COMPLAINT
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 1 Defendant CITY and Defendant DOE Officers 1-100, Michael suffered serious emotional

 2 distress, including but not limited to anguish, fright, horror, nervousness, grief, anxiety, worry,

 3 shock, humiliation, and shame.

 4          150.    On information and belief, any ordinary reasonable person would be unable to
 5 cope with seeing their brother shot in the eye and having his eye blown out by the police.

 6          151.    Defendants are liable to Plaintiff pursuant to, among other statutes, Government
 7 Code §§ 815.2, 815.4, 815.6, 820, and 835.

 8          152.    Plaintiff Michael Gonzalez brings this claim individually and seeks damages
 9 under this claim as an individual.

10                                ELEVENTH CAUSE OF ACTION
11                                              Negligence
12          153.    Plaintiff realleges and incorporates by reference all paragraphs previously
13 alleged as though they are set forth in full herein.

14          154.    Defendant Michel Moore, as general manager of the Los Angeles Police
15 Department, had a duty to Mr. Gonzalez, under the authority of the Board of Police

16 Commissioners, to act as a reasonable chief executive police officer to oversee the police

17 department’s operation, but negligently failed on the night of October 11, 2020 to plan,

18 coordinate, and direct all activities in the area of 9th and Flower to protect persons.

19          155.    Defendant Los Angeles Police Department, and each of their police officers,
20 had a duty to Mr. Gonzalez under the high standards of police officers to follow police protocol

21 in the use of force but negligently failed to follow police policies and procedures when they

22 shot their LLL hard-foam bullets into the crowd indiscriminately and at all directions. They

23 failed to isolate unlawful persons. They failed to target specific individuals when they fired

24 their 40mm LLL.

25          156.    Defendant California Highway Patrol, and each of their officers, failed to
26 reasonably assess Plaintiff’s injuries as uniformed officers came into contact with Plaintiff and
27 the Gonzalez Family as the California Highway Patrol officers were assisting with crowd

28 control functions.

                                                    - 27 -
                                     SECONDAMENDED COMPLAINT
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 1          157.    Defendant Los Angeles County Sheriff’s Department, and each of their deputies
 2 failed to reasonably assess Plaintiff’s injuries as uniformed officers came into contact with

 3 Plaintiff and the Gonzalez Family. Instead of requesting medical assistance as was necessary

 4 given the obvious head trauma to Plaintiff, Los Angeles County Sheriff’s Department deputies

 5 instead made Plaintiff and the Gonzalez Family believe the deputies had requested an

 6 ambulance which made Plaintiff wait for an unreasonable duration of time which aggravated

 7 Plaintiff’s injuries.

 8          158.    Defendants are liable to Plaintiff pursuant to, among other statutes, Government
 9 Code §§ 815.2, 815.4, 815.6, 820, and 835.

10          159.    As a further direct and proximate result of the negligence of Defendants as set
11 forth above, Plaintiff suffered permanent bodily injury and present and future economic losses

12 in amounts to be determined by proof at trial.

13          160.    As a further direct and proximate result of the negligence of Defendants as set
14 forth above, Mr. Gonzalez suffered serious emotional distress, and that the negligence of

15 Defendants was a substantial factor in causing Mr. Gonzalez’s serious emotional anguish at the

16 physical trauma he experienced as well as permanent loss of use of his right eye.

17                                 TWELFTH CAUSE OF ACTION
18                                               Assault
19          161.    Plaintiff realleges and incorporates by reference all paragraphs previously
20 alleged as though they are set forth in full herein.

21          162.    On or around the night of October 11, 2020 or around midnight October 12,
22 2020, uniformed LAPD officers marched toward Plaintiff’s direction with weapons held high

23 and pointed in his direction.

24          163.    Defendants intended to cause and did cause Plaintiff to suffer apprehension of
25 an immediate harmful contact. The officer’s firing directly into a crowd of innocent bystanders,

26 including Plaintiff, all done while the officer was acting within the scope of his employment as
27 a City of Los Angeles police officer, shows a clear intent to cause Plaintiff to suffer

28 apprehension of an immediate harmful contact. The harmful contact being in the form of the

                                                    - 28 -
                                     SECONDAMENDED COMPLAINT
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 1 LLL round being fired directly at head-level, completely against police protocol, which

 2 ultimately resulted in the intended harmful contact occurring and causing Plaintiff’s eye to

 3 essentially explode.

 4           164.   Defendants are liable to Plaintiff pursuant to, among other statutes, Government
 5 Code §§ 815.2, 815.4, 815.6, 820, and 835.

 6           165.   As a direct and proximate result of Defendants’ conduct as set forth above,
 7 Plaintiff suffered permanent bodily injury and present and future economic losses in amounts

 8 to be determined by proof at trial.

 9                              THIRTEENTH CAUSE OF ACTION
10                                               Battery
11           166.   Plaintiff realleges and incorporates by reference all paragraphs previously
12 alleged as though they are set forth in full herein.

13           167.   On the night of October 11, 2020 or midnight hour of October 12, 2020,
14 Defendants shot out LLL munitions into the vicinity of 9th and Flower above the waistline level

15 of non-specific suspects.

16           168.   Mr. Gonzalez was struck in the right eye by one such hard-foam projectile.
17           169.   Defendants intended to cause and did cause a harmful contact with Plaintiff’s
18 person.

19           170.   Plaintiff did not consent to Defendants’ act.
20           171.   Defendants are liable to Plaintiff pursuant to, among other statutes, Government
21 Code §§ 815.2, 815.4, 815.6, 820, and 835.

22           172.   As a direct and proximate result of Defendants’ conduct as set forth above,
23 Plaintiff suffered permanent bodily injury and present and future economic losses in amounts

24 to be determined by proof at trial.

25           173.   Defendants Michael Moore and DOE Officers actions were done knowingly,
26 willfully, and with malicious intent, and Plaintiff is entitled to punitive damages in an amount to
27 be determined by proof at trial.

28 ///

                                                   - 29 -
                                      SECONDAMENDED COMPLAINT
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 1                              FOURTEENTH CAUSE OF ACTION
 2           Civil Supervisorial Responsibility for Violations of Plaintiff’s Civil Rights
 3                                     pursuant to 42 USC § 1998
 4          174.    Plaintiff realleges and incorporates by reference all paragraphs previously
 5 alleged as though they are set forth in full herein.

 6          175.    Defendants failed to adequately train, supervise, discipline and in any other way
 7 control DOE and other unnamed police officers sued as DOES 1 to 100 in the exercise of their

 8 duties as LAPD officers.

 9          176.    Defendants and DOES 1 to 100 are directly liable and responsible for the
10 actions of DOE and the other unnamed police officers that violated Plaintiff’s civil rights

11 because they repeatedly, knowingly, and intelligently, failed to enforce the laws of the State of

12 California in the regulations of the police departments themselves, thereby creating within the

13 department, an atmosphere of lawlessness in which officers engaged in violations of civil

14 rights as set forth in the factual allegations. Defendants knew or by the exercise of reasonable

15 care should have known of such unlawful acts and practices prior to and at the time of

16 Plaintiff’s injuries.

17          177.    Defendants and DOES 1 through 100, were also negligent in failing to provide
18 DOE and other unnamed officers identified as DOES 1 to 100 proper and adequate training

19 necessary to carry out their duties with due care so that these police officers could foreseeably

20 be expected to perform in the course of their employment with Defendant CITY OF LOS

21 ANGELES and LAPD. DOE and other DOE Defendants received inadequate training in the

22 proper use of force. As the direct and proximate result of this failure to provide such training,

23 Plaintiff suffered injuries and damages

24          178.    Defendant and DOES 1 to 100 have a duty to exercise due care in the hiring,
25 selection, training, supervising, oversight, direction, investigation, rewarding, discipline and

26 control of their officers, employees and agents.
27          179.    Defendants and DOES 51 through 100 breached that duty intentionally,
28 purposely, knowingly, recklessly, and deliberately and with deliberate indifference, with gross

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                                     SECONDAMENDED COMPLAINT
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 1 negligence, and/or negligently and without regard to human safety. Said defendants knew, or

 2 should have known, and had actual, implied or constructive notice of the tortious, misfeasance,

 3 and nonfeasance leading up to acts and omissions of the other defendants, officers and

 4 employees, and had the power to take reasonable steps to prevent or aid in the prevention of

 5 said tortious acts and/or omissions.

 6          180.   In the exercise of due diligence, Defendants could have taken preventive action.
 7          181.   As a direct and proximate result of that breach of duty, Plaintiff suffered
 8 physical injury, pain and suffering, fear, intimidation, severe mental anguish, humiliation,

 9 degradation, and emotional distress and was deprived of his rights guaranteed by the Eighth

10 and Fourteenth Amendments of the United States Constitution. Plaintiff has incurred damages

11 for which Defendants, and each of them, are liable because of the breach of duty described

12 above, and the violations of 42 USC § 1983.

13          182.   As a further direct and proximate result of the negligence of Defendants as set
14 forth above, Mr. Gonzalez suffered serious emotional distress, and that the negligence of

15 Defendants was a substantial factor in causing Mr. Gonzalez’s serious emotional anguish at the

16 physical trauma he experienced as well as his disfigurement and permanent loss of use of his

17 right eye.

18                                       PRAYER FOR RELIEF
19          WHEREFORE, Plaintiff respectfully requests for judgment against Defendants, and
20 each of them, on all causes of action, as follows:

21          1.     A judgment in favor of Plaintiffs;
22          2.     For general damages in an amount in excess of the jurisdictional minimum,
23                 according to proof;
24          3.     For special damages in an amount in excess of the jurisdiction minimum,
25                 according to proof;
26          4.     For treble damages under Civil Code Section 52.
27          5.     For Punitive damages pursuant to Civ. Code § 52, subd. (b)(1);
28          6.     A statutory civil penalty of $25,000 pursuant to Civ. Code § 52, subd. (b)(2);
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                                    SECONDAMENDED COMPLAINT
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 1          7.     A preliminary injunction against Defendants, and each of them, enjoining
 2                 Defendants to follow police policy and procedure in the use of Less-Lethal force;
 3                 and to refrain from firing Less-Lethal force indiscriminately into crowds or above
 4                 the waistline;
 5          8.     A permanent injunction against Defendants, and each of them, enjoining
 6                 Defendants from firing LLL rounds indiscriminately into crowds or above the
 7                 waistline;
 8          9.     For costs of this suit and attorneys’ fees allowable under the law;
 9          10.    Actual damages;
10          11.    Pre-judgment interest and post-judgment interest to the extent allowed by law;
11                 and
12          12.    For such other and further relief as the Court deems just, necessary, and proper.
13                                   DEMAND FOR JURY TRIAL
14          Plaintiffs hereby demand a trial by jury to the full extent permitted by law for all claims
15 and causes of action in this lawsuit.

16

17          DATED this 15th day of Decemeber, 2021
18
                                                  DRE, A.P.C.
19

20

21                                            By:_______________________________________
                                                 Darren M. Richie, Esq.
22                                               Antonio Castillo III, Esq.
23                                               Ethan Brown, Esq.
                                                 Attorneys for Plaintiffs,
24                                               WILLIAM GONZALEZ and MICHAEL
                                                 GONZALEZ
25

26
27

28

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                                     SECONDAMENDED COMPLAINT
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                                  #:168




                    EXHIBIT “1”
  Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 160 of 181 Page ID
                                    #:169
                             COUNTY OF LOS ANGELES
                             OFFICE OF THE COUNTY COUNSEL
                                 648 KENNETH HAHN HALL OF ADMINISTRATION
                                         , 500 WEST TEMPLE STREET.. :·, .
                                    LOS ANGELES, CALIFORNIA 90012-2713                  TELEPHONE
                                                                                        (213) 974-8208
                                                                                        FACSIMILE
RODRIGO A. CASTRO-SILVA
    County Counsel                                                                      (213) 687-8822
                                            February 10, 2021
                                                                                        TDD
                                                                                        (213) 633-090 I




           Kristen J. Mason, Esq.
           DRE,APC
           206 West 4th Street, Suite 330
           Santa Ana, California 92701

                   Re:       Claim Presented:                       December 22, 2020
                             Amendment Presented:                   December 22, 2020
                             File Number:                           XX-XXXXXXX*001
                             Your Client:                           William Gonzalez


           Dear Counselor:

            ;      Notice is hereby given that the claim that you presented to the
           County of Los Angeles, Board of Supervisors on December 22, 2020, was
           rejected on February 9, 2021.

                  •An investigation of this matter fails to indicate any involvement on the
           part of the County of Los Angeles, its officers, agents, or employees.
           Accordingly, your claim was rejected on that basis. No further action will be
           taken on this matter.

                                                WARNING

                   Subject to certain exceptions, you have only six (6) months from the date
           this notice was personally delivered or deposited in the mail to file a court action
           on this claim. See Government Code Section 945.6.

                   This time limitation applies only to causes of action for which
           Government Code Sections 900 - 915.4 require you to present a claim. Other
           causes of action, including those arising under federal law, may have different
           time limitations.




           HOA.103146295.l
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                                  #:170


      Kristen J. Mason, Esq.
      February 10, 2021
      Page2




             You may seek the advice of an attorney of your choice in connection with
      this matter. If you desire to consult an attorney, you should do so immediately.

                                               Very truly yours,

                                               RODRIGO A. CASTRO-SILVA




                                                   Deputy County Counsel
                                                   Litigation Monitoring Team

       JCR:ce




       HOA.103146295.1
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                                  #:171



   1                                            PROOF OF SERVICE

   2                                           File No. XX-XXXXXXX*001

   3   STATE OF CALIFORNIA, County of Los Angeles:

   4        Carolyn Edwards states: I am employed in the County of Los Angeles, State of California,
     over the age of eighteen years and not a party to the within action. My business address is 648
   5 Kenneth Hahn Hall of Administration, 500 West Temple Street, Los Angeles, California 90012-
     2713.
   6
   7
               That on February /       0, 2021, I served-the attached
                                           NOTICE OF DENIAL LETTER
   8
               upon Interested Party(ies) by placing 00 the original O a true copy thereof enclosed in a
   9 sealed envelope addressed 00 as follows       □ as stated on-the attached service list:

  10                      Kristen J. Mason, Esq.
                          DRE,APC
  11                      206 West 4th Street, Suite 330
                          Santa Ana, California 92701
  12
                          By United States mail. I enclosed the documents in a sealed envelope or package
  13                      addressed to the persons at the addresses on the attached service list (specify one):

  14            (1) 0 deposited the sealed envelope with the United States Postal Service, with the
                      postage fully prepaid.
  15
                (2) 00 placed the envelope for collection and mailing, following ordinary business
  16                   practices. I am readily familiar with this business's practice for collecting and
                       processing correspondence for mailing. On the same day that correspondence is
  17                   placed for collection and mailing, it is deposited in the ordinary course of business
                       with the United States Postal Service, in a sealed envelope with postage fully
  18                   prepaid.

  19                      I am a resident or employed in the county where the mailing occurred. The
                          envelope or package was placed in the mail at Los Angeles, California:
  20
              I declare under penalty of perjury under the laws of the State of California that the
  21   foregoing is true and correct.

  22            Executed on February /       0, 2021, at Los An
  23
  24                Carolyn Edwards
                (NAME OF DECLARANT)
  25

  26

  27
  28


       HOA.103146303 .1
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                    EXHIBIT “2”
   Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 164 of 181 Page ID
                                     #:173
                             COUNTY OF LOS ANGELES
                             OFFICE OF THE COUNTY COUNSEL
                                 648 KENNETH HAHN HALL OF ADMINISTRATION
                                          500 WEST TEMPLE STREET
                                    LOS ANGELES, CALIFORNIA 900 I 2-2 713              TELEPHONE
                                                                                       (213) 974-1913
                                                                                       FACSIMILE
RODRIGO A. CASTRO-SILVA
                                                                                       (213) 687-8822
    County Counsel                          February 10, 2021
                                                                                       TDD
                                                                                       (213) 633.-0901




           Kristen J, Mason, Esq.
           DRE,APC
           206 West 4th Street, Suite 330
           Santa Ana, California 92701

                   Re:       Claim Presented:                      December 22, 2020
                             Amendment Presented:                  December 22, 2020
                             File Number:                          XX-XXXXXXX*001
                             Your Client:                          William Gonzalez


           Dear Counselor:

                   This letter is to inform you that the claim that you presented to the
           County of Los Angeles, Board of Supervisors on December 22, 2020, arises from
           an event or occurrence that in no way involves the County of Los Angeles (the
           "County"). An investigation of this matter fails to indicate any involvement on
           the part of the County, its officers, agents, or employees. Accordingly, the
           County will be rejecting the claim on that basis.

                  It is not the intention of this letter to deter the filing of a lawsuit against
           the County, its officers, agents, or employees where there is a justifiable
           controversy under the facts and law. However, in this case, it does not appear that
           a lawsuit against the County, its officers, agents, or employees is warranted.

                   In considering your future course of action, we remind you of the
           provisions of Section 103 8 of the Code of Civil Procedure. Please be advised that
           the County will seek the remedies afforded by that Section in the course of
           defending against any subsequent litigation brought without reasonable cause or
           in bad faith.




           HOA.103146339.1
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                                  #:174


       Kristen J. Mason, Esq.
       January 28, 2021
       Page 2


              You may seek the advice of an attorney of your choice in connection with
       this matter. If you desire to consult an attorney, you should do so immediately.

                                                Very truly yours,

                                                             . ASTRO-SIL VA


                                                               I ~
                                                By
                                                             AC. RIVAS
                                                     Deputy County Counsel
                                                     Litigation Monitoring Team

       JCR:ce




       HOA.103146339.1
.   \   ...   Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 166 of 181 Page ID
                                                #:175



                1                                            PROOF OF SERVICE

                2                                           FileNo.XX-XXXXXXX*001

                3    STATE OF CALIFORNIA, County of Los Angeles:

                4           Carolyn Edwards states: I_am employed in the County of Los Angeles, State of California,
                     over the age of eighteen years and not a party to the within action. My business address is 648
                5    Kenneth Hahn Hall of Administration, 500 West Temple Street, Los Angeles, California 90012-

                6
                     2713.                          D
                             That on February/_ _, 2021, I served the attached
                7
                                                     NOTICE OF 1038 DENIAL LETTER
                 8
                             upon Interested Party(ies) by placing ~ the original □ a true copy thereof enclosed in a
                 9   sealed envelope addressed ~ as follows □ as stated on the attached service list:

                10                     Kristen J. Mason, Esq.
                                       DRE,APC
                11                     206 West 4th Street, Suite 330
                                       Santa Ana, California 92701
                12
                                       By United States mail. I enclosed the documents in a sealed envelope or package
                13                     addressed to the persons at the addresses on the attached service list (specify one):

                14           (1) D deposited the sealed envelope with the United States Postal Service, with the
                                   postage fully prepaid.
                15
                             (2)   ~   placed the envelope for collection and mailing, following ordinary business
                16                     practices. I am readily familiar with this business's practice for collecting and
                                       processing correspondence for mailing. On the same day that correspondence is
                17                     placed for collection and mailing, it is deposited in the ordinary course of business
                                       with the United States Postal Service, in a sealed envelope with postage fully
                18                     prepaid.

                19                     I am a resident or employed in the county where the mailing occurred. The
                                       envelope or package was placed in the mail at Los Angeles, California:
                20
                            I declare under penalty of perjury under the laws of the State of California that the
                21   foregoing is true and correct.    ()

                22           Executed on February       Lf)_, 2021, at Los Angeles, California.
                23
                24               Carol yn Edwards
                             (NAME OF DECLARANT)
                25

                26

                27

                28


                     HOA.103146312.1
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 167 of 181 Page ID
                                  #:176




                    EXHIBIT “3”
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 168 of 181 Page ID
                                  #:177




                                               MICHAEL N. FEUER
                                                     CflY ATTORNEY
 February 3, 2021

 Kristen J. Mason
 206 W. 4th St, Ste. 300
 Santa Ana, CA 92701

      RE:          Our Claim No.: C21-02543
               Your Client/Insured: William Gonzalez
                     Date of Loss: 10/11/2020

 Dear Sir/Madam:

 The subject claim against the City has been referred to this office.

 After reviewing the circumstances of the claim and the applicable law, it has been determined
 that the claim should be denied.

 This letter represents a formal notice to you that said claim has been denied. In view of this
 action, we are required by law to give you the following warning:

                                                ***WARNING***

            "Subject to certain exceptions, you have only six (6) months from the
            date this notice was personally delivered or deposited in the mail to file
            a court action alleging state causes of action. The time within which
            federal causes of action must be filed is governed by federal statutes."

            "You may seek the advice of an attorney of your choice in connection
            with this matter. If you desire to consult an attorney, you should do so
            immediately."




                                                 Chief Investigator

 BRSAM : FPOTCH
 Telephone: 213-978-7081
 Enclosure(s)




            City Hall East 200 N. Main Street Room 600 Los Angeles, CA 90012 (213) 978-7050 Fax (213) 978-7114
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 169 of 181 Page ID
                                  #:178




                                PROOF OF SERVICE BY MAIL


 I, Fern Potchana, declare as follows:

 I am over the age of 18 years and not a party to this action. My business address is 200 North
 Main Street, Room 600, City Hall East, Los Angeles, California 90012, which is located in the
 county where the mailing described below took place.

 I am readily familiar with the business practice at my place of business for collection and
 processing correspondence for mailing via the United States Postal Service. Correspondence so
 collected and processed is deposited with the United States Postal Service that same day in the
 ordinary course of business.

 On February 3, 2021, at my place of business at Los Angeles, California, I mailed a Denial
 Letter for Claim Number C21-02543 by placing it, with postage thereon fully prepaid, for
 collection and mailing via the United States mail addressed as follows:


                                            Kristen J. Mason
                                         206 W. 4th St, Ste. 300
                                          Santa Ana, CA 92701



 I declare under penalty of perjury that the following is true and correct. Executed on February 3,
 2021, at Los Angeles, California.
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 170 of 181 Page ID
                                  #:179




                    EXHIBIT “4”
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 171 of 181 Page ID
                                  #:180




                                               MICHAEL N. FEUER
                                                     CflY ATTORNEY
 February 3, 2021

 Kristen J. Mason
 206 W. 4th St, Ste. 300
 Santa Ana, CA 92701

      RE:          Our Claim No.: C21-02543
               Your Client/Insured: William Gonzalez
                     Date of Loss: 10/11/2020

 Dear Sir/Madam:

 The subject claim against the City has been referred to this office.

 After reviewing the circumstances of the claim and the applicable law, it has been determined
 that the claim should be denied.

 This letter represents a formal notice to you that said claim has been denied. In view of this
 action, we are required by law to give you the following warning:

                                                ***WARNING***

            "Subject to certain exceptions, you have only six (6) months from the
            date this notice was personally delivered or deposited in the mail to file
            a court action alleging state causes of action. The time within which
            federal causes of action must be filed is governed by federal statutes."

            "You may seek the advice of an attorney of your choice in connection
            with this matter. If you desire to consult an attorney, you should do so
            immediately."




                                                 Chief Investigator

 BRSAM : FPOTCH
 Telephone: 213-978-7081
 Enclosure(s)




            City Hall East 200 N. Main Street Room 600 Los Angeles, CA 90012 (213) 978-7050 Fax (213) 978-7114
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 172 of 181 Page ID
                                  #:181




                                PROOF OF SERVICE BY MAIL


 I, Fern Potchana, declare as follows:

 I am over the age of 18 years and not a party to this action. My business address is 200 North
 Main Street, Room 600, City Hall East, Los Angeles, California 90012, which is located in the
 county where the mailing described below took place.

 I am readily familiar with the business practice at my place of business for collection and
 processing correspondence for mailing via the United States Postal Service. Correspondence so
 collected and processed is deposited with the United States Postal Service that same day in the
 ordinary course of business.

 On February 3, 2021, at my place of business at Los Angeles, California, I mailed a Denial
 Letter for Claim Number C21-02543 by placing it, with postage thereon fully prepaid, for
 collection and mailing via the United States mail addressed as follows:


                                            Kristen J. Mason
                                         206 W. 4th St, Ste. 300
                                          Santa Ana, CA 92701



 I declare under penalty of perjury that the following is true and correct. Executed on February 3,
 2021, at Los Angeles, California.
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 173 of 181 Page ID
                                  #:182




                    EXHIBIT “5”
        Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 174 of 181 Page ID
                                          #:183




I                                                                                                             I

Gonzalez                                               William                                    I


213-265-7888

1214 West 8th Street, Apt. #102                        Los Angeles                   ICA          I90017

    □            □
                  ■




                 ■
    □            □                                                                   I
I                                                                                                             I

Mason                                                  Kristen                                    I
213-265-7888                                           kristen@ dre.law

206 W. 4th Street, Ste. 330                            Santa Ana                     ICA          I92701
I                                                                                                             I

LAPD, LASD, CHP, City of Los Angeles, County of Los Angeles                          10/11/2020




20,000,000                                                   □                  □
                                                                                 ■




Intersection of Flower Street and West 9th Street



Immediate loss of eye, blunt trauma, blow-out fracture, eyelid laceration, ruptured globe, persistent pain.




Injured party was shot with non-lethal ammunition in his eye.




CHP officers were present
        Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 175 of 181 Page ID
                                          #:184




I                                                                                        I


    □                  □
                        ■




    □                  □
    □                  □
I                                                                                        I




               I
                   '
                       r, L
                        1



                                    Kristen J. Mason                  12/22/2020

    !
           !
    !
    !
  Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 176 of 181 Page ID
                                    #:185


                                         PROOF OF SERVICE
 1

 2
     STATE OF CALIFORNIA                   ]
 3                                         ]ss.
     COUNTY OF LOS ANGELES                 ]
 4
           I am employed in the County of Los Angeles, State of California. I am over the age of 18
 5 and not a party to the within action; my business address is DRE, A.P.C., 222 North Canon Drive,
   Suite 201, Beverly Hills, CA 90210.
 6
           On June 24, 2022 I served the foregoing document described as SECOND
 7 AMENDED COMPLAINT on the interested parties in this action by placing a true copy
   thereof enclosed in a sealed envelope addressed as follows:
 8
                                  SEE ATTACHED SERVICE LIST
 9

10         BY MAIL: I deposited such envelope in the mail at Los Angeles, California. The
   envelope was mailed with postage thereon fully prepaid. I am readily familiar with the business
11 practice at my place of business for collection and processing of correspondence for mailing with
   the United States Postal Service. Correspondence so collected and processed is deposited with
12 the United States Postal Service that same day in the ordinary course of business.

13        BY OVERNIGHT DELIVERY: By sealing the envelope and placing it for collection
   and overnight delivery in a box regularly maintained by an overnight delivery service with
14 delivery fees paid or provided for in accordance with ordinary business practices.

15           BY PERSONAL SERVICE: I caused such envelope to be delivered by hand to counsel
     for defendants.
16
            BY FACSIMILE: I certify that no transmission error was reported by the facsimile
17 machine used to transmit the document(s) listed herein to the parties to this action. I also caused
   the machine to print a record of the transmission, a copy of which is attached to this declaration.
18
     X      BY ELECTRONIC MAIL: I caused all of the pages of the above-entitled document(s)
19 to be sent to the recipients noted above via electronic mail (“E-Mail”) at the respective e-mail
   addresses indicated above.
20
            I declare under penalty of perjury under the laws of the State of California that the above
21 is true and correct.

22          Executed on June 24, 2022 at Beverly Hills, California
23

24
                                                            HILDA VALDEZ
25

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                                                   - 33 -
                                     SECONDAMENDED COMPLAINT
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 177 of 181 Page ID
                                  #:186



  1                                      SERVICE LIST
                            Gonzalez, et al. v. City of Los Angeles, et al.
  2                                  Case No. 21STCV16790
      Muna Busailah, Esq.
  3   Sherry Lawrence, Esq.
      STONE BUSAILAH LLP
  4   1055 E. Colorado Blvd., Ste. 320
      Pasadena, CA 91106-2376
  5   Telephone: (626) 683-5600
      Facsimile: (626) 683-5656
  6   Email: m.busailah@police-defense.com
             s.lawrence@police-defense.com
  7          d.danial@police-defense.com
      Attorneys for Defendants, CITY OF LOS ANGELES and CHIEF MICHEL MOORE
  8
      Rob Bonta
  9   Attorney General of California
      Pamela J. Holmes
 10   Supervising Deputy Attorney General
      Betty Chu-Fujita
 11   Deputy Attorney General
      300 South Spring Street, Ste. 1702
 12   Los Angeles, CA 90013
      Telephone: (213) 269-6141
 13   Facsimile: (916) 731-2120
      Email: Betty.ChuFujita@doj.ca.gov
 14          Pamela.Holmes@doj.ca.gov
      Attorneys for Defendant, STATE OF CALIFORNIA, acting by and through the CALIFORNIA
 15   HIGHWAY PATROL
 16   Ethan Brown, Esq.
      BROWN, NERI, SMITH & KHAN, LLP
 17   11601Wilshire Blvd., Ste. 2080
      Los Angeles, CA 90025
 18   Email: ethan@bnsklaw.com
      Attorney for Plaintiffs
 19

 20

 21

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                                                   4
                                              NAME OF DOCUMENT
                                                      Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 178 of 181 Page ID
                                                                                        #:187
                                                                                                                                                                                                          CIV-110
                                              ATTORNEY OR PARTY WITHOUT ATTORNEY:                             STATE BAR NO:    276891                                       FOR COURT USE ONLY
                                              NAME:  Antonio Castillo III, Esq.
                                              FIRM NAME: DRE Law, APC
                                              STREET ADDRESS: 222 N Canon Dr., Suite 201
                                              CITY: Beverly Hills                              STATE: CA       ZIP CODE: 90210
                                              TELEPHONE NO.: (213) 265-7888                   FAX NO. : (844) 314-1380

                                              E-MAIL ADDRESS: antonio@dre.law

                                              ATTORNEY FOR (Name): Plaintiffs, WILLIAM GONZALEZ and MICHAEL GONZALEZ

                                              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                               STREET ADDRESS: 111 N Hill Street
                                               MAILING ADDRESS: 111 N Hill Street
                                              CITY AND ZIP CODE: Los Angeles, CA 90012
                                                  BRANCH NAME: STANLEY MOSK COURTHOUSE


                                                      Plaintiff/Petitioner: WILLIAM GONZALEZ, et al.
                                              Defendant/Respondent: COUNTY OF LOS ANGELES, et al.
                                                                                                                                                            CASE NUMBER:
                                                                                     REQUEST FOR DISMISSAL                                                  21STCV16790

                                               A conformed copy will not be returned by the clerk unless a method of return is provided with the document.
                                               This form may not be used for dismissal of a derivative action or a class action or of any party or cause of action in a class
                                               action. (Cal. Rules of Court, rules 3.760 and 3.770.)
                                              1. TO THE CLERK: Please dismiss this action as follows:
                                                 a. (1)     With prejudice    (2)    ✖   Without prejudice
                                                 b. (1)  ✖  Complaint         (2)        Petition
                                                        (3)           Cross-complaint filed by (name):                                                         on (date):
                                                        (4)           Cross-complaint filed by (name):                                                         on (date):
                                                        (5)           Entire action of all parties and all causes of action
                                                      (6)    ✖    Other (specify):* AS TO DEFENDANT LOS ANGELES POLICE DEPARTMENT ONLY
Electronically Received 06/28/2022 03:07 PM




                                              2. (Complete in all cases except family law cases.)
                                                 The court           did   ✖   did not waive court fees and costs for a party in this case. (This information may be obtained from the
                                                 clerk. If court fees and costs were waived, the declaration on the back of this form must be completed).
                                              Date: June 28, 2022
                                              Antonio Castillo III, Esq.
                                              (TYPE OR PRINT NAME OF           ✖   ATTORNEY            PARTY WITHOUT ATTORNEY)                                     (SIGNATURE)

                                              *If dismissal requested is of specified parties only of specified causes of action only,   Attorney or party without attorney for:
                                              or of specified cross-complaints only, so state and identify the parties, causes of         ✖    Plaintiff/Petitioner         Defendant/Respondent
                                              action, or cross-complaints to be dismissed.
                                                                                                                                               Cross Complainant

                                              3. TO THE CLERK: Consent to the above dismissal is hereby given.**
                                              Date:

                                              (TYPE OR PRINT NAME OF               ATTORNEY             PARTY WITHOUT ATTORNEY)                                    (SIGNATURE)

                                              ** If a cross-complaint – or Response (Family Law) seeking affirmative                     Attorney or party without attorney for:
                                              relief – is on file, the attorney for cross-complainant (respondent) must sign
                                              this consent if required by Code of Civil Procedure section 581 (i) or (j).
                                                                                                                                               Plaintiff/Petitioner         Defendant/Respondent
                                                                                                                                               Cross Complainant

                                              (To be completed by clerk)
                                              4.       Dismissal entered as requested on (date):
                                              5            Dismissal entered on (date):                             as to only (name):
                                              6.           Dismissal not entered as requested for the following reasons (specify):
                                                                                                                                                  The name/address of the filing party/attorney on
                                                                                                                                                  record does not match that in the file.
                                              7. a.            Attorney or party without attorney notified on (date):
                                                 b.            Attorney or party without attorney not notified. Filing party failed to provide
                                                                     a copy to be conformed               means to return conformed copy
                                              Date:                                                          Clerk, by                                                                , Deputy              Page 1 of 2

                                              Form Adopted for Mandatory Use                                                                                          Code of Civil Procedure, § 581 et seq.; Gov. Code,
                                              Judicial Council of California                                       REQUEST FOR DISMISSAL                                    § 68637(c); Cal. Rules of Court, rule 3.1390
                                              CIV-110 [Rev. Jan. 1, 2013]                                                                                                                            www.courts.ca.gov
          Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 179 of 181 Page ID
                                            #:188
                                                                                                                                    CIV-110
                                                                                                 CASE NUMBER:
          Plaintiff/Petitioner: WILLIAM GONZALEZ, et al.
                                                                                                 21STCV16790
Defendant/Respondent: COUNTY OF LOS ANGELES, et al.




                                     COURT'S RECOVERY OF WAIVED COURT FEES AND COSTS
                    If a party whose court fees and costs were initially waived has recovered or will recover $10,000 or more in
                    value by way of settlement, compromise, arbitration award, mediation settlement, or other means, the
                    court has a statutory lien on that recovery. The court may refuse to dismiss the case until the lien is
                    satisfied. (Gov. Code, § 68637.)


                                             Declaration Concerning Waived Court Fees
1. The court waived court fees and costs in this action for (name):

2. The person named in item 1 is (check one below):
     a.            not recovering anything of value by this action.
     b.            recovering less than $10,000 in value by this action.
     c.            recovering $10,000 or more in value by this action. (If item 2c is checked, item 3 must be completed.)
3.           All court fees and court costs that were waived in this action have been paid to the court (check one):         Yes        No

I declare under penalty of perjury under the laws of the State of California that the information above is true and correct.

Date:


(TYPE OR PRINT NAME OF           ATTORNEY        PARTY MAKING DECLARATION)                              (SIGNATURE)




                                                                                                                                     Page 2 of 2
CIV-110 [Rev. January 1, 2013]                            REQUEST FOR DISMISSAL
For your protection and privacy, please press the Clear
This Form button after you have printed the form.               Print this form      Save this form                         Clear this form
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 180 of 181 Page ID
                                  #:189


  1                                         PROOF OF SERVICE

  2

  3   STATE OF CALIFORNIA                   ]
                                            ]ss.
  4   COUNTY OF LOS ANGELES                 ]

  5           I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
      not a party to the within action; my business address is 222 N Canon Drive, Beverly Hills, CA 90210.
  6
             On June 28, 2022 I served the foregoing document described as REQUEST FOR
  7   DISMISSAL the interested parties in this action by placing a true copy thereof enclosed in a sealed
      envelope addressed as follows:
  8
                                      SEE ATTACHED SERVICE LIST
  9

 10           BY MAIL: I deposited such envelope in the mail at Los Angeles, California. The envelope
      was mailed with postage thereon fully prepaid. I am readily familiar with the business practice at my
 11   place of business for collection and processing of correspondence for mailing with the United States
      Postal Service. Correspondence so collected and processed is deposited with the United States Postal
 12   Service that same day in the ordinary course of business.

 13           BY OVERNIGHT DELIVERY: By sealing the envelope and placing it for collection and
      overnight delivery in a box regularly maintained by an overnight delivery service with delivery fees
 14   paid or provided for in accordance with ordinary business practices.

 15          BY PERSONAL SERVICE: I caused such envelope to be delivered by hand to counsel for
      defendants.
 16
              BY FACSIMILE: I certify that no transmission error was reported by the facsimile machine
 17   used to transmit the document(s) listed herein to the parties to this action. I also caused the machine
      to print a record of the transmission, a copy of which is attached to this declaration.
 18
       X      BY ELECTRONIC MAIL: I caused all of the pages of the above-entitled document(s) to
 19   be sent to the recipients noted above via electronic mail (“E-Mail”) at the respective e-mail addresses
      indicated above.
 20
             I declare under penalty of perjury under the laws of the State of California that the above is
 21   true and correct.

 22          Executed on June 28, 2022 at Beverly Hills, California

 23

 24

 25                                                           HILDA VALDEZ
 26

 27

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                                                          3
                                                   REQUEST FOR DISMISSAL
Case 2:22-cv-04749-CAS-MRW Document 1-2 Filed 07/12/22 Page 181 of 181 Page ID
                                  #:190


  1                                      SERVICE LIST
                            Gonzalez, et al. v. City of Los Angeles, et al.
  2                                  Case No. 21STCV16790
      Muna Busailah, Esq.
  3   Sherry Lawrence, Esq.
      STONE BUSAILAH LLP
  4   1055 E. Colorado Blvd., Ste. 320
      Pasadena, CA 91106-2376
  5   Telephone: (626) 683-5600
      Facsimile: (626) 683-5656
  6   Email: m.busailah@police-defense.com
             s.lawrence@police-defense.com
  7          d.danial@police-defense.com
      Attorneys for Defendants, CITY OF LOS ANGELES and CHIEF MICHEL MOORE
  8
      Rob Bonta
  9   Attorney General of California
      Pamela J. Holmes
 10   Supervising Deputy Attorney General
      Betty Chu-Fujita
 11   Deputy Attorney General
      300 South Spring Street, Ste. 1702
 12   Los Angeles, CA 90013
      Telephone: (213) 269-6141
 13   Facsimile: (916) 731-2120
      Email: Betty.ChuFujita@doj.ca.gov
 14          Pamela.Holmes@doj.ca.gov
      Attorneys for Defendant, STATE OF CALIFORNIA, acting by and through the CALIFORNIA
 15   HIGHWAY PATROL

 16   Ethan Brown, Esq.
      BROWN, NERI, SMITH & KHAN, LLP
 17   11601Wilshire Blvd., Ste. 2080
      Los Angeles, CA 90025
 18   Email: ethan@bnsklaw.com
      Attorney for Plaintiffs
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                                                    4
                                             REQUEST FOR DISMISSAL
